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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

DARRYL PELICHET,
BONN WASHINGTON,
JOSHUA RAGLAND,                              Case No.: 2:18-cv-11385
DARIUS BICKERSTAFF,                          Hon.: PAUL D. BORMAN
through his guardian
MARY BICKERSTAFF, and                        JURY DEMAND
MICHIGAN PROTECTION AND
ADVOCACY SERVICE, INC.,

 Plaintiffs,

v.

NICK LYON, in his official capacity,
LISA MEDOFF, individually and in her
official capacity,
MARY CLAIRE SOLKY, individually
and in her official capacity,
LAURIE ALBERT, individually and in
her official capacity,
HANUMAIAH BANDLA, individually
and in his official capacity,
CHARLES STERN, individually,
ARUNA BAVINENI, individually and in
her official capacity,
SHARON DODD-KIMMEY, individually
and in her official capacity,
CRAIG LEMMEN, individually and in his
official capacity,
KIMBERLY KULP-OSTERLAND,
individually and in her official capacity,
LISA MARQUIS, individually and in her
official capacity,
MARTHA SMITH, individually and in her
official capacity,
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DAVE BARRY, individually and in his
official capacity,
KELLI SCHAEFER, individually and in
her official capacity,
JOE CORSO, individually and in his
official capacity,
DIANE HEISEL, individually and in her
official capacity,
HEGIRA PROGRAMS, INC.,
NEW CENTER COMMUNITY
SERVICES, INC.,
CARELINK NETWORK, INC.,
BEHAVIORAL HEALTH
PROFESSIONALS, INC., and
MICHIGAN DEPARTMENT OF
HEALTH AND HUMAN SERVICES
            Defendants.


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                         FIRST AMENDED COMPLAINT


       Plaintiffs Darryl Pelichet, Joshua Ragland, Bonn Washington, and Darius

 Bickerstaff—individuals who have been adjudicated “not guilty by reason of

 insanity” (“NGRI”) and subjected to repeated unlawful involuntary civil

 commitment—bring this action for legal and equitable relief against Defendants for

 deprivation of Plaintiffs’ federally protected civil rights pursuant to Section 1983,

 the American’s with Disabilities Act, and Section 504 of the Rehabilitation Act.

 Michigan Protection and Advocacy Service, Inc., brings this action on its own behalf

 and on behalf of its constituents who have been directly affected by Defendants’

 unlawful policies and practices. For their cause of action against the Defendants,

 Plaintiffs respectfully state as follows:
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                          JURISDICTION AND VENUE

      1.     This action is brought against Defendants pursuant to 42 U.S.C. § 1983

for deprivation of civil rights secured by the Fourth, Eighth, and Fourteenth

Amendments to the United States Constitution and for violations of Title II of the

Americans with Disabilities Act, 42 U.S.C. § 12101 et seq. and Section 504 of the

Rehabilitation Act, 29 U.S.C. § 794 et seq.

      2.     Jurisdiction is founded upon 28 U.S.C. § 1331, § 1343(a)(3)(4), and §

1367(a). This Court has jurisdiction over the Plaintiffs’ claims of violation of civil

rights under 42 U.S.C. § 1983. Relief is authorized pursuant to 28 U.S.C. §§ 2201,

2202; 29 U.S.C. § 794a; 42 U.S.C. § 1983; and 42 U.S.C. § 12133. Venue is proper

in this Court pursuant to 28 U.S.C. § 1391 in that the factual acts and omissions

which give rise to this cause of action occurred within this judicial district.

                                 INTRODUCTION

      3.     Individuals treated for mental illness, including those deemed not guilty

by reason of insanity, in Michigan’s state psychiatric hospitals are patients, not

prisoners. They are thus entitled to therapeutic, rather than punitive treatment.

      4.     Yet, because of stigma deeply rooted in our society and culture, people

with mental illness often suffer far greater deprivations of liberty, respect, and

dignity than those convicted of crimes. This stigma often expresses itself in the
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creation of unconstitutional and discriminatory policies and practices designed to

segregate those with disabilities from the rest of society.

      5.     For example, in 2003, Janet Olszewski, former director of the

Michigan Department of Community Health, now known as the Michigan

Department of Health and Human Services (“MDHHS”), issued Administrative

Directive 10-C-1050-AD (Ex. A.) Administrative Directive 10-C-1050-AD

mandates that all recommendations to the probate court for release from

hospitalization, transfer between facilities, or alternative treatment for patients

“under the legal status of ‘not guilty by reason of insanity’” be reviewed by the

NGRI Committee prior to filing or court appearance. Administrative Directive 10-

C-1050-AD further warns that “[a]ny delay in referring or filing necessary papers

in a timely manner that would result in not renewing the order, will be considered a

violation of this policy.”

      6.     Since a civil commitment order will not be renewed if a petition is not

filed to renew it, a treatment provider that determines that a person adjudicated

NGRI does not currently satisfy the statutory or constitutional requirements for

involuntary civil commitment would violate the Policy by declining to petition the

Probate Court for an additional year of involuntary hospitalization.

      7.     Through her Administrative Directive, Ms. Olszewski effectively

ordered that all patients at Michigan’s regional psychiatric hospitals and
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community mental health service providers to automatically file a petition in

Probate Court for one year of involuntary hospitalization for every “Not Guilty by

Reason of Insanity” (“NGRI”) patient, every year, regardless of whether the

patient’s treating physicians believed that the patient continued to satisfy the

statutory or constitutional requirements for involuntary civil commitment.

      8.     The MDHHS policy promulgated by former Director Olszewski,

which is still in effect today, caused and continues to cause an unknown number of

Michigan residents, including the Plaintiffs, to spend years of their lives

unnecessarily and unconstitutionally confined in state-operated psychiatric

hospitals.

      9.     Individuals deemed NGRI are not being served in the most integrated

setting or receiving individualized therapeutic treatment to give them a realistic

chance to be successful in the community. Instead they are merely warehoused in

state hospitals, their rights and freedoms forfeited in the name of public safety.

      10.    The effect has been devastating to the Plaintiffs and to other forensic

patients. The intentional isolation and segregation of mental health patients deprives

them of critical treatment modality and significantly harms their quality of life. And

it deprives them of their sense of dignity, respect, and self-worth as their lives are

micromanaged and they are subject to long-term, involuntary, and unnecessary

confinement.
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      DEFENDANTS

      11.    Defendant Nick Lyon is the present Director of MDHHS and was the

Director of the Michigan Department of Community Health from September of 2014

until April of 2015, when that agency was merged into MDHHS.

      12.    As Director of the Michigan Department of Community Health and

later as Director of MDHHS, Defendant Lyon continued to enforce the policy

promulgated by former Director Olszewski as referenced above.

      13.    As Director, Defendant Nick Lyon is responsible for administering and

overseeing Michigan's public Mental Health system pursuant to M.C.L. § 330.1104.

      14.    MDHHS' establishment, authority, and powers stem from Michigan's

Constitution, which states "the health of the people of the state is a matter of primary

public concern, and as required by section 8 of article VIII of the state constitution

of 1963, which declares that services for the care, treatment, education, or

rehabilitation of those who are seriously mentally disabled shall always be fostered

and supported, the department shall continually and diligently endeavor to ensure

that adequate and appropriate mental health services are available to all citizens

throughout the state." M.C.L. § 330.1116.

      15.    MDHHS is also the agency designated as the single state agency

responsible for administering and implementing Michigan’s Medicaid program

under Title XIX of the Social Security Act. See 42 U.S.C. § 1396, et seq. As Director,
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Defendant Nick Lyon is responsible for ensuring Michigan's Medicaid program is

administered and implemented consistent with the requirements of federal law. Most

forensic patients receive outpatient mental health services funded by Medicaid. Nick

Lyon is sued in his official capacity.

      16.    Defendant Lisa Medoff is the Director of Psychology at Walter P.

Reuther Psychiatric Hospital. She is sued in her individual and official capacity.

      17.    Defendant Laurie Albert is the Director of Social Work at Walter P.

Reuther Psychiatric Hospital. She is sued in her individual and official capacity.

      18.    Defendant Hanumaiah Bandla is the Chief of Clinical Affairs at Walter

P. Reuther Psychiatric Hospital. He is sued in his individual and official capacity.

      19.    Defendant Mary Clare Solky is the Hospital Director at Walter P.

Reuther Psychiatric Hospital. She is sued in her individual and official capacity.

      20.    Defendants Medoff, Albert, Bandla, and Solky (collectively, the

“Hospital Management Defendants,”) directed, encouraged, supported, and allowed

less-senior staff members at the Hospital to file petitions for one-year hospitalization

treatment orders for every NGRI patient, every year as a matter of course, regardless

of whether the individual patient continued to meet the statutory and constitutional

criteria for involuntary civil commitment and regardless of whether an institutional

setting continued to be the least restrictive treatment environment suitable to the

patient’s needs.
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      21.    The Hospital Management Defendants continued to enforce this policy,

allowed the practice and custom, even after they were informed by the MDHHS

Office of Recipient Rights, in October 2017, that the policy violated the statutory

and constitutional rights of the patients in their care.

      22.    Defendant Aruna Bavineni is a psychiatrist employed by Walter P.

Reuther Psychiatric Hospital. She is sued in her official and individual capacity.

      23.    Defendant Charles Stern is a psychologist who, on an independent-

contractor basis, conducts psychological evaluations of NGRI patients at Walter

Reuther Psychiatric Hospital prior to their probate court hearings. He is sued in his

individual capacity.

      24.    Defendants Sharon Dodd-Kimmey, Craig Lemmen, Kimberly Kulp-

Osterland, Lisa Marquis, Martha Smith, Dave Barry, Kelli Schaefer, Joe Corso, and

Diane Heisel are the members of the “NGRI Committee” at the Center for Forensic

Psychiatry (hereafter the “NGRI Committee Defendants.”) Each are sued in their

official and individual capacity.

      25.    The NGRI Committee Defendants, acting under color of state law, used

and continue to use the authority granted to them by Administrative Directive 10-C-

1050-AD to exercise control over what recommendations psychiatrists,

psychologists, and other treating professionals can make to the Probate Court
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regarding the NGRI patients in their care. See Ex. B: NGRI Committee Procedure

Manual.

      26.    The NGRI Committee Defendants compelled and continue to attempt

to compel Community Mental Health Contractual Agencies, including Defendants

Hegira Programs, Inc., and New Center Community Services, Inc., to file petitions

for involuntary civil commitment against NGRI patients living in the community

solely for the purpose of maintaining those patients’ NGRI status, and not because

they continued to meet the statutory and constitutional criteria for involuntary civil

commitment.

      27.    The NGRI Committee’s Procedures Manual states, in a section entitled,

“Alternative Treatment and Combined Hospitalization/Alternative Treatment

Orders;”

      “IN ORDER TO MAINTAIN NGRI STATUS, NGRI PATIENTS SHOULD
      NOT BE PLACED ON ANY TYPE OF ALTERNATIVE TREATMENT
      ORDER OR COMBINED HOSPITALIZATION/ ALTERNATIVE
      TREATMENT ORDER. Placement on such orders results in loss of NGRI
      status, once the patient is discharged from inpatient hospitalization.”

      See Ex. B: NGRI Committee Procedures Manual pg. 11.

      28.    Defendants Hegira Programs, Inc., and New Center Community

Services, Inc., (hereafter “Community Mental Health Contractual Agencies” or

“CMH Subcontractor Defendants,”) are Michigan nonprofit corporations that

contract with Defendant CareLink Network, Inc. and with the Michigan Department
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of Health and Human Services to provide mental health and substance abuse

treatment programs to Michigan residents.

      29.    The CMH Subcontractor Defendants, in their contractual agreements

with Defendant CareLink Network and the NGRI Committee Defendants, agreed to

petition the Probate Court for a one-year continuing Hospitalization Treatment Order

for every NGRI patient placed in their care, every year for five years, and to never

make a recommendation to the Probate Court for discharge or for alternative/assisted

outpatient treatment, regardless of the opinions of their own treating professionals

about the patient’s present condition and treatment needs.

      30.    All NGRI patients that are in the care of the CMH Subcontractor

Defendants are living in community settings, such as adult foster care homes, with

family, or independently, and receiving outpatient treatment. Paradoxically, the

CMH Subcontractor Defendants do not recommend alternative/assisted outpatient

treatment to the Probate Court, even though this is precisely what their patients are

receiving and will continue to receive.

      31.    The    CMH      Subcontractor    Defendants     do   not   recommend

alternative/assisted outpatient treatment because a patient on an “Alternative

Treatment Order” ceases to be “inpatient” at a regional psychiatric hospital under

Michigan law. When a patient is not an “inpatient,” the NGRI Committee

Defendants lose their ability to summarily compel the patient to return to the
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psychiatric hospital without filing a new petition for involuntary civil commitment.

The CMH Subcontractor Defendants, at the behest of the NGRI Committee

Defendants, therefore routinely seek a court order for one year of hospitalization,

and the patient is considered an inpatient on an authorized leave of absence from the

hospital for the entire year. This process is repeated annually for a five-year period.

      32.    The CMH Subcontractor Defendants made facially invalid petitions for

one-year Hospitalization Treatment Orders for Plaintiffs Darryl Pelichet, Bonn

Washington, Darius Bickerstaff, and other forensic patients and so caused them to

be subject to restrictions on their liberty which were not based on meaningful,

individualized assessments of their present treatment needs.

      33.    The CMH Subcontractor Defendants filed petitions for one-year

Hospitalization Treatment Orders and/or failed to recommend NGRI patients for

discharge when their own assessments of the patients’ condition indicated that the

patients did not meet the statutory or constitutional requirements for subjecting a

person to involuntary civil commitment.

      34.    Defendant Carelink Network, Inc. is a Michigan non-profit corporation.

According to its website:

      The mission of CareLink Network, Inc. is to provide a comprehensive
      community-based supports to youth and adults with serious emotional
      and behavioral health issues in the manner that promotes member
      choice. CareLink will manage and deliver an innovative array of
      supports and services that address core member needs in the context of
      person-centered planning, maximized member choice, self-
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      determination, high quality clinical and psychiatric services and fiscal
      efficiency. Furthermore, CareLink will continually seek to create,
      sustain and enhance a network of culturally competent providers.

      35.    Defendant CareLink Network, Inc. receives approximately $170

million in annual revenue, but it has no employees, and it reports that it has zero

volunteers. See Ex. C: Form 990 for Carelink.

      36.   Defendant CareLink Nework, Inc.is managed on a day-to-day basis by

employees of Defendant Behavioral Health Professionals, Inc. The two entities have

the same office address, the same managers, and the same publicly-listed phone

number.

      37.   Defendant CareLink Network, Inc. is functionally a holding company

maintained by Defendant Behavioral Health Professionals, Inc.

      38.   Defendant Behavioral Health Professionals, Inc. is a Michigan

nonprofit corporation and a “Manager of Comprehensive Provider Networks”

(MCPN).

      39.   Defendants    CareLink     Network,    Inc.   and   Behavioral   Health

Professionals Partnership, Inc, (collectively, the “CMH Contractor Defendants”)

contract with, screen, and supervise individual community mental health treatment

providers, including the CMH Subcontractor Defendants, to provide mental health

services to residents of Wayne County.
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      40.    The CMH Contractor Defendants derive substantially all of their

operating revenue, directly or indirectly, from government grants. The CMH

Contractor Defendants are responsible for managing the provision of mental-health-

related care to certain categories of Medicaid beneficiaries in Wayne County.

      41.    The CMH Contractor Defendants agreed to the terms of Plaintiffs and

other forensic patients’ NGRI contracts. The CMH Contractor Defendants hired the

CMH Subcontractor Defendants to perform the acts in the “Community Mental

Health Service Provider Responsibilities” section of the Plaintiff’s NGRI contracts,

including the mandatory filing of petitions and the mandatory recommendation of

“hospitalization for one year” to the probate court.

                                THE PLAINTIFFS

      A. Michigan Protection and Advocacy Service, Inc.

      42.    Plaintiff Michigan Protection and Advocacy Service, Inc. (MPAS), is a

nonprofit organization incorporated in Michigan. MPAS maintains its offices at

4095 Legacy Parkway, Suite 500, Lansing, MI 48911-4263 and 129 W Baraga Ave.,

Suite A, Marquette, MI 49855-4644.

      43.    MPAS brings this action on its own behalf and on behalf of its

constituents who have been directly affected by Defendants’ unlawful policies and

practices.
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      44.    MPAS is a nonprofit organization designated by the governor as the

protection and advocacy organization for individuals who have physical, mental, and

developmental disabilities in the state of Michigan.

      45.    Every state and territory in the United States has a designated protection

and advocacy organization.

      46.    Under the Federal Developmental Disabilities Assistance and Bill of

Rights Act of 1975 (DD Act), each state is required to have a statewide Protection

& Advocacy network in place by October 1, 1977. This bill provided funding for

Protection & Advocacy organizations (P&As) to represent individuals with

developmental disabilities, including intellectual disabilities, cerebral palsy,

muscular dystrophy, autism and related disabilities, and other lifelong conditions.

      47.    Congress also enacted the Protection and Advocacy for Individuals

with Mental Illness Act (PAIMI) to assist states in establishing advocacy systems to

protect and advocate the rights of individuals with mental illness through activities

to ensure the enforcement of the Constitution and Federal and State statutes. 42

U.S.C. § 10801(b)(1) - (2).

      48.    In the Act, Congress expressed the following: “individuals with mental

illness are vulnerable to abuse and serious injury; individuals with mental illness are

subject to neglect, including lack of treatment, adequate nutrition, clothing, health

care, and adequate discharge planning; and state systems for monitoring compliance
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with respect to the rights of individuals with mental illness vary widely and are

frequently inadequate.” 42 U.S.C. § 10801(a)(1) - (4).

       49.    Under PAIMI, MPAS has a federal mandate to pursue administrative,

legal, and other appropriate remedies to ensure the protection of individuals with

mental illness. 42 U.S.C. § 10805(a)(1).

       50.    MPAS’ mission is to advocate and protect the legal rights of people

with disabilities. MPAS works to fulfill its mission by working toward systemic

changes that advance the rights of all people with disabilities and advocating for

individual rights when a case meets MPAS’ board adopted priorities and case

selection criteria.

       51.    MPAS is governed by a Board of Directors whose membership includes

a majority of individuals with disabilities, including individuals with mental health

conditions or family members of individuals with disabilities.

       52.    MPAS is also advised by a statutorily required Mental Health Advisory

Council that is composed predominantly of individuals with mental health

conditions.

       53.    This advisory council meets quarterly. The council also completes a

yearly report and submits it to the federal government.
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      54.    The Board of Directors, with input from the Advisory Council, staff,

and public, sets MPAS’ service priorities yearly and evaluates its progress in

reaching positive outcomes for individuals with mental illness.

      55.    Every individual that calls for information, referral, advocacy, or

representation receives a priority survey in the mail asking for his or her input as to

what they think MPAS should focus its efforts on in the following year.

Additionally, MPAS posts its priority survey online and distributes it electronically

and in person, seeking input.

      56.    MPAS’ constituents include the named individual plaintiffs, as well as

all other forensic patients.

      57.    Through access authority granted to it by federal law, MPAS regularly

monitors (weekly) the five state operated psychiatric hospitals located in Kalamazoo

County, Washtenaw County, Wayne County, and Tuscola County by visiting the

units and cottages, disseminating and posting rights-based information in the units,

discussing rights violations concerns with patients, advocating for individuals,

representing individuals, training newly hired staff on MPAS’ federal mandates, and

meeting with hospital administrators to advocate for remedies to individual and

systemic rights violations.

      58.    MPAS spends significant resources in monitoring, investigating, and

representing individuals in disputes with state psychiatric hospital staff and
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community mental health service providers with regard to abuse and neglect,

treatment, discharge planning, and placement.

      59.    MPAS operates a toll-free telephone line. It also accepts letters and

emails from people across Michigan in order to provide information and assistance

to individuals with mental illness and their family members/guardians regarding

their rights. MPAS’ information is provided by MDHHS to every person filing an

ORR complaint in a state psychiatric hospital.

      60.    Only declaratory and injunctive relief is sought by MPAS as it pertains

to the state’s policies, practices, supervision, training, and customs as a whole and

does not require the participation of individual members to resolve.

      61.    As a result of the illegal policies and practices of violating the liberty

interests of MPAS’ constituents, imposing parole-like conditions on MPAS’

constituents, and requiring that they be confined to a state mental institution longer

than allowed by law, MPAS has not only had to increase resources spent on NGRI

clients, but on individuals unable to receive emergency psychiatric hospitalization

(due to the shortage of psychiatric beds and a well-documented waiting list).

      62.    Over the past six months MPAS has been investigating a number of

complaints from NGRI patients regarding their confinement, including two

individuals currently residing at Caro Psychiatric Hospital, four individuals at
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Walter Reuther Psychiatric Hospital (including Plaintiff Darius Bickerstaff), and one

currently on an ALS contract in the community.

      B. Darryl Pelichet

      63.    Plaintiff Darryl Pelichet is a thirty-eight-year-old man who suffers from

schizoaffective disorder. Like many patients with schizoaffective disorder, Mr.

Pelichet first began experiencing the symptoms of his disease in his 20’s.

      64.    In 2005, at the age of twenty-four, Mr. Pelichet punched a City of

Farmington police officer during an acute psychotic episode.

      65.    At the time of the incident, Mr. Pelichet had not yet been diagnosed

with schizoaffective disorder and had not started taking antipsychotic medication.

      66.    Mr. Pelichet was charged with assaulting a police officer and

subsequently found Not Guilty by Reason of Insanity (“NGRI”).

      67.    Immediately following his acquittal, Mr. Pelichet was civilly

committed to the Center for Forensic Psychiatry for inpatient psychiatric treatment.

He began receiving treatment and antipsychotic medication for the first time.

      68.    Mr. Pelichet responded well to medication and treatment.             He

understood and accepted the reality of his mental illness, was voluntarily compliant

with his medication, and his symptoms went into remission.
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       69.   Mr. Pelichet has not experienced any acute psychotic episodes or

engaged in any violent behavior in the thirteen years since he began taking

medication to treat his condition.

       70.   After approximately five months in the Center for Forensic Psychiatry,

Mr. Pelichet was transferred to the Kalamazoo Psychiatric Hospital, a less restrictive

facility.

       71.   In February of 2007, Mr. Pelichet was placed on “Authorized Leave

Status” (“ALS”) from the Kalamazoo Psychiatric Hospital pursuant to an “ALS

contract.” Mr. Pelichet was required to sign the contract in order to be released from

otherwise indefinite confinement.

       72.   Mr. Pelichet’s ALS contract laid out a series of parole-like conditions

of release that he was required to comply with for a period of five years. The penalty

for violating a condition of the ALS contract was an immediate return to custody at

a closed psychiatric facility.

       73.   Mr. Pelichet was returned to custody in January of 2008, this time at

the Walter P. Reuther Psychiatric Hospital, when he tested positive for marijuana on

a random drug screen. Unlike a probationer or parolee charged with a violation, Mr.

Pelichet had no opportunity to contest his return to custody in court and no access to

court-appointed legal counsel.
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        74.   Mr. Pelichet was released pursuant to ALS contracts on seven occasions

between 2005 and 2017. When not in custody, Mr. Pelichet worked as a delivery

truck driver and as a taxi driver. His stretches of conditional liberty ranged from

three months to approximately one and a half years.

        75.   On each occasion except the last, Mr. Pelichet was returned to the

hospital for violating the ALS contract, typically by testing positive for marijuana.

Each subsequent release was pursuant to a new ALS contract that required a renewed

five-year, violation-free period before Mr. Pelichet could be discharged.

        76.   Mr. Pelichet also suffers from multiple sclerosis, a progressive nerve

disease that often leads to partial or complete paralysis and death. Multiple sclerosis

is among the “debilitating medical conditions” which may qualify a person to use

medical marijuana per the Michigan Medical Marijuana Act (“MMMA”). Mich.

Comp. Laws § 333.26423(b)(2) (2018). Mr. Pelichet applied for and was issued a

patient registration card in accordance with the MMMA. He used marijuana to

alleviate the pain and muscle spasms associated with multiple sclerosis.

        77.   After each positive drug test, Mr. Pelichet was confined in the Walter

P. Reuther Psychiatric Hospital under restrictive conditions for approximately one

year.

        78.   Mr. Pelichet received little-to-no substance abuse treatment during his

periods of confinement at Walter P. Reuther Psychiatric Hospital.
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      79.    Both Michigan law and the United States Constitution prohibit the

involuntary civil commitment in a psychiatric hospital of a person who is not both

mentally ill and dangerous. Mich. Comp. Laws § 330.1401 (2018); Foucha v.

Louisiana, 504 U.S. 71, 77-78 (1992) (“[It is] unconstitutional for a State to continue

to confine a harmless, mentally ill person.”); O’Connor v. Donaldson, 422 U.S. 563,

575 (1975) (“a finding of ‘mental illness’ alone cannot justify a State’s locking a

person up against his will and keeping him indefinitely in simple custodial

confinement.”)

      80.    Michigan law limits the duration of a Hospitalization Treatment Order

for involuntary commitment to a psychiatric hospital to one year.

      81.    Michigan law further requires that a Petition for a one-year continuing

Hospitalization Treatment Order be accompanied by a Clinical Certificate executed

by a psychiatrist who has personally examined the patient, certifying that the patient

continues to meet the statutory criteria for involuntary hospitalization.

      82.    To secure court orders for continuing hospitalization when Mr.

Pelichet’s condition failed to satisfy the statutory or constitutional requirements for

involuntary civil commitment, MDHHS employees, contractors, and subcontractors

filed petitions for continuing treatment orders that were facially invalid and

presented false or misleading testimony to the Probate Court.
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      83.    Defendant Charles Stern is a psychologist who, on an independent-

contractor basis, conducts examinations of patients at Walter P. Reuther Psychiatric

Hospital and testifies for the hospital in Probate Court proceedings.

      84.    Defendant Stern invariably concludes, after a cursory exam of each

patient, including Mr. Pelichet, for less than twenty minutes, that the patient

continues to meet the statutory criteria for involuntary civil commitment and that a

no less restrictive treatment setting than a closed psychiatric hospital is appropriate.

      85.    Multiple investigations conducted by the MDHHS Office of Recipient

Rights have found Defendant Stern responsible for proffering false or misleading

testimony in Probate Court hearings, including at a hearing held in November of

2016 regarding a petition to impose an additional year of involuntary hospitalization

on Mr. Pelichet. See Ex. D: Report of Investigative Findings from Office of

Recipient Rights, dated 2/8/17; Ex. E: Report of Investigative Findings from Office

of Recipient Rights, Amended, 6/12/17; Ex. F: Report of Investigative Findings

from Office of Recipient Rights, dated 9/8/17; Ex. G: Summary Report of Recipient

Rights Complaint Amended Report – 4th revision.

      86.    On information and belief, Defendant Stern has performed hundreds of

evaluations of NGRI patients at Walter Reuther Psychiatric Hospital in the past five

years, but none of his evaluations has ever resulted in a determination that an NGRI
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patient no longer met the statutory criteria for continued involuntary civil

commitment.

      87.    On November 9, 2016, Charles Stern testified at a Wayne County

Probate Court hearing on a Petition for a Continuing Treatment Order for Mr.

Pelichet.

      88.    Defendant Stern had previously examined Mr. Pelichet on one occasion

for between ten and twenty minutes.

      89.    Defendant Stern testified at the hearing that Mr. Pelichet refused to take

his medications and that “they’ve had to increase his regular medications, because

of his behavior.”

      90.    Mr. Pelichet’s treatment records did not indicate that he had refused to

take psychiatric medication, that his psychiatric medications had been increased, or

that he had engaged in any disruptive or violent behavior during his present

admission at the hospital.

      91.    Mr. Pelichet objected to this testimony during the hearing. The Court

apparently credited Defendant Stern’s testimony over Mr. Pelichet’s, as it granted

the Petition for an additional year of involuntary hospitalization.

      92.    The following day, Mr. Pelichet filed a grievance against Defendant

Stern with the MDHHS Office of Recipient Rights.
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      93.   The Office of Recipient Rights (“ORR”) conducted an investigation

and substantiated Mr. Pelichet’s complaint, finding that, “[r]eview of the court

transcript confirmed that Defendant Stern made statements regarding Mr. Pelichet’s

treatment, medication and behavior while at Walter Reuther as well as during his

time in the community that were both incorrect and misleading.” See Ex. D: Report

of Investigative Findings from Office of Recipient Rights, dated 2/8/17.

      94.   The findings stemming from Mr. Pelichet’s complaint led ORR to

conduct two additional, full investigations into Walter Reuther’s practices with

respect to filing petitions for Continuing Treatment Orders for NGRI patients.

      95.   The Amended ORR Report substantiated the findings of the initial

report with respect to Defendant Stern proffering false testimony, and further

concluded that:

      The evidence indicates that incorrect or misleading information may
      have also been presented to the court by other treating professionals at
      [Walter P. Reuther Psychiatric Hospital] in what appears to be an
      attempt to ensure that Mr. Pelichet remains on a one-year continuing
      treatment order due to his NGRI status. The record and staff interviews
      indicated that Mr. Pelichet did not meet the criteria for continued
      hospitalization as required by section 330.1401 of the Mental Health
      Code. Based upon the new information gathered, ORR will be opening
      a new complaint on behalf of recipient Darryl Pelichet to determine if
      his rights were violated by the actions of these other treating
      professionals at [Walter P. Reuther Psychiatric Hospital].

Ex. E: Office of Recipient Rights Report of Investigative Findings, Amended, June

12, 2017 (emphasis added).
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      96.    The second Office of Recipient Rights investigation was completed in

September of 2017 and covered not only Defendant Stern’s testimony at the

09/11/2016 hearing, but also the testimony and actions of other treating professionals

relating to the May 3, 2017 hearing regarding a Petition for Discharge filed by Mr.

Pelichet.

      97.    The second investigation concluded that Walter Reuther staff filed

Petitions for Continuing Treatment Orders and prepared Clinical Certificates as a

matter of course, without actually considering whether the patient’s clinical data

supported the allegations recited in the Petition and the Clinical Certificate that the

patient met the Section 401 criteria. With respect to Mr. Pelichet in particular, the

second ORR investigation found that he did not meet the Section 401 criteria for

continued involuntary hospitalization in April of 2017, when he filed a Petition for

Discharge, but that incorrect or misleading testimony by Walter Reuther treating

professionals improperly influenced the Court to deny Mr. Pelichet’s petition. See

Ex. F: Office of Recipient Rights Report of Investigative Findings, Sept. 8, 2017

(Second Investigation).

      98.    Defendant Aruna Bavineni is a psychiatrist employed by Walter P.

Reuther Psychiatric Hospital and was Mr. Pelichet’s treating psychiatrist in 2016.

      99.    At the express or implicit direction of the Hospital Management

Defendants, Defendant Bavineni completed a Clinical Certificate on October 30,
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2016 for submission to the Wayne County Probate Court. In that certificate, she

alleged Plaintiff Darryl Pelichet was a “Person Requiring Treatment,” as defined in

Section 401 of the Michigan Mental Health Code, while indicating that Mr. Pelichet

did not meet any of the four statutory bases for classification as a “Person Requiring

Treatment.”

      100. In the “Likelihood of injury to self” space on the October 30, 2016

Clinical Certificate form, Defendant Bavineni wrote only, “He denied.” In the

“Likelihood of injury to others” space, she wrote, “He denied.” In the “Inability to

attend to basic physical needs” space, she wrote only: “He is taking care of his

personal hygiene.” And in the “Inability to understand the need for treatment” space,

she wrote only: “He was provided with IM medications.” See Ex. H: Clinical

Certificate Completed by Defendant Bavineni on 10-30-2016.

      101. On April 17, 2017, Defendant Bavineni completed a Six-Month

Review Report for Darryl Pelichet, which is a form submitted by the hospital to the

Probate Court when a patient exercises his right, after six months of a one-year

involuntary commitment order, to file a Petition for Discharge.

      102. In the Six-Month Review Report, Defendant Bavineni indicated, “I

believe that the individual has a mental illness and as a result of that mental illness,

the individual can reasonably be expected in the near future to intentionally or

unintentionally seriously physically injure self or others, and has engaged in an act
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or acts or made significant threats that are substantially supportive of this

expectation.” Ex. I: Six-Month Review Report by Defendant Bavineni, 4/17/17.

      103. In the next section of the form, Defendant Bavineni indicated that “This

conclusion is based on the following facts of which I have personal knowledge: Seen

and evaluated the patient. Reviewed the medical records and discussed with different

treatment team members.” (Italicized portion handwritten). Defendant Bavineni did

not provide any further indications of what “act or acts” or “significant threats” Mr.

Pelichet had made which caused her to believe that he would seriously physically

injure someone in the near future.

      104. On the morning of May 3rd, 2017, Defendant Bavineni testified in Mr.

Pelichet’s probate court hearing. She recommended that Mr. Pelichet remain subject

to a hospitalization treatment order for an additional year.

      105. In the afternoon of May 3rd, 2017, only sixteen days after completing

the Six-Month Review Report and only hours after testifying in favor of a continuing

1-year hospitalization order probate court, Defendant Bavineni conducted a

psychiatric evaluation of Darryl Pelichet. In her psychiatric evaluation, Defendant

Bavineni indicated that Mr. Pelichet had no risk of violence to himself over the past

six months, no risk of violence to others over the past six months, no current or past

risk of suicide/violence to self, and no current or past risk of violence to others. See

Ex. J: Psychiatric Evaluation of Darryl Pelichet by Aruna Bavineni on 05/03/17.
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        106. When interviewed by internal investigators about the Six-Month

Review Report she completed in April of 2017, Defendant Bavineni apparently “did

not understand that facts were required to support the assertion” that Mr. Pelichet

required an additional year of involuntary hospitalization. See Ex. F: Report of

Investigative Findings from Office of Recipient Rights, dated 9/8/17.

        107. Mr. Pelichet was again placed on “Authorized Leave Status” in July of

2017.

        108. The Defendants filed yet another petition for a one-year hospitalization

treatment order for Darryl Pelichet on October 25, 2017.

        109. For the first time since 2005, Mr. Pelichet exercised his right to a jury

trial with respect to the petition. He was represented by undersigned counsel.

        110. The jury took less than 30 minutes to return a verdict in Mr. Pelichet’s

favor. The Defendant’s Petition for involuntary hospitalization was denied.

        111. In the months since his release from the ALS contract, Mr. Pelichet has

begun working for Freight Angels Transportation LLP as a truck driver. He is saving

up money to go to Alabama to visit his six-year-old daughter. He had never been

able to see her in person, because the ALS contracts prohibited him from leaving the

State of Michigan.

        C. Joshua Ragland
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      112.     Joshua Ragland is a 28-year-old man who has, at times, struggled

with depression.

      113.    On February 8, 2014, Mr. Ragland was sitting on the guardrail at the

edge of the Telegraph Bridge in Monroe, Michigan. He was contemplating suicide.

      114.    Police were called to the scene. Officers pulled Mr. Ragland away

from the edge of the bridge, tackled, and restrained him.

      115.    Mr. Ragland was transported to a local emergency room and from

there to Henry Ford Kingswood Psychiatric Hospital for treatment for his suicide

attempt.

      116.    Henry Ford Kingswood Psychiatric Hospital discharged Mr. Ragland

after approximately three weeks of treatment, and he returned home.

      117.    In June of 2014, four months after his suicide attempt, Mr. Ragland

was arrested and charged with resisting/obstructing an officer and felonious assault.

He was accused of resisting and assaulting the officers who pulled him off of the

bridge.

      118.    In October of 2014, Mr. Ragland accepted an offer from the

prosecutor to resolve the charges with a plea of Not Guilty by Reason of Insanity.

      119.    Although Henry Ford Kingswood Psychiatric Hospital had already

treated Mr. Ragland for his suicide attempt and discharged him after a three-week

stay, Mr. Ragland was involuntarily confined in the Center for Forensic Psychiatry
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for approximately five months following his NGRI plea. When he was finally

released, it was pursuant to a five-year ALS contract, with a series of strict, parole-

like conditions he was required to comply with, under penalty of re-confinement in

a psychiatric hospital.

      120.      For most of 2015, Mr. Ragland lived with and cared for his mother,

who had breast and bone cancer. He was generally complaint with the terms of his

ALS contract.

      121.      On January 14, 2016, with no prior warning, police officers took Mr.

Ragland into custody at his residence and transported him to Walter Reuther

Psychiatric Hospital.

      122.      Mr. Ragland was taken into custody because the NGRI Committee

had revoked Mr. Ragland’s authorized leave status after reading a report from his

treatment team. The report supposedly mentioned that Mr. Ragland had told his

therapist that “he occasionally has a beer” and that he had once smoked marijuana.

See Ex.K: Monroe Community Mental Health Authority Progress Notes for Joshua

Ragland, pgs 372, 350.

      123.      Mr. Ragland denied drinking beer or smoking marijuana during the

term of his release on the ALS contract. He claimed that those statements to his

therapist had been misinterpreted, and that the statements were referring to his past

history of substance use before his arrest and NGRI adjudication. He also asked why
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he was never drug tested before being sent to Walter Reuther for allegedly using

drugs. See Ex. K: Monroe Community Mental Health Authority Progress Notes for

Joshua Ragland, pg. 346.

      124.     On January 20, 2016, six days after he was admitted, Mr. Ragland was

informed by his treatment team that he “would have a minimum stay of six months

at Walter Reuther.”

      125.     Unlike a probationer or parolee charged with a violation, Mr. Ragland

had no opportunity to contest his return to custody in court and no access to court-

appointed legal counsel.

      126.     Despite being “the model patient” at Walter Reuther, See Ex. K:

Monroe Community Mental Health Authority Progress Notes for Joshua Ragland

pg. 320, Mr. Ragland remained in custody for nearly a year. He was released on

December 16, 2016.

      127.     Mr. Ragland’s release was conditioned on signing another five-year

ALS contract, with the same set of strict, parole-like conditions that he had allegedly

violated in 2015 by drinking a beer.

      128.     During his confinement at Walter Reuther, Mr. Ragland’s social

worker submitted a “petition for respite,” which, “if approved, would mean the 10

months he spent in the community would be credited towards his five-year NGRI
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contract.” See Ex. K Monroe Community Mental Health Authority Progress Notes

for Joshua Ragland pg. 344. However, the “petition for respite” was not approved.

      129.     In March of 2017, a few months after his release from Walter Reuther,

Mr. Ragland’s outpatient treatment team at Monroe Community Mental Health

Authority refused to submit a petition for a continuing hospitalization treatment

order and clinical certificate for him, notwithstanding their supposed contractual

responsibility for completing this “reporting requirement.”

      130.     Members of Mr. Ragland’s treatment team met with a representative

from the NGRI Committee regarding their position. It was determined that because

the ALS contract states that “ultimate responsibility for petitioning remains with the

hospital,” Walter Reuther staff would complete the petition and clinical certificate

in light of the treatment team’s refusal to do so.

      131.     Mr. Ragland was ordered to report to Walter Reuther to be examined

by Defendant Dr. Aruna Bavineni. Defendant Bavineni completed a clinical

certificate indicating that Mr. Ragland was mentally ill, and as a result of that mental

illness could reasonably be expected “in the near future” to “seriously physically

injure” himself or another person.

      132.     On April 21, 2017, a bench trial was held on Walter Reuther’s petition

for a continuing hospitalization treatment order. The Court denied the petition.
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      133.    During his ordeal as an NGRI acquittee, Mr. Ragland was confined in

secure psychiatric facilities for approximately 16 months. He was subject to strict,

parole-like supervision in the community for an additional 12 months. Outside of

the forensic system and immediately following his suicide attempt, Henry Ford

Kingswood Psychiatric Hospital considered Mr. Ragland ready for unconditional

discharge after only three weeks of inpatient treatment. Mr. Ragland had not

reattempted suicide or engaged in any other dangerous or violent behavior in the

approximately seven months between his discharge from Henry Ford Kingswood

Psychiatric Hospital and his admission to the Center for Forensic Psychiatry, which

occurred automatically as a consequence of his NGRI plea.

      D. Bonn Washington

      134.    Bonn Washington is a forty-three-year-old man who grew up in

Michigan’s foster care system. Like Mr. Pelichet, he suffers from schizoaffective

disorder, but unlike Mr. Pelichet, he lacks a family support network.

      135.    In 2005, Mr. Washington assaulted a Washtenaw County Sheriff’s

Deputy during a psychotic episode. He had recently switched healthcare providers,

and the new provider changed his antipsychotic medication from Olanzapine

(Zyprexa) to Quetiapine (Seroquel). The new medication exacerbated his symptoms

rather than controlling them.
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      136.     Mr. Washington was found Not Guilty by Reason of Insanity (NGRI)

on the resulting criminal charges.

      137.     Immediately following his acquittal, Mr. Washington was civilly

committed to the Center for Forensic Psychiatry for evaluation and inpatient

psychiatric treatment. His antipsychotic medication was changed back to Zyprexa,

which he continues to take daily.

      138.     Mr. Washington responded well to Zyprexa, as he had before, and his

symptoms were brought back under control.

      139.     Mr. Washington has not experienced an acute psychotic episode since

2005. He has been voluntarily compliant with his medication and understands and

accepts that he has a mental illness.

      140.     Mr. Washington has been released pursuant to ALS contracts on five

occasions between 2005 and 2018. His stretches of conditional liberty ranged from

one month to over two years.

      141.     Mr. Washington’s most recent release was in January of 2018. He is

presently living in the community, compliant with medication and treatment, and

passing his random drug screens.

      142.     When not in custody, Mr. Washington worked in the S.T.E.P.

program, a work-therapy program affiliated with his treatment provider, at an

automotive-component manufacturing facility. He made repeated requests to the
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NGRI Committee for permission to get a job outside the S.T.E.P. program but has

not yet been granted permission to seek private-sector employment. See Ex. L: Letter

from Bonn Washington to the NGRI Committee.

      143.    Every time he was released prior to his current stint in the community,

Mr. Washington was returned to the hospital for violating the ALS contract by

testing positive for marijuana. Each subsequent release was pursuant to a new ALS

contract that required a renewed five-year, violation-free period before Mr.

Washington could be discharged.

      144.    After each positive drug test, Mr. Washington was confined in the

Walter P. Reuther Psychiatric Hospital under restrictive conditions for

approximately one year.

      145.    Mr. Washington received little-to-no substance abuse treatment

during his periods of confinement at Walter P. Reuther Psychiatric Hospital.

      E. Darius Bickerstaff

      146.    Mr. Bickerstaff is 28 years old. His mother died when he was 10 years

old and he was then raised by his grandmother. Until the age of 26, Mr. Bickerstaff

lived in the family home.

      147.    Mr. Bickerstaff is diagnosed with schizoaffective bipolar disorder.

      148.     In March, 2014, at the age of 26, Mr. Bickerstaff stopped taking

medication for his illness. As a result, Mr. Bickerstaff had a psychotic episode and
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entered into a physical altercation with his grandmother’s friend while in the home.

He was charged with felonious assault with intent to do great bodily harm.

      149.     Mr. Bickerstaff was found Not Guilty by Reason of Insanity and was

treated at the Forensic Center for Psychiatry in Washtenaw County. Mr. Bickerstaff

was transferred to Walter P. Reuther Psychiatric Hospital in March 2016.

      150.     Within two months of this transfer, Walter P. Reuther Psychiatric

Hospital’s treatment team deemed him a minimal risk of escape or violence and

continued to assess him as low-risk until his release to the community in 2017.

      151.     Mr. Bickerstaff was approved in October 2016 for release to the

community only if he agreed to sign a 5-year ALS contract with parole-like

conditions as imposed by the NGRI Committee.

      152.     Defendant NGRI Committee’s policy holds that Mr. Bickerstaff is not

eligible for alternative leave unless the hospital team determines “within the bounds

of reasonable clinical certainty,” he is not likely to repeat the type of behavior which

led to the adjudication of NGRI or to commit other dangerous acts.

      153.     Despite this determination by the NGRI Committee and Mr.

Bickerstaff treatment team that he was no longer dangerous, Walter P. Reuther’s

psychiatrist wrongfully and as a matter of course declared Mr. Bickerstaff instead

continued to meet hospitalization criteria (danger to self or others) and required

treatment for another year in the hospital.
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      154.     Eventually Mr. Bickerstaff was released to the community on an ALS

contract, four months after being approved for discharge. He was released to an

Adult Foster Care Home (AFC) in February 2017.

      155.     Despite being deemed no longer a danger or self to others as of

February 2017, three months later in May, a six-month review report was submitted

to the probate court by Defendant New Center Community Services declaring he

continued to require treatment in a hospital and that he can reasonably be expected,

within the near future, to intentionally or unintentionally seriously physically injure

himself or others (and has engaged in an act or acts that support this expectation).

      156.     Mr. Bickerstaff had not engaged in any threatening or violent acts

between his release in February 2017 and the time Defendant New Center

Community Services submitted the six-month report in May.

      157.     Mr. Bickerstaff filed recipient rights complaints against several staff

members at his AFC home mid July 2017, alleging, among other things, verbal abuse

and HIPPA violations. Three of Mr. Bickerstaff’s complaints were substantiated by

Office of Recipient Rights investigators, who relied in part on recordings of the

abuse that Mr. Bickerstaff made on his phone. One AFC home employee was

terminated and another suspended as a result of the investigations.

      158.     A few days prior to these complaints being filed, the AFC home

contacted Walter Reuther Hospital’s NGRI liaison.
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      159.     The AFC home manager made verbal allegations against Mr.

Bickerstaff to Walter Reuther which resulted in him being immediately placed on

restrictions by the NGRI Committee - in that he could no longer leave the AFC home

without direct supervision from staff.

      160.     A meeting was held on July 20, 2017 at the hospital. Mr. Bickerstaff’s

guardian and his grandmother were not allowed to participate and were told to sit in

the waiting room.

      161.     According to emails between the Defendants NGRI Committee and

CMH Subcontractor employees, it was noted Mr. Bickerstaff’s case worker felt he

was being wrongfully targeted by the Adult Foster Care Home staff. According to

the CMH Subcontractor’s case manager, the NGRI Committee approved the move

to another AFC home. The AFC home issued a 30-day discharge notice.

      162.     Defendant CareLink was responsible for finding alternative

placement for Mr. Bickerstaff by no later than August 19, 2017. CareLink never

found alternative placement, leaving Mr. Bickerstaff homeless, which upon

information and belief, led to his re-hospitalization (given no records obtained reflect

any ALS contract violation or other triggering event leading to re-hospitalization).

      163.     On August 7, 2017, Mr. Bickerstaff’s therapist’s notes indicate Mr.

Bickerstaff was compliant with medication, doing well in the community, and had

been following his ALS contract since the July 20, 2017 meeting. His drug screens
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had been negative, and he continued to follow his treatment plan. On August 9, 2017,

the therapist’s notes report he remained compliant with medication. But on or around

August 13, 2017, Mr. Bickerstaff’s AFC home manager received a call from the

hospital or Defendant NGRI Committee to bring him back. She was advised not to

tell Mr. Bickerstaff why he was going to the hospital as they were afraid he would

run.

       164.   While Mr. Bickerstaff thought he was attending a treatment team

meeting, he was actually brought back to the hospital for re-admission. He was

readmitted to the hospital that day with no prior notice against his will, August 14,

2017. Mr. Bickerstaff was physically restrained in order to maintain his detention.

       165.   Neither Mr. Bickerstaff nor his guardian were provided with any

information as to his right to appeal or challenge the re-hospitalization. This is

despite several calls from his guardian addressing concerns with the readmission.

       166.   According to the admission records, the reasons for re-admission

provided include only the allegations made by the AFC home staff prior to the July

20, 2017 meeting.

       167.   Mr. Bickerstaff is once again up for discharge back to the community.

The treatment team has deemed him no longer a danger or self to others as of April

9, 2018. Walter Reuther Psychiatric Hospital staff have determined the most
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therapeutic setting for him to return to is his grandmother’s home with significant

home and community-based services.

      168.     The NGRI Committee Defendants have agreed upon release, but

approved release only to the community in another AFC home pursuant to an ALS

contract as of April 12, 2018.

      169.     And despite the determination he no longer meets hospitalization

criteria, Defendants NGRI Committee and Walter Reuther Staff filed documents

with the probate court again May 2018, wrongfully declaring he still requires

hospitalization as a danger to self or others.

      170.     Mr. Bickerstaff, despite no longer meeting hospitalization criteria as

deemed by NGRI Committee, has not yet been released from confinement in a closed

psychiatric hospital as of this writing, almost four months after he was approved for

release.



                        COUNT I:
DEPRIVATION OF RIGHTS GUARANTEED BY THE CONSTITUTIONS
AND LAWS OF THE UNITED STATES AND THE STATE OF MICHIGAN
                     (All Defendants)

      A. Procedural Due Process Violations under the Fourteenth Amendment,
         pursuant to 42 U.S.C. § 1983.

      171. Plaintiffs incorporate by reference all allegations contained in

Paragraphs 1 through 168.
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      172. All Defendants were acting under color of state law at all relevant times.

      173. The federal and state constitutional deprivations outlined herein were

caused by the exercise of State created rights and privileges, by a rule of conduct

imposed by the State, or by a person for whom the State is responsible. All

Defendants are state actors or private parties engaging in state action.

      174. Plaintiffs’ constitutionally protected rights under 42 U.S.C. § 1983 that

Defendants violated involve Plaintiffs’ Fourteenth Amendment right to liberty under

the Due Process Clause.

      175. Plaintiffs Darryl Pelichet, Bonn Washington, Joshua Ragland, Darius

Bickerstaff, and other forensic patients experienced a deprivation of liberty each and

every time they were returned to confinement at Walter P. Reuther Psychiatric

Hospital as punishment for allegedly violating of the rules of their ALS contracts,

sometimes after years of living successfully in the community.

      176. Plaintiffs signed their ALS contracts under duress, because the NGRI

Committee Defendants and Hospital Management Defendants sought to keep each

NGRI patient confined in a hospital indefinitely unless the patient signed the ALS

contract.

      177. The right to be free from physical detention is at the very core of the

liberty interest protected by the Due Process Clause of the Fourteenth Amendment.

Hamdi v. Rumsfeld, 452 U.S. 507, 529 (2004).
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      178. The Due Process Clause protects even conditional liberty interest that

a state body has broad discretion to grant or deny, such as parole. A parolee facing

revocation of his conditional liberty interest must receive, at a minimum, “(a) written

notice of the claimed violations of parole; (b) disclosure to the parolee of evidence

against him; (c) opportunity to be heard in person and to present witnesses and

documentary evidence; (d) the right to confront and cross-examine adverse

witnesses (unless the hearing officer specifically finds good cause for not allowing

confrontation); (e) a "neutral and detached" hearing body such as a traditional parole

board, members of which need not be judicial officers or lawyers; and (f) a written

statement by the factfinders as to the evidence relied on and reasons for revoking

parole.” Morrissey v. Brewer, 408 U.S. 471, 489 (1972).

      179. The specific procedural due process protections mandated in Morrissey

apply to the revocation of other conditional liberty interests besides parole. See

Gagnon v. Scarpelli, 411 U.S. 778, 782 (1973). These specific protections are

applicable to programs that resemble parole, even if the state claims that the program

is not parole, and even if the state classifies the program participants as technically

“in custody.” See Young v. Harper, 520 U.S. 143 (1997).

      180. Persons in state custody also have liberty interests protected by the due

process clause that do not even implicate release from confinement. See Washington

v. Harper, 494 U.S. 210 (1990) (holding that convicted felon confined in a
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psychiatric facility has protected liberty interest in avoiding involuntary

administration of antipsychotic medication); Youngberg v. Romeo, 457 U.S. 307,

316 (1982) (recognizing inherent protected liberty interest in freedom from bodily

restraint for the involuntarily civilly committed: “[t]his interest survives criminal

conviction and incarceration. Similarly, it must also survive involuntary

commitment.”)

      181. Confinement in a psychiatric hospital has long been recognized as

among the most grievous deprivations of liberty that a state can impose upon its

citizens. Even currently incarcerated persons are entitled to due process protections

before they can be transferred to a psychiatric hospital from a state prison. See Vitek

v. Jones, 445 U.S. 480, 492-93 (1980).

      182. Additional protected liberty entitlements, outside the scope of the

inherent protections of the Due Process Clause, can be created by operation of state

law. Bills v. Henderson, 631 F.2d 1287, 1291 (6th Cir. 1980). “When a liberty interest

has been created, the due process clause acts to ensure that the state-created right is

not arbitrarily abrogated.” Id.

      183. The Michigan Mental Health Code requires that “an opportunity for

appeal, and notice of that opportunity, shall be provided to an individual who objects

to being returned from any authorized leave in excess of 10 days,” MCL §

330.1408(3). The Michigan Constitution also provides that “[n]o person shall be . .
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. deprived of life, liberty or property, without due process of law.” Mich. Const.

1963, Art. I, § 17.

      184. The Michigan State Court Administrative Office, the administrative

agency of the Michigan Supreme Court, developed and published a court form

entitled, “Notice of Right to Appeal Return and Appeal of Return from Authorized

Leave,” to facilitate compliance with MCL § 330.1408(3). See Ex. M: SCAO Form

PCM 233.

      185. Mr. Pelichet was forced to return to confinement on six occasions since

2005, most recently on May 4, 2016. Mr. Washington was similarly forced to return

to confinement on four occasions since 2005. Mr. Ragland was forced to return to

confinement on one occasion, in January of 2016. And Mr. Bickertaff was forced to

return to confinement on one occasion, on August 14, 2017. Other forensic patients

have suffered the same.

      186. None of the Plaintiffs (and it is believed the same for other forensic

patients) were ever served with SCAO Form PCM 233 or otherwise notified that

they had a right to contest their involuntary return to the hospital.

      187. None of the Plaintiffs ever had an opportunity to contest any of the

forced returns to the hospital before a neutral decisionmaker.

      188. All of the Plaintiffs have had their ALS status summarily revoked,

resulting in additional extended periods of confinement in Walter Reuther
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Psychiatric Hospital and loss of credit for the ALS time they served in the

community, with no procedural due process protections at all.

      189. Defendants knew or should have known that they had a statutory and

constitutional duty to Plaintiffs to provide some modicum of procedural due process

either before or shortly after depriving the Plaintiffs of their liberty interests in being

free of physical detention. See Zinermon v. Burch, 494 U.S. 113 (1990); Vitek v.

Jones, 445 U.S. 480, 492-93 (1980); Morrissey v. Brewer, 408 U.S. 471, 489 (1972);

Gagnon v. Scarpelli, 411 U.S. 778, 782 (1973); Young v. Harper, 520 U.S. 143

(1997); Bills v. Henderson, 631 F.2d 1287, 1291 (6th Cir. 1980); M.C.L. §

330.1408(3).

      190. Defendants repeatedly deprived Plaintiffs and other forensic patients of

their protected liberty interests in being free of physical detention without due

process of law in violation of the Fourteenth Amendment to the Constitution of the

United States.

       191. On information and belief, the NGRI Defendants regularly exercise

their seemingly absolute discretion to compel persons living in the community who

have been adjudicated NGRI to return to confinement in a psychiatric hospital for

allegedly violating the rules of their ALS contracts, without any adversarial hearings

or other judicial oversight. Forensic patients on ALS contracts are living the reality
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that at any moment in time, based on any unsubstantiated allegation made by anyone,

they could be forced back to the hospital and held there for approximately one year.

      192. Unless Defendants are enjoined, Plaintiffs Bonn Washington, Darius

Bickerstaff, and other forensic patients will suffer irreparable injury because of

Defendants’ conduct. The NGRI Committee Defendants, Hospital Management

Defendants, and CMH Contractor and Subcontractor Defendants have a practice of

failing to provide NGRI patients with the notifications and opportunities to be heard

required by Michigan law and by the Michigan and United States Constitutions.

Plaintiff Bonn Washington’s, Plaintiff Darius Bickerstaff’s, and other NGRI

patients’ constitutional rights remain in jeopardy until Defendants can no longer

engage in their unlawful practices.

      193. As a proximate result of the Defendants’ violations of Plaintiffs’ rights,

Plaintiffs have suffered damages. Such damages include, but are not limited to, lost

wages, reduced future earnings potential, loss of their freedom from physical

confinement, suffering and mental anguish during the years they were unnecessarily

institutionalized, lost opportunities to spend time with their children and other family

members, and loss of enjoyment of life.

      B. Substantive Due Process Violations under                    the   Fourteenth
         Amendment, pursuant to 42 U.S.C. § 1983.
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      194. “The Due Process Clause contains a substantive component that bars

certain arbitrary, wrongful government actions regardless of the fairness of the

procedures used to implement them.” Foucha, 504 U.S. at 80.

      195. Among the arbitrary, wrongful government actions that are absolutely

barred by the Due Process Clause is the involuntary confinement of a mentally-ill

person who is “dangerous to no one and can live safely in freedom.” Donaldson, 422

U.S. at 575.

      196. All Defendants acted in concert to establish, maintain, and enforce a

policy of continuing the involuntary civil commitment of all persons adjudicated

NGRI, including Plaintiffs and other forensic patients, unless and until the patient

completes a five-year period in the community without violating a set of strict

conditions of release.

      197. Defendant Lisa Medoff, the Director of Psychology at Walter P.

Reuther Hospital, hired outside psychologists on an independent-contractor basis to

complete Clinical Certificates for NGRI patients and testify at their Probate Court

hearings.

      198. These independent contractors, who had little-to-no previous contact

with the subject patient, typically examined the patient for less than twenty minutes

before invariably concluding that the patient continues to meet the statutory criteria

for involuntary hospitalization.
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      199. On information and belief, it was intended by Defendant Lisa Medoff,

and as a result, every clinical examination of an NGRI patient commissioned by

Walter P. Reuther Psychiatric Hospital for the purpose of completing a Petition for

a Continuing Treatment Order in the past five years has resulted in the following

findings:

            a) The patient continues to be a “person requiring treatment” as defined

      in M.C.L. § 330.1401;

            b) Alternative/assisted outpatient treatment is insufficient to meet the

      patient’s needs;

            c) A combination of hospitalization and alternative/assisted outpatient

      treatment is insufficient to meet the patient’s needs;

            d) The patient requires continuing involuntary hospitalization for the

      maximum period of time permitted by law (typically one year).

      200.      Determinations made by the Office of Recipient Rights support the

allegation there is a practice, policy, or custom of employing excessive and illegal

treatment for punitive purposes for NGRI patients.

      201.      According to an ORR report, on February 22nd, 2018, Marway

Johnson, LLMSW, an employee of Walter Reuther Psychiatric Hospital, told a

group of hospitalized NGRI patients that, “I will never have anything good to say

about you or anyone here [in probate court] and I will always say something bad
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about you when I go to court because my job is to keep you here.” See Ex. N:

Office of Recipient Rights Investigation Re: Marway Johnson, May 15, 2018.

      202.     When asked by an Office of Recipient Rights investigator if she

really believed that it was her job to say whatever was necessary in court to secure

another hospitalization treatment order, she responded, “yes, that is my job. I was

told, that is my job. Is it not my job?” Ms. Johnson also stated in the interview:

“that we go to court, so we can renew your treatment order even if you are stable.

That is our job to say what is needed for them to stay.” See Ex. N: Office of

Recipient Rights Investigation Re: Marway Johnson, May 15, 2018.

      203.     On information and belief, the Hospital Management Defendants

directed both independent-contractor psychologists, such as Defendant Stern, and

hospital employees, such as Marway Johnson, LLMSW, and Defendant

Bavineni, to “say what is needed” in probate court to keep every patient on a

hospitalization treatment order, regardless of that patient’s treatment progress or

present mental health condition.

      204.     On information and belief, the Hospital Management Defendants

directed both independent-contractor psychologists, such as Defendant Stern, and

hospital employees, such as Marway Johnson, LLMSW, and Defendant

Bavineni, to produce treatment documentation, petitions for civil commitment,

and clinical certificates that exaggerated each NGRI patient’s present level of
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dangerousness in order to increase the probability that each NGRI patient’s

hospitalization treatment order would be renewed.

      205.     Indigent, mentally-ill persons institutionalized at Walter Reuther

Psychiatric Hospital are poorly-equipped to detect and credibly respond to false

or misleading testimony proffered by their treatment professionals. The court-

appointed attorneys provided to Mr. Pelichet and Mr. Washington received only

a “one-time payment” of $130 to handle their entire civil commitment cases,

including the trial. See Ex. O: Appointed Attorney Fee Schedule for Wayne

County Probate Court. The appointed attorneys for indigent NGRI patients

typically do not interview witnesses, conduct little, if any, investigation into their

client’s present condition and treatment history, and spend minimal time

preparing for trial.

      206.     NGRI patients report that their court-appointed attorneys

consistently pressure them to waive their right to trial and stipulate to an

additional 1-year hospitalization treatment order. Securing a waiver and

stipulation from his mentally-ill client allows an appointed attorney to avoid

conducting a trial, while still receiving the $130 payment. ORR staff have also

observed appointed attorneys, who are typically assigned several NGRI clients at

a time, moving from patient to patient in hospital common areas and attempting
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to convince all of their appointed clients to sign waivers and stipulations in a

single hospital visit.

       207.    All releases of NGRI patients on ALS contracts presently require

approval from the “NGRI Committee,” a committee composed of state

employees who do not work at Walter P. Reuther Psychiatric Hospital.

       208.    NGRI patients who have been released on ALS contracts also must

gain permission from the NGRI Committee before they may engage in a variety

of common, lawful activities, such as driving a car, obtaining private-sector

employment, working the night shift, visiting local relatives, enrolling in

community college, or getting a GED.

       209.    Plaintiffs   Bonn   Washington    and   Darryl   Pelichet   both

unsuccessfully sought permission from the NGRI Committee to participate in

private-sector employment during their most recent releases.

       210.    Typically, the members of the NGRI Committee do not personally

examine or meet with the NGRI patients confined in Walter P. Reuther

Psychiatric Hospital when deciding whether to release them, and do not

personally examine or meet with NGRI patients in the community when deciding

whether they can work, go to school, or drive a car.

       211.    The members of the NGRI Committee do not typically have a face-

to-face meeting with any of the social workers, psychologists, or other
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professionals at Walter P. Reuther Psychiatric Hospital who regularly treat and

interact with the subject NGRI patient before making their decisions.

      212.     The parole-like system operated by the Defendants prolongs the

confinement of persons adjudicated NGRI after said persons cease to be both

mentally-ill and dangerous, in violation of their “constitutional right to freedom.”

Donaldson, 422 U.S. at 576.

      213.     The Defendants’ internal policies require the patient’s treatment

providers to determine “within the bounds of reasonable clinical certainty, [that]

the patient is not likely to repeat the type of behavior that led to the adjudication

as NGRI or commit other dangerous acts,” before the patient can be released from

the hospital on an ALS contract. See Ex. P: Walter P. Reuther Psychiatric

Hospital Standard Operating Procedure #254.

      214.     Shortly after making internal determinations that Plaintiffs Darryl

Pelichet, Bonn Washington, Joshua Ragland, Darius Bickerstaff, and other

forensic patients, were “not likely to repeat the type of behavior that led to the

adjudication as NGRI or commit other dangerous acts,” the CMH Contractor and

Subcontractor Defendants, NGRI Committee Defendants, and Hospital

Management Defendants filed or directed subordinates to file petitions for

Continuing Treatment Orders in which they alleged that Plaintiffs “can

reasonably be expected, in the near future, to intentionally or unintentionally
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seriously physically injure” themselves or others. See Ex. Q: Petition filed by

Defendant Hegira Programs, Inc. on October 24, 2017.

      215.    The CMH Subcontractor Defendants filed Petitions for Continuing

Treatment Orders alleging that Plaintiffs Darryl Pelichet, Joshua Ragland, Bonn

Washington, Darius Bickerstaff, and other forensic pateients, could reasonably

be expected “in the near future” to “seriously physically injure” themselves or

others while the Plaintiffs were living in the community, complying with their

treatment, and passing their random drug screens.

      216.    Plaintiffs Darryl Pelichet and Bonn Washington have not seriously

injured anyone in the thirteen years since their original NGRI adjudications.

Plaintiff Joshua Ragland has not reattempted suicide or engaged in any other

dangerous or violent behavior since his suicide attempt in February 2014. And

Darius Bickerstaff has not seriously injured anyone since his original NGRI

adjudication in 2014.

      217.    The ALS contracts employed by Walter P. Reuther Psychiatric

Hospital are agreements not only between the patient and the hospital, but also

between the hospital, the NGRI Committee, and the private contractors and

subcontractors engaged to provide treatment to the patient in the community.

      218.    The CMH Contractor Defendants and Subcontractor Defendants

agree, in their standard NGRI outpatient treatment contracts with Walter P.
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Reuther Psychiatric Hospital and the NGRI Committee Defendants, to petition

for a one-year continuing Hospitalization Treatment Order for the relevant patient

every year for five years, and never to make a recommendation to the Probate

Court for alternative/assisted outpatient treatment. See Ex. R: Darryl Pelichet and

Bonn Washington ALS Contracts.

      219.     The “Community Mental Health Provider Responsibilities”

section of Mr. Pelichet’s most recent ALS contract refers to the act of filing a

Petition for Continuing Treatment Order with the Probate Court as a mere

“reporting requirement.” See Id.

      220.     For example, Mr. Pelichet’s contract purports to obligate

Defendant Hegira Programs, Inc. to file with the Probate Court “at least 14 days

prior to the expiration of the current court order, a Petition for a Second or

Continuing Treatment Order and a Clinical Certificate,” and “these should reflect

a request for a 90 day or one-year hospitalization with Walter P. Reuther

Psychiatric Hospital named as the hospital.” Id.

      221.     The contract further provides that “the patient must be kept on a

Hospitalization Treatment Order and should not be placed on an Alternative

Treatment Order . . .” Id.

      222.     The contract does not allow for the possibility that the examining

psychiatrist for the relevant CMH Defendant could conclude that outpatient
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treatment is sufficient for the patient’s needs or that the patient no longer meets

the M.C.L. § 330.1401 criteria for continuing involuntary hospitalization.

      223.     Dr. P. G. Vijayakumaran completed the clinical certificate for the

most recent Petition for a Continuing Treatment Order for Mr. Pelichet. Dr.

Vijayakumaran checked the box to recommend “hospitalization” rather than the

box for “alternative treatment” and wrote below, “to maintain NGRI status.”

      224.     Dr. Vijayakumaran testified at Mr. Pelichet’s jury trial on January

29th, 2018. He said that he had examined Mr. Pelichet on one occasion for twenty

minutes. When asked what the purpose of the single twenty-minute appointment

was, Dr. Vijayakumaran said the purpose was “[t]o create documents

substantiating his continuation of the ALS status.” See Ex. S: Pelichet

transcript pg 22.

      225. Each petition for a continuing one-year Hospitalization Treatment

Order is filed on a standard SCAO form, PCM 218. Paragraph 13 of the form

provides four options for recommendations to the court if the petitioner believes

that the respondent meets the Section 401 criteria for involuntary hospitalization:

      a) “hospitalization for not more than 90 days.”

      b) “continuing hospitalization for not more than one year.”

      c) “combined hospitalization and alternative/assisted outpatient

      treatment for not more than one year.”
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      d) “alternative/assisted outpatient treatment for not more than one

      year.”

SCAO Form, PCM 18.

      226. A check-box is provided next to each option. Upon information and

belief, the CMH Subcontractor Defendants’ employees are advised to always check

the second box, “continuing hospitalization for not more than one year,” for every

NGRI patient because the CMH Contractor and Subcontractor Defendants’ ALS

contracts with the NGRI Committee Defendants proport to preclude them from

making any other recommendation to the Court.

      227.     Mary Scott, the employee of Hegira Programs, Inc., who

completed Mr. Pelichet’s most recent Petition for a Continuing Treatment Order,

testified in his jury trial on January 29, 2018. She testified that she had worked

for Hegira in her present position for thirty years. She testified that throughout

her entire career, when completing the “Petition for a Continuing Treatment

Order” form for an NGRI patient, she had never checked a box in the “I

recommend” section other than the box for one additional year of hospitalization.

See Ex. S, Pelichet Transcript pgs 19-20.

      228. The SCAO form used by Defendant Hegira Programs’ employees

includes the words “To Maintain NGRI Status” appended next to the second option,

although this text does not appear in the standard version of the form approved by
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the SCAO. Walter P. Reuther Psychiatric Hospital adds the same text to the petitions

it files using what appears to be a stamp. See Ex. Q: Petition filed by Defendant

Hegira Programs, Inc. on October 24, 2017; Ex. T: Petition filed by Walter P.

Reuther Psychiatric Hospital.

      229. Walter P. Reuther Psychiatric Hospital possesses a literal rubber stamp

that reads “To maintain NGRI Status” and uses it to amend the text of the standard

SCAO form after, “I REQUEST the court to order the individual to receive

continuing hospitalization for not more than one year.”

      230. The use of the rubber stamp gives rise to a strong inference that Walter

P. Reuther Psychiatric Hospital regularly recommends one-year Hospitalization

Treatment Orders for NGRI patients not because, in its professional clinical

judgment, the patient continues to meet the constitutional and statutory criteria for

involuntary civil commitment and a one year of continued involuntary

hospitalization is the least restrictive treatment setting appropriate for the patient,

but rather for the sole purpose of maintaining the patient’s NGRI status.

      231. During the course of its second investigation, the MDHHS Office of

Recipient Rights “determined that the process of using court orders for continued

hospitalization to maintain NGRI Committee oversight has become standard

practice that is placing the due process rights of individuals who have been found

NGRI and placed in the care of the Michigan Department of Health and Human
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Services (MDHHS) in jeopardy.” Ex. F: Report of Investigative Findings from

Office of Recipient Rights, dated 9/8/17.

      232. All Defendants knew or should have known that “[t]o maintain NGRI

Status” is not among the statutorily or constitutionally permissible bases for

subjecting a person to involuntary civil commitment. See M.C.L. § 330.1401(1), Bell

v. Wayne County General Hospital, 384 F.Supp. 1085, 1096 (E.D. Mich. 1974);

Foucha v. Louisiana, 504 U.S. 71 (1992); O’Connor v. Donaldson, 422 U.S. 563,

575 (1975).

      233. Defendant Lisa Medoff, the Director of Psychology at Walter P.

Reuther Psychiatric Hospital, testified at the May 3, 2017 hearing on Mr. Pelichet’s

Petition for Discharge which demonstrates that she recklessly disregards the Section

401 criteria and the due process rights of patients in her care. Counsel for Mr.

Pelichet asked Defendant Medoff on cross-examination if “there was ever a point in

time that [Mr. Pelichet] has ever injured himself or others during this entire period

from 2005 to now that we – that we’re now looking at?” to which she responded,

“Well from my perspective, I consider taking a drug which can be contradictory to

your health something that is dangerous. So I consider that harm to self.”

      234. She further testified that although she had known Mr. Pelichet and

overseen his treatment for several years, to her knowledge he had never actually

physically done harm to himself or others except for “harming himself” by smoking
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marijuana. Ex. U: Cross-Examination of Defendant Lisa Medoff at May 3, 2017

Hearing.

      235. None of the Plaintiffs have ever “seriously physically injured” himself

or anyone else while under the influence of marijuana.

      236. Defendant Lisa Medoff knew or should have known that the risk of self-

harm via substance abuse is specifically excluded by statute as a permissible basis

for involuntary civil commitment in a psychiatric hospital. M.C.L. § 330.1401(2).

      237. As a consequence of the Defendants’ violations of their constitutional

rights, the Plaintiffs have suffered damages. Such damages include, but are not

limited to, lost wages, reduced future earnings potential, loss of their freedom from

physical confinement, suffering and mental anguish during the years they were

unnecessarily institutionalized, lost opportunities to spend time with their children

and other family members, and loss of enjoyment of life.

      238. Unless Defendants are enjoined, Plaintiffs Bonn Washington, Darius

Bickerstaff, and other forensic patients will continue to suffer irreparable injury

because of Defendants conduct. Defendants have a practice of automatically filing

petitions for continued hospitalization in bad faith, in order to keep persons who

have been adjudicated NGRI institutionalized when there is no longer a statutory or

constitutional basis to confine them. Because Plaintiff Bonn Washington has been

released subject to an ALS contract with Defendants (and Darius Bickerstaff should
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be released shortly), Plaintiffs could be returned to Walter P. Reuther Psychiatric

Hospital at any time. Plaintiffs are further required to obtain permission from the

NGRI Committee to participate in lawful activities such as seeking employment.

The Constitutional rights of Plaintiff Bonn Washington and of other persons who are

NGRI patients and constituents and clients of Michigan Protection and Advocacy

Service, Inc. remain in jeopardy until Defendants can no longer engage in their

unlawful practices.

      239. The public has an interest in ensuring Defendants (government entities

and their affiliates) abide by state and federal law, especially where it involves

unconstitutional deprivations of liberty.

      240. As a proximate result of the Defendants’ violations of Plaintiffs’ rights,

Plaintiffs have suffered damages. Such damages include, but are not limited to, lost

wages, reduced future earnings potential, loss of their freedom from physical

confinement, suffering and mental anguish during the years they were unnecessarily

institutionalized, lost opportunities to spend time with their children and other family

members, and loss of enjoyment of life.

      C. Equal Protection Burdening Fundamental Rights under the
         Fourteenth Amendment, pursuant to 42 U.S.C. § 1983.


      241. The policies, practices, customs, and procedures established,

maintained, and carried out by all of the Defendants violate the Equal Protection
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clause of the Fourteenth Amendment by intentionally singling out NGRI patients for

additional punishment in the form of medically unnecessary confinement and loss

of liberty, beyond that imposed on similarly situated individuals who are

involuntarily civilly committed for psychiatric treatment and who were not acquitted

NGRI.

      242. The policies and procedures established, maintained, and carried out by

the Defendants burden the fundamental right to freedom from physical confinement.

      243. The parole-like system that the Defendants established for NGRI

patients lacks even the procedural protections, judicial oversight, and statutory

maximum sentences afforded to similarly-situated, convicted criminal defendants

who are adjudicated “Guilty But Mentally Ill” (GBMI) pursuant to Mich. Comp.

Laws § 768.36 (2018).

      244. While persons found GBMI may serve some or all of their sentence in

a psychiatric hospital rather than a prison, they are ordinarily entitled to release after

serving the statutory maximum sentence for the crime they were convicted of.

      245. When persons found GMBI are released early, they are placed on

parole, rather than on “ALS contracts,” and provided access to procedural due

process protections if they are accused of violating parole.

      246. Persons found GMBI are not placed on 5-year ALS contracts. They are

never subject to the oversight of the NGRI Committee Defendants.
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      247. If Plaintiff Darryl Pelichet had pled guilty, or “guilty but mentally ill”

to the crimes he was acquitted of, he could have been held in custody for a maximum

of four years. Instead he and other forensic patients are trapped in an indefinite cycle

of hospitalization, strict ALS supervision, and rehospitalization that lasted, or may

last, nearly thirteen years and threatened to continue for the remainder of their lives.

      248. Defendants are state actors and as such are obligated to provide

Plaintiffs and other forensic patients equal protection under the law.

      249. As a proximate result of the Defendants’ violations of Plaintiffs’ rights,

Plaintiffs have suffered damages. Such damages include, but are not limited to, lost

wages, reduced future earnings potential, loss of their freedom from physical

confinement, suffering and mental anguish during the years they were unnecessarily

institutionalized, lost opportunities to spend time with their children and other family

members, and loss of enjoyment of life.

      D. Cruel and Unusual Punishment

      250. The "deliberate indifference to serious medical needs of prisoners

constitutes the ‘unnecessary and wanton infliction of pain’. . . proscribed by

the Eighth Amendment." Estelle v. Gamble, 429 U.S. 97, 104 (1976).

      251. The Eighth Amendment’s guarantees with respect to medical care

apply equally to prison inmates and persons who are involuntarily civilly committed

for purposes of psychiatric treatment, even though the latter have not been convicted
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of a crime. Terrance v. Northville Reg’l Psychiatric Hosp., 286 F.3d 834, 842-43

(6th Cir. 2002).

      252. The Eighth Amendment’s guarantees with respect to medical care for

institutionalized persons includes a right to mental health and psychiatric treatment.

See, generally, Perez v. Oakland County, 466 F.3d 416 (6th Cir. 2006).

      253. Persons responsible for the health and safety of an institutionalized

population exhibit “deliberate indifference to serious medical needs” when they

provide “grossly inadequate care,” which is defined as “treatment so grossly

incompetent, inadequate, or excessive as to shock the conscience or to be intolerable

to fundamental fairness.” Terrance v. Northville Reg’l Psychiatric Hosp., 286 F.3d

834, 844 (6th Cir. 2002) (quoting Waldrop v. Evans, 871 F.2d 1030, 1033 (11th Cir.

1989)).

      254. Michigan’s Mental Health Code mandates that a “clinical certificate”

accompany a petition for continuing 1-year hospitalization treatment order, and that

the psychiatrist or psychologist who submits the clinical certificate must conduct a

“personal examination” of the individual named in the petition within 72 hours

before the petition is filed. MCL 330.1434(4).

      255. Defendant Bavineni, as well as Defendant Stern, conduct brief, ten-to-

twenty-minute interviews with NGRI patients held at Walter Reuther in order to
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produce the clinical certificates which must accompany petitions for 1-year

hospitalization treatment orders.

      256. Per MCL § 330.1435(4), “the examining psychiatrist shall either

transmit a clinical certificate to the court or report to the court that execution of a

clinical certificate is not warranted.”

      257. On information and belief, Defendant Bavineni has never reported to

the probate court “that execution of a clinical certificate” for an NGRI patient was

“not warranted.”

      258. On information and belief, Defendant Stern has never reported to the

probate court “that execution of a clinical certificate” for an NGRI patient was “not

warranted.”

      259. Defendant Stern failed to conduct bona-fide psychological evaluations

of the NGRI patients at Walter Reuther, including Plaintiff Darryl Pelichet.

Defendant Stern’s single-session interviews were too brief to conduct meaningful

psychological testing, to accurately evaluate a patient’s present mental health

condition, or to determine the patient’s present level of dangerousness to himself or

others.

      260. Defendant Stern represented to Recipient Rights investigators (and to

the Probate Court) that his recommendations regarding Plaintiff Darryl Pelichet were

based, in part, on discussions with Mr. Pelichet’s treatment team. However, the
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treatment team members who were interviewed in the course of the ORR

investigation denied that Defendant Stern ever spoke with them about Mr. Pelichet.

Ex. F: Report of Investigative Findings from Office of Recipient Rights, dated

9/8/17.

      261. Rather than conducting a periodic review of each NGRI patient’s

current mental health condition and ascertaining whether there was a need for

continued involuntary confinement, Defendant Stern conducted pro-forma, sham

evaluations whose results were predetermined.

      262. Defendant Stern provided grossly inadequate treatment when he failed

to conduct a bona-fide psychological evaluation of Plaintiff Darryl Pelichet and

failed to consult with members of Mr. Pelichet’s treatment team about his present

mental health condition before reaching a conclusion about Mr. Pelichet’s need for

continued involuntary hospitalization.

      263. Defendant Stern provided grossly inadequate treatment when he

summarily concluded, on the basis of little more than a single ten-to-twenty-minute

interview, that 1) Mr. Pelichet was presently “mentally ill” as that term is defined in

MCL 330.1400(g), 2) that Mr. Pelichet could reasonably be expected, in the near

future, to seriously physically injure himself or another person, and 3) that

hospitalization, rather than outpatient treatment, was the least restrictive treatment

option suitable for Mr. Pelichet’s needs.
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      264. Defendant Stern’s sham psychological evaluations are “intolerable to

fundamental fairness.” They deprive NGRI patients of a meaningful evaluation of

their present treatment needs and always result in a recommendation for continuing

hospitalization, irrespective of the patient’s present mental health condition. See Ex.

D: Report of Investigative Findings from Office of Recipient Rights, dated 2/8/17;

Ex. E: Report of Investigative Findings from Office of Recipient Rights, Amended,

6/12/17; Ex. F: Report of Investigative Findings from Office of Recipient Rights,

dated 9/8/17.

      265. Unlike Defendant Stern, Defendant Bavineni regularly treated many of

the NGRI patients for whom she produced clinical certificates, including Plaintiffs

Darryl Pelichet, Joshua Ragland, and Darius Bickerstsaff.

      266. Defendant Bavineni produced clinical certificates whose conclusions

about patient dangerousness flatly contradicted her contemporaneous findings in

patient risk assessments and other evaluations of NGRI patients completed for

Walter Reuther’s internal use.

      267. Defendant Bavineni’s apparent failure to understand that “that facts

were required to support the assertion” that Mr. Pelichet required an additional year

of involuntary hospitalization demonstrates either gross incompetence, recklessness,

or a lack of adequate training and supervision. See Ex. F: Report of Investigative

Findings from Office of Recipient Rights, dated 9/8/17.
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      268. In March of 2017, at the behest of the NGRI Committee Defendants,

Defendant Bavineni examined Plaintiff Joshua Ragland and produced a clinical

certificate indicating that 1) Mr. Ragland was presently “mentally ill” as that term is

defined in MCL 330.1400(g), 2) that Mr. Ragland could reasonably be expected, in

the near future, to seriously physically injure himself or another person, and 3) that

hospitalization, rather than outpatient treatment, was the least restrictive treatment

option suitable for Mr. Ragland’s needs.

      269. At the time, Mr. Ragland was caring for his terminally-ill mother while

on ALS status in the community. Mr. Ragland’s outpatient treatment team, which

had contact with him nearly every day, was in unanimous agreement that involuntary

civil commitment was not warranted.

      270. Defendant Bavineni’s evaluations of NGRI patients prior to their

probate court hearings are a sham. Defendant Bavineni mechanically issues

recommendations for hospitalization for an additional year, even when she knows

that the patient does not meet the Section 401 criteria for involuntary civil

commitment. She also recommends “hospitalization” rather than alternative

outpatient treatment solely for the purpose of maintaining the patient’s NGRI status.

      271. Defendant Bavineni’s sham evaluations of NGRI patients constitute

“treatment so grossly incompetent, inadequate, or excessive as to shock the

conscience or to be intolerable to fundamental fairness.”
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      272. The NGRI Committee Defendants and the Hospital Management

Defendants enforce policies, procedures, and practices with respect to NGRI patients

that have subjected Plaintiffs Darryl Pelichet, Joshua Ragland, Bonn Washington,

and Darius Bickerstaff to psychiatric treatment so “excessive as to shock the

conscience or to be intolerable to fundamental fairness.”

      273. The NGRI Committee Defendants and the Hospital Management

Defendants imposed a 5-year ALS contract on virtually every NGRI patient that they

permitted to leave the hospital on ALS status, regardless of whether five years of

strict, parole-like supervision was medically necessary for the individual in question.

      274. The NGRI Committee Defendants, through their contractual

agreements with the CMH Contractor and Subcontractor Defendants, directed those

entities to ensure that each NGRI patient remained subject to a hospitalization

treatment order for the entire five-year ALS contract by filing annual petitions and

clinical certificates certifying that the patient satisfies the Section 401 criteria for

involuntary civil commitment, even when the patient does not.

      275. When a patient is alleged to have violated their five-year ALS contract

and summarily returned to a psychiatric hospital, the NGRI and Hospital

Management Defendants’ policies mandate that the patient be considered a “new

admission.” This means that the patient loses all the earned privileges (e.g. greater

freedom of movement within the facility) that the patient enjoyed immediately prior
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to their release on ALS. The patient must spend at least several months working their

way back up to the hospital’s least restricted patient classification before the patient

can again be considered for release on ALS status. The five-year ALS contract term

always starts anew with each subsequent release, so that the cycle of release, contract

violation, and readmission can continue indefinitely.

      276. Plaintiff Joshua Ragland’s experience demonstrates how the

Defendants’ policies and practices impose grossly excessive treatment on NGRI

patients. Henry Ford Kingswood Psychiatric Hospital treated Mr. Ragland in the

immediate aftermath of his suicide attempt and considered him ready for discharge

after three weeks. He lived at home without incident for seven months following his

discharge, before he was admitted to the Center for Forensic Psychiatry solely

because he had entered a plea of NGRI to criminal charges relating to the suicide

attempt. He was then held at the Center for Forensic Psychiatry for five months,

forced to take antipsychotic medication, and permitted to leave only if he agreed to

comply with standard ALS contact terms for five years. These terms included a

curfew, abstaining from alcohol, not leaving the State of Michigan, and not staying

overnight anywhere but his mother’s house without the prior permission of the NGRI

Committee Defendants. When Mr. Ragland allegedly violated the contract by

drinking beer, he was confined in a psychiatric hospital for almost a year.
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      277. The boilerplate ALS conditions imposed on Mr. Ragland were not

reasonably related to suicide prevention and had a punitive, rather than medical,

purpose. The additional eleven months of confinement Mr. Ragland was subjected

to without any due process, solely because the NGRI Committee Defendants

believed that he drank a beer on occasion or perhaps once smoked marijuana, was

grossly excessive, not reasonably related to suicide prevention, and shocks the

conscience.

      278. As a proximate result of the Defendants’ violations of Plaintiffs’ rights,

Plaintiffs have suffered damages. Such damages include, but are not limited to, lost

wages, reduced future earnings potential, loss of their freedom from physical

confinement, suffering and mental anguish during the years they were unnecessarily

institutionalized, lost opportunities to spend time with their children and other family

members, and loss of enjoyment of life.



                            COUNT II:
    DEPRIVATION OF RIGHTS GUARANTEED BY TITLE II OF THE
                AMERICANS WITH DISABILITIES ACT
  (Defendant MDHHS, MDHHS Contractor and Subcontractor Defendants,
   and Defendant MDHHS employees (including Nick Lyon) in their official
                            capacities)

      279. Plaintiffs incorporate by reference all allegations contained in

Paragraphs 1 through 278.

      280. Defendants are public entities as defined by 42 U.S.C. § 12132.
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       281. This Count is brought pursuant to Title II of the Americans with

Disabilities Act (“ADA”). The ADA prohibits discrimination in all “services,

programs, or activities of a public entity.” 42 U.S.C. § 12132.

       282. The “unjustified isolation” of persons with disabilities in psychiatric

facilities by state and local governments constitutes unlawful disability

discrimination under Title II. Olmstead v. L. C. by Zimring, 527 U.S. 581, 597

(1999).

       283. Plaintiffs and all forensic patients are “qualified individuals with a

disability” as defined under the ADA. Specifically, Plaintiffs and forensic patients

all have a mental illness and impairments that substantially limit one or more major

life activity. All Plaintiffs have a record of a mental illness and are regarded by all

Defendants as having such impairments.

       284. The “integration mandate” of Title II of the ADA, codified in 28 C.F.R.

§ 35.130(d), requires public entities to “administer services, programs, and activities

in the most integrated setting appropriate to the needs of qualified individuals with

disabilities.”

       285. Defendants discriminated and continue to discriminate against

Plaintiffs and forensic patients who are “qualified individuals with disabilities,” in

violation of Title II of the ADA, 42 U.S.C. § 12132, and its implementing

regulations, by administering Michigan’s mental health system in a manner that has
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denied and continues to deny hundreds of persons with mental illness and/or

addictive diseases, including the Plaintiffs, the opportunity to receive services in the

most integrated setting appropriate to their needs. These individuals are qualified to

receive services in a setting that is more integrated than a closed psychiatric hospital,

and they do not oppose receiving the services they require, such as substance abuse

treatment or home and community based services, on an outpatient basis in the

community.

      286. Providing treatment to the Plaintiffs on an outpatient basis would not

constitute a "fundamental alteration" of the State's behavioral health service system,

as that term is defined in Olmstead, because the State of Michigan already provides

the services that the Plaintiffs require to live in a more integrated setting through its

community mental health programs, and providing the necessary treatment in an

integrated community setting is significantly less costly on a per-patient basis than

institutionalization in a regional psychiatric hospital.

      287. Although most of the Plaintiffs’ numerous readmissions to Walter P.

Reuther Psychiatric Hospital were due primarily to their use of marijuana, and in

Joshua Ragland’s case, to his alleged occasional use of alcohol, Walter P. Reuther

Psychiatric Hospital is not a substance abuse treatment facility and none of the

Plaintiffs received meaningful substance abuse treatment during any of their lengthy

hospitalizations.
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      288. Because the Defendants repeatedly subjected the Plaintiffs to long

periods of institutionalization, rather than providing treatment to them in the most

integrated setting appropriate to their needs, the Plaintiffs have suffered damages.

As the United States Supreme Court recognized in Olmstead, “confinement in an

institution severely diminishes the everyday life activities of individuals, including

family relations, social contacts, work options, economic independence, educational

advancement, and cultural enrichment.” Olmstead, 527 U.S. at 601.

      289. Unless Defendants are enjoined, Plaintiff Bonn Washington, Darius

Bickerstaff, and constituents of Plaintiff Michigan Protection and Advocacy Service,

Inc. have and will continue to suffer irreparable injury because of Defendants failure

to comply with the ADA.

      290. As a proximate result of the Defendants’ violations of Plaintiffs’ rights,

Plaintiffs have suffered damages. Such damages include, but are not limited to, lost

wages, reduced future earnings potential, loss of their freedom from physical

confinement, suffering and mental anguish during the years they were unnecessarily

institutionalized, lost opportunities to spend time with their children and other family

members, and loss of enjoyment of life.

                              COUNT III:
     VIOLATION OF SECTION 504 OF THE REHABILITATION ACT
     (Defendant MDHHS, Defendant MDHHS employees in their official
       capacities, and CMH Contractor and Subcontractor Defendants)
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      291. Plaintiffs incorporate by reference all allegations contained in

Paragraphs 1 through 290.

      292. Section 504 of the Rehabilitation Act of 1973, on which the ADA is

modeled, sets forth similar protections against discrimination by recipients of federal

funds. 29 U.S.C. §§ 794-794a. These protections include the prohibition against

unnecessary segregation. Regulations implementing Section 504 require that a

public entity administer its services, programs and activities in “the most integrated

setting appropriate” to the needs of qualified individuals with disabilities. 28 C.F.R.

§ 41.51(d).

      293. Defendant MDHHS, the CMH Contractor Defendants, and the CMH

Subcontractor Defendants are all recipients of federal funds for purposes of Section

504 of the Rehabilitation Act.

      294. Mental health inpatient and outpatient services are “programs and

activities” for purposes of Section 504 of the Rehabilitation Act.

      295. Plaintiffs Darryl Pelichet, Joshua Ragland, Bonn Washington, Darius

Bickerstaff, and the MPAS constituents are “qualified individuals with a disability”

for purposes of Section 504 of the Rehabilitation Act. Specifically, Plaintiffs and

forensic patients all have a mental illness and impairments that substantially limit

one or more major life activity. All Plaintiffs have a record of a mental illness and

are regarded by all Defendants as having such impairments.
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         296. Defendants’ actions imposed and continue to impose unnecessary

confinement and segregation upon Plaintiffs and other individuals adjudicated

NGRI, including MPAS’s constituents, and deny them the most integrated

community placements possible, in violation of Section 504’s integration mandate.

         297. Defendant’s actions violate Section 504 and therefore discriminate

against individuals with cognitive and psychiatric disabilities, based on their type of

disability and stigma associated with those found NGRI.

         298. As a proximate result of the Defendants’ violations of Plaintiffs’ rights,

Plaintiffs have suffered damages. Such damages include, but are not limited to, lost

wages, reduced future earnings potential, loss of their freedom from physical

confinement, suffering and mental anguish during the years they were unnecessarily

institutionalized, lost opportunities to spend time with their children and other family

members, and loss of enjoyment of life.

                              REQUEST FOR RELIEF

         Accordingly, Plaintiffs respectfully request the following relief from the

Court:

         1. Legal Relief

         a. An Order for an award of full compensatory damages for injuries and

damages sustained by Plaintiffs (other than Plaintiff MPAS) due to the many years
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they were illegally and unconstitutionally confined, against their will, by

Defendants;

      b.      An Order for actual reasonable attorney fees and litigation expenses.

      2. Equitable Relief

      a.      An Order permanently enjoining Defendants, their officers, agents,

employees, subordinates, successors in office, and all those acting in concert or

participating with them (hereafter “All Defendants”) from continuing the acts,

omissions, and practices set forth in Counts I-III,

      b.    An Order permanently enjoining the NGRI Defendants, Hospital

Management Defendants, CMH Contractor Defendants, and MCPN Defendants

from entering into any contractual arrangement(s) that place limits or conditions on

the recommendations that a psychiatrist, psychologist, or other treatment

professional can make to a Probate Court regarding a patient;

      c.   An Order permanently enjoining All Defendants from involuntarily

returning patients living in community on authorized leave status to custody in a

psychiatric hospital without first providing notice and an adversarial hearing, at

which the patient is represented by counsel;

      d.   An Order permanently enjoining all Defendants from administering

behavioral health services in a setting that unnecessarily isolates and segregates

individuals with disabilities from the community, and requiring Defendants to
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administer behavioral health services in the most integrated setting appropriate to

the needs of the individuals with disabilities;

      3. An Order for all such other relief as this Court deems reasonable, just, and

equitable under the circumstances.

                                  JURY DEMAND

      Plaintiffs, by and through their attorneys, demands a jury trial in this case.




This the 14th day of September, 2018


 /s/ Laurence H. Margolis                   /s/ James M. Gallagher
 Laurence H. Margolis (P69635)              James M. Gallagher (P73038)
 Margolis Law, PC                           James Gallagher PLLC
 Attorney for Plaintiffs                    Attorney for Plaintiffs

 /s/ Andrea L. Rizor                        /s/ Chris E. Davis
 Andrea L. Rizor (P78382)                   Chris E. Davis (P52159)
 Michigan Protection & Advocacy             Michigan Protection & Advocacy
 Service, Inc.                              Service, Inc.
 Attorney for Plaintiff MPAS                Attorney for Plaintiff MPAS
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Ex. G: Summary Report of Recipient Rights Complaint Amended Report – 4th
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Ex. H: Clinical Certificate Completed by Defendant Bavineni on 10-30-2016.
Ex. I: Six-Month Review Report by Defendant Bavineni, 4/17/17.
Ex. J: Psychiatric Evaluation of Darryl Pelichet by Aruna Bavineni on 05/03/17.
Ex. K: Monroe Community Mental Health Authority Progress Notes for Joshua
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Ex. L: Letter from Bonn Washington to the NGRI Committee.
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Ex. P: Walter P. Reuther Psychiatric Hospital Standard Operating Procedure #254.
Ex. Q: Petition filed by Defendant Hegira Programs, Inc. on October 24, 2017.
Ex. R: Darryl Pelichet and Bonn Washington ALS Contracts.
Ex. S: Pelichet Transcript pg.19-22.
Ex. T: Petition filed by Walter P. Reuther Psychiatric Hospital.
Ex. U: Cross-Examination of Defendant Lisa Medoff at May 3, 2017 Hearing.
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          EXHIBIT
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               State of Michigan
   Bureau of Forensic Mental Health Services


  CENTER FOR FORENSIC PSYCHIATRY
   Not Guilty by Reason of Insanity (NGRI)
                 Committee




                  PROCEDURES


                             Revised
                            April 2008
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                        State of Michigan
            Bureau of Forensic Mental Health Services

           CENTER FOR FORENSIC PSYCHIATRY
            Not Guilty by Reason of Insanity (NGRI)
                          Committee

                                      8303 Platt Rd.
                                     Saline, MI 48176
                                       734-429-2531

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                    STATE OF MICHIGAN
        BUREAU OF FORENSIC MENTAL HEALTH SERVICES

               CENTER FOR FORENSIC PSYCHIATRY
            NOT GUILTY BY REASON OF INSANITY (NGRI)
                          COMMITTEE

                  NGRI INFORMATION FLOW CHART



                   CMH                              AREA
                 AGENCY                           HOSPITAL
                    ↕                                 ↕
                FORENSIC                          FORENSIC
                 LIAISON                           LIAISON




                     CENTER FOR FORENSIC PSYCHIATRY

                               NGRI COMMITTEE




The DCH Administrative Manual allows the NGRI Committee 15 days to
respond to requests received by either concurring or not concurring with the
requested actions.
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                  MENTALLY ILL CATCHMENT AREAS
CARO CENTER is the placement facility for the following counties:

Alcona           Dickinson          Keweenaw       Montmorency      Sanilac
Alger            Genesee            Lapeer         Oakland          Schoolcraft
Alpena           Gladwin            Luce           Ogemaw           Shiawassee
Arenac           Gogebic            Mackinac       Ontonagon        Tuscola
Baraga           Gratiot            Macomb         Osceola          Wexford
Bay              Houghton           Marquette      Oscoda
Chippewa         Huron              Mecosta        Presque Isle
Clare            Iosco              Menominee      Roscommon
Crawford         Iron               Midland        Saginaw
Delta            Isabella           Missaukee      St. Clair


KALAMAZOO PSYCHIATRIC HOSPITAL is the placement facility for the following
counties:

Allegan          Cass               Hillsdale      Lake             Newaygo
Antrim           Charlevoix         Ingham         Leelanau         Oceana
Barry            Cheboygan          Ionia          Lenawee          Otsego
Benzie           Clinton            Jackson        Manistee         Ottawa
Berrien          Eaton              Kalamazoo      Mason            St. Joseph
Branch           Emmet              Kalkaska       Montcalm         Van Buren
Calhoun          Grand Traverse     Kent           Muskegon


WALTER REUTHER PSYCHIATRIC HOSPITAL is the placement facility for the
following counties:
Livingston
Monroe
Washtenaw
Wayne


                             *********************************
          DEVELOPMENTALLY DISABLED CATCHMENT AREA

MT. PLEASANT CENTER is the placement facility for all counties.

Rev. 9/05
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CENTER FOR FORENSIC PSYCHIATRY NGRI COMMITTEE
INFORMATION

NGRI COMMITTEE MEMBERSHIP

The NGRI Committee of the Center for Forensic Psychiatry (CFP) is a multidisciplinary
committee consisting of senior forensic clinical members. Members of the Committee are
appointed by the Director of the Center for Forensic Psychiatry.

MICHIGAN MENTAL HEALTH CODE, CHAPER 10 SEC. 1050(5), MCL 33.2050(5)

“The release provisions of sections 476 to 479 of this act shall apply to a person found to have
committed a crime by a court or jury, but who is acquitted by reason of insanity, except that a
person shall not be discharged or placed on leave without first being evaluated and recommended
for discharge or leave by the department’s program for forensic psychiatry, and authorized leave
or absence form the hospital may be extended for a period of 5 years.”

DEPARTMENT OF COMMUNITY HEALTH ADMINISTATIVE RULE R330.10097

“(1) When a person is ordered by the court to be hospitalized, admitted to a facility, or otherwise
to receive treatment, the person shall not be discharged or placed on leave without prior
consultation with the Center for Forensic Psychiatry. (2) Consultation shall include exchange of
written opinions between the Center and the institution, agency, or professional person providing
services and requesting discharge or leave for a person. (3) An institution, agency, or
professional person providing treatment shall file a report with the Center for Forensic
Psychiatry proposing plans for discharge or leaves. (4) Upon receipt of a report proposing a
discharge or leave,…the Center shall submit a response to the institution, agency, or person
requesting consultation. The Center’s response shall include an evaluation and recommendation
based on the report and may include an examination of the person either, at the discretion of the
Forensic Center, at the center of the facility or agency providing services… (5) When the Center
does not concur with the proposed course of action, the requesting institution, agency or
professional person may file additional reports with the center or after any exchange of opinions
may ask for a review of the matter by the director of the department…”

DEPARTMENT OF MENTAL HEALTH POLICY (11/12/73) CH.16, SEC.003, SUBJ.0001

“It is the policy of the Department of Mental Health:…to establish a ‘Not Guilty by Reason of
Insanity’ Committee at the Center for Forensic Psychiatry to review proposed releases of NGRI
patients… All patients under the legal status of ‘Not Guilty by Reason of Insanity’ who have
improved to the point of release, shall have their program reviewed by the NGRI Committee at
the Center for Forensic Psychiatry and no such release action may be undertaken unless it is
recommended by the Committee…”
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DEPARTMENT OF COMMUNTIY HEALTH DIRECTIVE 10-C-1050-AD

On March 19, 2003, Department of Community Health Director Janet Olszewski., issued
Administrative Directive 10-C-1050-AD to have immediate effect. The Directive concerned the
subject of Patients Committed Under the Legal Status of Not Guilt by Reason of Insanity. The
Directive stated:

       “It is the policy of the Department of Community Health that all patients/residents under
       the legal status of “Not Guilty by Reason of Insanity” who have improved to the point,
       wherein release form hospitalization or transfer between facilities is being considered,
       shall have their treatment plan and recommendations reviewed by the “NGRI”
       Committee at the Center for Forensic Psychiatry.

       All recommendations to the court for release from hospitalization, transfer between
       facilities, or alternative treatment, shall be reviewed by the NGRI Committee prior to
       filing and/or appearance. Petition and/or recommendations shall be accompanied by the
       written recommendations of the NGRI Committee and disclosed during testimony
       hospital/center director/designee. Any delay in referring or filing necessary papers in a
       timely manner that would result in not renewing the order will be considered a violation
       of this policy.

       Any person found NGRI for the crime of murder or CSC, recommended by the NGRI
       Committee for releases must be reviewed by the Director/designee of the Department of
       Community Health for final authorization.”

In compliance with Michigan statute (Mental Health Code, section 1050), MDCH
Administrative rule 10097, MDCH policy, and this Directive, the Forensic Center’s NGRI
Committee has prepared letters, forms, and procedures for processing NGRI patients. Note: For
every court hearing involving an NGRI patient who has received a civil commitment, the
NGRI Committee reviews the situation and provides a recommendation to the Court.


APPOINTMENT OF FORENSIC LIAISON

Each state psychiatric hospital and Community Mental Health Services Program shall designate
a person as being the Forensic Liaison for that hospital or agency. The Forensic Liaison or
designee will be responsible for ensuring compliance with the NGRI procedures outlined in this
document. Each CMH or hospital will keep the NGRI Committee informed as to the name and
telephone contact number of their Forensic Liaison.

The Lead Forensic Liaison at the Forensic Center (734-295-4309), may be contacted for further
information regarding NGRI issues.
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FORM USED FOR ALL UPCOMING COURT HEARINGS (see attached form and letter in
Exhibit A)

       NGRI COURT HEARING FORM includes:
       Clinical Assignment Information (top of the front side of the page)
       Clinical Assessment (lower half of front side and top half of back side of the page)
       NGRI Committee Review (lower half of back side of the page)



PROCEDURES TO BE FOLLOWED FOR ALL PROBATED NGRI PATIENTS

The instructions, which follow, are in general form to permit hospitals and CMHSP to adapt
specific procedures of their own for compliance.

       Probated 60 day, 90-day, and one-year NGRI Orders
       (PETITION/CERTIFICATION)

       After an NGRI patient’s 60-day diagnostic hearing, the Probate Court can order that the
       NGRI patient will be transferred from the Forensic Center to an Area Hospital or
       elsewhere for further treatment. Thus, the following instructions apply not only to the
       Forensic Center, but also to any other treatment hospital or agency where the NGRI
       patient is receiving treatment. Note: All forms regarding NGRI patients must be
       completed thoroughly and accurately, and must be reviewed to ensure compliance with
       these objectives by the Forensic Liaison or designee of the treating hospital or agency
       prior to submission to the NGRI Committee.

       At least six weeks prior to the expiration of the NGRI patient’s 60 day, 90 day or one-
       year commitment order (or as soon as possible when a court hearing is scheduled for any
       other reason), the Forensic Liaison or designee will complete the Clinical Assignment
       portion of a new NGRI COURT HEARING FORM and distribute a copy to the assigned
       clinician(s), Medical Records, and to any other location deemed useful by the treatment
       hospital or agency.

       The Forensic Liaison or designee is responsible for completion and filing with the Court
       of a Petition and clinical certificate not less than 14 days before the expiration of the
       order. THE FORENSIC LIAISON OR DESIGNEE IS ALSO RESPONSIBLE FOR
       ASSURING THAT CONSULTATION WITH THE NGRI COMMITTEE HAS
       OCCURRED PRIOR TO THE FILING OF PETITIONS OF CLINCIAL
       CERTIFICATES NOT RECOMMENDING A HOSPITAL ORDER (EITHER A 90
       DAY OR ONE-YEAR CONTINUING HOSPITAL ORDER) OR IF
       RECOMMENDING A CHANGE IN CURRENT PLACEMENT.

       Approximately four weeks prior to the expiration of the 60-day, 90-day, or one-year
       treatment period, a psychiatrist will complete a Clinical Certificate concerning the NGRI
       patient and recommend whether the patient is committable or should be discharged.
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    The psychiatrist also completes the Clinical Assessment portion of the NGRI COURT
    HEARING FORM (located in the lower section on the front and top section on the back
    of the form) received from their Forensic Liaison or designee. If the NGRI patient is
    committable, the psychiatrist also may recommend what placement the patient should
    have (e.g., Area Hospital, Forensic Center, or Authorized Leave Status). The psychiatrist
    returns the completed NGRI COURT HEARING FORM and Certificate to the Forensic
    Liaison. The Form, Certificate, and Petition will be reviewed by the treating hospital or
    CMHSP Forensic Liaison or designee and hospital/CMHSP administration. Then, the
    forensic Liaison or designee will send copies of these documents to the NGRI Committee
    at the Forensic Center as soon as possible for review and action.

    After receipt at the Forensic Center, the NGRI Committee reviews the NGRI COURT
    HEARING FORM and attached copies of the Petition and Certificate regarding CFP
    concurrence or non-concurrence of the proposed action. When the NGRI Committee has
    met and made its own recommendation concerning the proposed course of action, the
    NGRI COURT HEARING FORM is forwarded to Medical Records for completion of the
    NGRI Committee Recommendation Letter to the Court. A letter is sent to the Court from
    the NGRI Committee per Section 1050 of the Mental Health Code indicating its direction
    by the Department of Community Health (DCH) to review recommendations for release
    from hospitalization (including Authorized Leave Status), transfer between facilities, or
    placement on Alternative Treatment of all NGRI patients and indicating NGRI
    Committee recommendation to support or not support the action(s) proposed by the
    Forensic Center, Area Hospital, or CMHSP.

    The Medical Records Department at the Forensic Center will generate two original
    letters. One will be forwarded to the testifying psychiatrist, who, in addition to his/her
    testimony, will deliver it to the Court on the date of the Hearing. The other letter will be
    kept in Medial Records. Medical Records will fax the letter to the Court immediately
    (along with a copy of the Administrative Directive), which will satisfy the requirement of
    informing the Court.

    One-year Continuing Orders: (SIX MONTH REVIEW REPORTS)

    Four weeks before the end of the six-month period, the Forensic Liaison or designee will
    complete the Clinical Assessment portion of a new NGRI COURT HEARING FORM
    and forward it to the treating psychiatrist along with a Six Month Review Report form.
    The psychiatrist then completes and returns the Six Month Review Report to the Forensic
    Liaison.

    The Forensic Liaison is responsible for the filing of the Six Month Review Report with
    the court within 5 days of its completion per Mental Health Code requirements (and he
    Petition for Discharge as soon as received form the hospitalized individual). THE
    FORENSIC LIAISON IS ALSO RESPONSIBLE FOR ASSURING THAT
    CONSULTATION WITH THE NGRI COMMITTEE HAS OCCURRED PRIOR TO
    THE FILING OF ANY SIX-MONTH REVIEW REPORT, WHICH DOES NOT
    RECOMMEND CONTINUATION OF THE CURRENT HOSPITAL ORDER OR
    CURRENT PLACEMTNT.
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    A copy of the Six Month Review Report and a blank Petition for Discharge are to be
    given to the NGRI patient by the Forensic Liaison or designee. The Forensic Liaison or
    designee documents in the patient’s record the date that these items were given to the
    patient, as the patient has (7) days to file the Petition for Discharge from the time the
    patient receives it.

    If the NGRI patient DOES NOT file a Petition for Discharge, no hearing is scheduled,
    and no action needs to be taken by the NGRI Committee. The partially completed
    (Clinical Assignment Information section by the Forensic Liaison) NGRI COURT
    HEARING FORM does not require completion by the psychiatrist and is discarded. Any
    movement of the patient endorsed by the treating hospital or CMHSP should have
    already been reviewed by the Forensic Liaison or designee at the treating hospital or
    CMHSP and then forwarded to the NGRI Committee for review at the NGRI
    Committee’s usual weekly meetings where such requests are considered.

    If the NGRI patient DOES file a Petition for Discharge, the forensic Liaison or
    designee of the treating hospital or CMHSP will inform the psychiatrist assigned to
    testify and request his/her completion of the Psychiatric Assessment section of the NGRI
    COURT HEARING FORM. The psychiatrist returns the completed NGRI COURT
    HEARING FORM to the Forensic Liaison. The Form and Six Month Review Report
    will be reviewed by the treating hospital or CMHSP Forensic Liaison or designee and
    hospital/CMHSP administration. The Forensic Liaison then immediately forwards a
    copy of the NGRI COURT HEARING FORM and Six Month Review Report to the
    NGRI Committee.

    After receipt at the Forensic Center, the NGRI Committee reviews the NGRI COURT
    HEARING FORM and copy of the Six Month Review Report regarding its concurrence
    or non-concurrence of the proposed action. When the NGRI Committee has met and
    made its own recommendation concerning the proposed course of action, the NGRI
    COURT HEARING FORM is forwarded to Medical Records for completion of the
    NGRI Committee Recommendation Letter to the Court. A letter is sent to the Court from
    the NGRI Committee per section 1050 of the Mental Health Code indicating its direction
    by the DCH to review recommendations for release from hospitalization (including
    Authorized Leave Status), transfer between facilities, or placement on Alternative
    Treatment of all NGRI patients, and indicating is recommendations to support or not
    support the action(s) proposed by the Forensic Center, Area Hospital, or CMHSP.

    The Medial Records Department at the Forensic Center will generate two original letters.
    One will be forwarded to the testifying psychiatrist who, in addition to his/her testimony,
    will deliver the letter to the Court on the date of the Hearing. The other letter will be kept
    in Medical Records. Medical Records will fax the letter to the court immediately (along
    with a copy of the Administrative Directive), which will satisfy the requirement of
    informing the Court.
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       NOTE: Once an NGRI patient is on a one year continuing order, the sequence of future
       court actions would be:

               In another six months, a Six Month Review Report
               In another six months, a new Petition
               In another six months, a Six Month Review Report
               In another six months, a new Petition
               And so on, until such time as the patient is released, discharged, or removed from
               NGRI status.



Other Issues Involving NGRI Patients

       Continuing Orders

       The Center for Forensic Psychiatry requires that an NGRI patient be on a one year
Continuing Order for Hospitalization prior to considering any request for placement on
Authorized Leave Status.

Hospital Responsibility for NGRI Patients on Authorized Leave Status

The hospital is responsible for ensuring that the supervisor of treatment of the NGRI in the
community (e.g., CMH) while on ALS re-petitions on a yearly basis in order to maintain the
patient’s NGRI commitment status if the hospital believes NGRI status remains appropriate. The
decision to remove a patient from NGRI status during or at the end of an early treatment order
must be reviewed by the NGRI Committee prior to any decision to not seek a continuing order of
treatment. The Supervisor of Treatment will send a 90-day report to the NGRI Committee, with
a copy to the area hospital, describing the patient’s progress in community placement. (See
sample in forms section.) These will be sent during the quarter when they do not need a Six
Month Review Report or Petition. The sequence of reports from the date of the one year order
would be:

               90-day Report at three months;
               Six Month Review at six months;
               90-day Report at nine months;
               New Petition and Clinical Certificate at one year.

Prior to placing an NGRI patient on ALS, an ALS Contract must be submitted the NGRI
Committee for approval. If the court requests; the hospital shall forward a copy of the approved
ALS Contract to the court holding jurisdiction over the NGRI patient. For further details, please
refer to the sample Authorized Leave Status contract in Exhibit B.
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Alternative Treatment & Combined Hospitalization/Alternative Treatment Orders

IN ORDER TO MAINTAIN NGRI STATUS, NGRI PATIENTS SHOULD NOT BE PLACED
ON ANY TYPE OF ALTERNATIVE TREATMENT ORDER OR COMBINED
HOSPITALIZATION/ALTERNATIVE TEATMENT ORDER. Placement on such orders
results in loss of NGRI status, once the patient is discharged from inpatient hospitalization.

NGRI status is retained when community treatment placement occurs on Authorized Leave
Status under a continuing hospital treatment order: During the term of a continuing hospital
order, the patient may not be discharged without recommendation from the Center for Forensic
Psychiatry [per MCL33.2050(5)].

Referrals

NGRI patient being considered for any type of less secure environment than the one they
currently have (e.g., leave of absence [LOA], transfer to a different hospital, placement on
Authorized Leave Status [ALS], placement on Alternative Treatment, Discharge) must first be
referred to the NGRI Committee for review. Adequate referral information must be given
concerning the patient’s present mental status, type of treatment, and the specific
recommendation of the treating staff clearly outlined. At the discretion of the NGRI Committee,
patients may be evaluated by a member of the committee in addition to review of hospital
records. The NGRI Committee members may travel to other hospitals to evaluate such patients,
or they may request that the patient be brought to the Center. Specific forms to facilitate making
referrals to the NGRI Committee have been created.


NGRI Patient on Unauthorized Leave Status

If an NGRI patient’s status changes to that of Unauthorized Leave, the Forensic Services
Department at the Forensic Center should be contacted as soon as practicable so that issues such
as whether the patient should be transferred back to the Forensic Center can be discussed.

NGRI Patients and Court Orders

Any CMHSP, hospital or facility, which receives a court order concerning an NGRI patient shall
immediately forward a copy of the court order to the NGRI Committee.

Discharge of NGRI Patients Who Complete an Authorized Leave Status Contract

In all cases, when an NGRI patient successfully completes a continuous 5 year ALS contract,
NGRI status terminates and the patient must be discharged from the hospital.
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                      EXHIBIT A
             Center for Forensic Psychiatry


              NGRI FORMS & LETTERS
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                        Cover Sheet for:

          NGRI COURT HEARING FORM

     This form is to be used whenever court
  testimony is anticipated for an NGRI patient
      from area hospitals or CMH agencies.
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                                                 NGRI COURT HEARING FORM

                                                  ALL COURT APPEARANCES
  NOTE: 1) This is a 2-sided form. 2) This form is not to be used in place of 90-day progress reports.
CLINICAL ASSIGNMENT INFORMATION (to be completed by Forensic Liaison):
Hospital/Agency:                                                          Today’s Date:
To: Dr.
       Dr.
       Petitioner
Patient Name:                              ________             DOB:                         Unit      ___CFP#
County of Residence:______________________ Current Legal Status:             NGRI Diagnostic
                                                                             60-day Order
Reason for Report:                                                           90-day Order
                                                                             One-Year Continuing/Hospital
Probate File No:_________________                                            One-Year Continuing/ALS

1.         The above-named patient was found NGRI on                        , and you have been assigned to complete an initial Clinical
         Certificate on or before                                           . Order expires                         .
2.         The above-named patient was placed on a                                       order with an expiration date
        of                      . Certificate & Petition or 6 month review report needed to be completed by         ______.
3.         The above-named patient is scheduled for a probate hearing regarding                         on          ______

PSYCHIATRIC ASSESSMENT (to be completed by Testifying and/or Certifying psychiatrist):
Date Evaluated:
A.    NGRI Offense:
B.    Diagnosis:
C.    Current Medication Regimen:
D.    Medical Problems:                                  Yes
                                                         No

E. History of Substance Abuse.                                      Yes
                                                                    No
F. Hospital Adjustment
   1. Problematic behavior.                                         Yes
                                                                    No

     2. Engagement in treatment.                                    Yes
                                                No

     3. Compliant with medication                                   Yes
                                                                    No

G. Self-Awareness
    1. Accepts/understands illness.                                 Yes
                                                No

       2. Accepts responsibility for offense.                       Yes
                                                                    No

       3. Able to connect illness with crime                        Yes
                                                                    No
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NGRI COURT HEARING FORM                             Page 2                       Patient:
H. Current mental status exam: (Please attach mental status examination report).

I.     Treatment Expectations
     1. Understands signs of illness.                    Yes
                                             No

2. Recognizes need for ongoing treatment.                Yes
                                                         No

3. Has constructive plans for future.                    Yes
                                                         No

      Agency Treatment Plan Recommendations




Agency recommendation in upcoming court action:
 A. Continuing Hospitalization Order/Hospital
 B. Continuing Hospitalization Order/ALS
 C. Transfer to
 D. Discharge from Hospital and Termination of NGRI Status
      Alternative Treatment or Combined Order
      Discharge


Testifying Physician                                                      Hospital/Agency Administrative Authorization

Forensic Liaison: Review and then send with attached 6 month review report or petition and certificate to: NGRI Committee, Center
for Forensic Psychiatry, Box 2060, Ann Arbor, MI 48106-2060. Fax: (734) 429-0485.

NGRI COMMITTEE REVIEW:

Patient:                                               Date Reviewed:
CFP#                                                   Probate File No:

Recommendations for:
                                                               Concur                               Not Concur
A.    Continuing Hospitalization Order/Hospital
B.    Continuing Hospitalization Order/ALS
C.    Transfer to
D.    Discharge from Hospital and Termination of
      NGRI Status
            Alternative Treatment or Combined Order
            Discharge
Comments:




NGRI Committee Representative
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                        Cover Sheet for:

             NGRI Committee Court Letter

This form is sent by the NGRI Committee to the
Probate Court after review of treating staff
recommendations per the NGRI CFP Movement
Form or Court Hearing Form from outside
agencies.
**Also included is a scan of the Administrative
Directive to be included with all NGRI Court
Letters to the Probate Courts.
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   STATE OF MICHIGAN            DEPARTMENT OF COMMUNITY HEALTH
                                Janet D. Olszewski, Director



                                CENTER FOR FORENSIC PSYCHIATRY
                                WILLIAM H. MEYER, Center Director
    Jennifer M. Granholm        P. O. BOX 2060  ANN ARBOR, MICHIGAN 48106
       Governor                 8303 Platt Rd, MICHIGAN 48176
                                TELEPHONE: (734) 429-2531, TTY (734) 944-7102

Date

ATTN: Probate Court Name

Your Honor:

Pursuant to MCL 330.2050(5), the Center for Forensic Psychiatry has the responsibility to review recommendations
for release from hospitalization, transfer between facilities, or placement on Alternative Treatment of all individuals
who have been found Not Guilty by Reason of Insanity. In accordance with this mandate, the NGRI Committee of
the Center for Forensic Psychiatry has reviewed the proposed treatment recommendations for the patient, as
submitted by treatment staff at the Center for Forensic Psychiatry. The treatment recommendations may include the
possibility of either release from hospitalization, Authorized Leave Status, transfer between facilities, or placement
on Alternative Treatment.

Patient Name:                                 CFP #                        Probate File No: _

Current Status:             [ ] NGRI Diagnostic         [ ] Continuing One Year Order/Hospital
                            [ ] 60-day Order            [ ] Continuing One Year Order/Authorized Leave Status
                            [ ] 90-day Order            [ ] Other__________________________

                                  NGRI COMMITTEE RECOMMENDATIONS

                      [ ]   Continuing Hospitalization Order/Hospital      hospital name

                      [ ]   Continuing Hospitalization Order/Authorized Leave Status

                      [ ]   Transfer to:      (….or…. area hospital)

                      [ ]   Discharge from Hospital and Termination of NGRI Status
                            [ ]     Alternative Treatment or Combined Order
                            [ ]     Discharge

Reason(s) for NGRI Committee Recommendations:                  __type in Committee comments__

 NOTE: NGRI status is lost when patients are discharged from a hospital treatment order (e.g., frank discharge or
 placement on an alternative treatment or combined order). Patients who are placed on Authorized Leave Status (ALS) under
 a continuing treatment order maintain NGRI status; they are considered inpatients that are on leave from the hospital.
 Therefore, the patient must be kept on a one-year continuing hospitalization order and should not be placed on an
 alternative treatment or combined order if the court determines it appropriate to maintain the patient’s NGRI status and
 preserve eligibility to continue on five years ALS in accordance with MCL 330.2050(5).

NGRI Committee
Fax: (734) 429-0487
/dw
Revised 4/2008
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                        Cover Sheet for:

          FORMAT FOR 90-DAY REPORT

This form is to be used by the Case Manager to
report the patient’s progress in the community
during the quarters when a Six Month Review
Report or Petition and Clinical Certificate are
not sent.
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                                 FORMAT FOR 90-DAY REPORT


        TO:            NGRI Committee
                       Center for Forensic Psychiatry
                       8303 Platt Rd.
                       Saline, MI 48176

        FROM:          Aftercare Agency/Case Manager Name
                       Agency Address


        DATE:

        RE:            Patient’s Name & CFP Number


     1. The patient was adjudicated NGRI on charges of:


     2. Present Mental Status:


     3. Medications:


     4. Living arrangements and current address:


     5. Frequency of appointments:


     6. Is patient complying with treatment program; if not, explain:


     7. Additional Comments:



___________________________________________                         ___________
Case Manager Signature (also please type or print name)             Date

c:      Copy to supervising area hospital

                              (Attach additional sheets if necessary)
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                        Cover Sheet for:

                REQUESTS FOR LOA
               GROUND PRIVILEGES
              GUIDELINES and FORMAT

These guidelines are used by Area
Hospitals/Centers requesting Ground Privileges,
LOAs.

An example is also included for LOA Requests
for Community Mental Health Agencies
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                      Michigan Department of Community Health
                       Bureau of Hospital, Center and Forensic
                               Mental Health Services


                     Guidelines for Unescorted On Grounds
                Movement for Individuals Adjudicated as NGRI or IST


        The following guidelines apply to patients/residents adjudicated as NGRI or IST
at all state-operated inpatient psychiatric hospitals and centers.

     1. Patients/Residents indicated above may be granted Unescorted On Grounds
Movement (UOGM), in accordance with this directive.

       2. UOGM is individualized and must include specified periods of time during
which the patient/resident, after signing out, is restricted to designated hospital or center
area(s), is monitored by hospital or center staff, and is signed in when the UOGM is
completed.

      3. UOGM shall not be implemented unless approved by the Center for Forensic
Psychiatry’s (CFP) Not Guilty by Reason of Insanity (NGRI) Committee.

        4. Referrals for UOGM shall be submitted to the NGRI Committee for review and
approval. The referral shall contain information routinely included for other referrals:
identifying data, review of alleged offense(s) or acquittal by reason of insanity, mental
status exam, elopement/assault potential, summary of any incidents, current level of
privileges, degree of involvement with programming, prior leaves, etc.

      5. Review by the NGRI Committee shall occur not later than seven (7) calendar
days after receipt of the request by the Committee.


Dated: January 27, 2006.

References
Mental Health Code (330.1744 Freedom of Movement)
Administrative Code (330.10061 Inpatient Rights)
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                    NGRI Committee Guidelines for LOA/ALS Requests
                         (To be used by Regional Hospitals/Center)

1.     Nature of Request: Specify whether this is an LOA or ALS request; (e.g., eight hour LOA
with family)
2.      Referral information including:
        •       Charge(s) resulting in NGRI adjudication
        •       Current court order
        •       Admission date
3.      Brief description of crime
4.      Brief history of:
        •       Hospitalization
        •       Compliance with treatment/medication
        •       Substance Abuse
        •       Criminal history
5.      History of and current risk for:
        •       Escape
        •       Violence
6.      Description of current treatment and patient’s compliance and participation
        •       Include current medication and cite any recent medication change
7.      History of problematic behavior during last year and rationale why leave request is being
        considered if there has been a serious incident (e.g., stealing, assault, ULA, drug use, verbal
        altercations) in the past six months
8.      Current mental status including:
        •       Symptoms of psychoses
        •       Affective state
        •       Degree of insight into mental illness
        •       Degree of insight into how mental illness is related to the crime
        •       Degree of insight into need for treatment
9.      History of prior leaves and their success
10.     Description of proposed leave including:
        •       Length (hours, days) and frequency (e.g., four hour leave, once every two weeks for two
                months, etc.)
        •       Individuals involved, their participation in patient’s treatment, and their ability to manage
                patient while on leave
        •       Location(s)/proposed activities
        •       Therapeutic benefit

For ALS request, a more detailed description of the following is indicated:
      •      Charge(s) resulting in NGRI adjudication
      •      Patient’s understanding of charge(s) and relation to mental illness - narrative form
      •      Patient’s preparation for placement
      •      Degree of supervision at proposed community facility
      •      Support services that will be provided by CMH

Note: Leaves are contingent on continued psychiatric and behavioral stability.
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                                                     Community Agency
                                                       LOA Request


MEMORANDUM

To:               NGRI Committee
                  Center for Forensic Psychiatry
                  Box 2060
                  Ann Arbor, MI 48106-2060

FROM:             Aftercare Agency Representative Name
                  Agency Address

DATE:

RE:               Patient’s Name and CFP Number


      1. The patient was adjudicated NGRI on charges(s) of:

      2. Present mental status:




      3. Medication(s):

      4. Living arrangements and current address:

      5. Frequency of appointments:

      6. Is the patient complying with treatment program; if not explain:

      7. Specifics of LOA (date, location, degree of supervision, etc.)




Signature: _______________________________               Date: _____________

C: Supervising Hospital
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                            EXHIBIT B

   CENTER FOR FORENSIC PSYCHIATRY

                             Sample of:

          AUTHORIZED LEAVE STATUS
                CONTRACT
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                                     HOSPITAL NAME
                                        ADDRESS
                                     CITY, STATE ZIP




AUTHORIZED LEAVE STATUS CONTRACT


It is hereby agreed that pursuant to MCL 330.2050(5) ________________will be placed on
Authorized Leave Status (ALS) for a period of _________, beginning on ________. It is
understood that Petitions for Continuing Hospitalization Orders may be filed either by the
Hospital or the Supervisor of Treatment; ultimate responsibility for petitioning remains with the
Hospital. Reports pertaining to patient aftercare and compliance will be completed by
______________________ beginning on _________. The Patient and Authorized Program
Representative agree that noncompliance with the following provisions may, at the discretion of
the NGRI Committee, result in revocation of Authorized Leave Status and subsequent re-
hospitalization. All violations of the contract must be promptly reported to the NGRI Committee
and Hospital. Patients who are placed on Authorized Leave Status are considered inpatients that
are on leave from the Hospital. Therefore, the patient must be kept on a One-Year Continuing
Hospitalization Order and should not be placed on an Alternative Treatment Order if the Court
deems it appropriate to maintain the patient’s NGRI status and preserve eligibility to continue on
five years ALS in accordance with MCL 330.2050(5).


RESIDENT ADDRESS AND PHONE




RESPONSIBLE COMMUNITY REPORTING AGENCY




I, ______________________________, agree to the following:


STANDARD REQUIREMENTS

1. I shall cooperate with all aspects of the _______________ treatment program. This includes
   taking medications as my doctors prescribe and following the program, which is in my
   Individual Plan of Service.
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                                                                            CFP NGRI Committee Procedures
                                                                                               April 2008
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2. I shall maintain sobriety by not using alcoholic beverages or illicit drugs or controlled
   substances not prescribed by my treating physician.

3. I will remain in the State of Michigan. I will leave Michigan only with the permission of the
   ___________________, and the NGRI Committee of the Center for Forensic Psychiatry.

4. Prior to any change of address or placement, I will obtain approval from the
   __________________ and the NGRI Committee. This information will be forwarded to the
   __________________ no later than the next 90-Day Report.

5. Any overnight leave of absence must be approved in advance by the NGRI Committee. I
   will return promptly to my residence at the end of each leave.

6. I understand that I will receive help from a ______________ worker, but it is my
   responsibility to apply for funds/money (when eligible) to pay for the cost of my living
   arrangement in the community. I shall pay the amount of room and board, which my
   placement agency tells me I owe. Unless otherwise discussed with me, the agency’s room
   and board rate is the current Supplemental Security Income Program Personal Care Rate.

7. Aftercare treatment must be provided by a Community Mental Health Services program,
   unless prior written permission is given by the ___________ and the NGRI Committee of the
   Center for Forensic Psychiatry.

8. I will not buy, own, or use dangerous weapons such as guns or knives.

9. My conduct will follow established laws and rules.




INDIVIDUAL REQUIREMENTS

1.

2.

3.
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                                                                       CFP NGRI Committee Procedures
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ADDITIONAL PROVISIONS

Any day pass and/or overnight leave of absence must be approved in advance by
the NGRI Committee and Director/designee of the Department of Community Health for
individuals found NGRI for the crime of murder or for a crime that involves sexual
conduct.




I, _____________________, declare that each of the statements in this ALS Contract has been
explained to me by ____________________. I have had the chance to ask questions, and I
understand the meaning of each statement.




______________________________________________            _______________________
Patient                                                   Date

______________________________________________            _______________________
Psychiatric Hospital                                       Date

______________________________________________            _______________________
Authorized Program Representative                         Date

______________________________________________            _______________________
Chairperson, NGRI Committee                               Date
Center for Forensic Psychiatry
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                                                          CFP NGRI Committee Procedures
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                          NGRI REPORTING
                          REQUIREMENTS


                           90-DAY REVIEW

   90 Days from Date of Order
   To NGRI Committee /w Copy to Regional Hospital/Center

                  SIX MONTH REVIEW REPORT

   180 Days From Date of Order
   To Issuing Probate Court /w Copies to NGRI Committee &
    Regional Hospital/Center
   Petition For Discharge To Patient

                           90-DAY REVIEW

   270 Days From Date of Order
   To NGRI Committee /w Copy to Regional Hospital/Center

        Petition For Second or Continuing Treatment Order

   To Issuing Probate Court 14 Days Before End of Order
   MUST BE ACCOMPANIED BY CLINICAL CERTIFICATE
   Copies to Regional Hospital/Center and NGRI Committee

                  NGRI COURT HEARING FORM

   >30 Days Prior to Expected Court Hearing
   To NGRI Committee /w Copy to Regional Hospital/Center
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          EXHIBIT
            C
                 Form 990 for Carelink
l efile GRAPHIC p rint - DO NOT PROCESS                                                I As Filed Data - I                                                                                                                                                                                   DLN: 93493121001267
                    Case 2:18-cv-11385-APP ECF No. 44, PageID.984 Filed 09/14/18 Page 113  of 320
                                                                                       OMB No 1545-0047
                                  Return of Organization Exempt From Income Tax
Form        990
Department of the
                                    Under section 501(c ), 527, or 4947 ( a)(1) of the Internal Revenue Code ( except private
                                    foundations)
                                            ^ Do not enter social security numbers on this form as it may be made public
                                                                                                                                                                                                                                                                                                              2 15
                                                                                                                                                                                                                                                                                                                 0

Treasury                                     ^ Information about Form 990 and its instructions is at www IRSgov/form990
Internal Revenue Service

A         For the 2015 calendar y ear, or tax              ear                         10-01-2015                                 ,and ending 09-30-2016
                                  C Name of organization                                                                                                                                                                                                                           D Employer identification number
B Check if applicable
                                   CARELINK NETWORK INC
          Address change
                                                                                                                                                                                                                                                                                     XX-XXXXXXX
    F Name change
                                    Doing business as
          Initial return
                                                                                                                                                                                                                                                                                   E Tele
return /tterminated                 Number and street ( or P 0 box if mail is not delivered to street address) Room / suite                                                                                                                                                                 p V           V
                                    1333 BREWERY PARK BLVD NO 300
    FTAmended return                                                                                                                                                                                                                                                                 ( 313) 656-0000

    F-Application Pending           City or town , state or province , country , and ZIP or foreign postal code
                                    DETROIT, MI 482074544
                                                                                                                                                                                                                                                                                   G Gross receipts $ 170,541,077

                                   F Name and address of principal officer                                                                                                                                                                                     H(a)   Is this a group return for
                                   DAVID E SCHMEHL
                                                                                                                                                                                                                                                                    subordinates?                                   F_     Yes F/
                                   1333 BREWERY PARK BLVD STE 300
                                                                                                                                                                                                                                                                     No
                                   DETROIT , MI 48207
                                                                                                                                                                                                                                                               H(b) Are all subordinates                           PYes P No
I     Tax-exempt status                                                                                                                                                                                                                                               included?
                                        501(c)(3)         501( c) (    ) 1 (insert no )                                       4947(a)(1) or                                                                               527
                                                                                                                                                                                                                                                                      If "No," attach a list (see instructions)
I         Website            WWW CARELINKNETWORK ORG
                                                                                                                                                                                                                                                               H(c)       Grou p exem p tion number 00,
K Form of organization             [ Corporation      [ Trust F-Association                     [ Other ^                                                                                                                                                       L Year of formation         2002        M State of legal domicile   MI



                           Summary
                1 Briefly describe the organization 's mission or most significant activities
                  OUR MISSION IS TO SUPPORT, STRENGTHEN AND PROMOTE THE DELIVERY OF BEHAVIORAL HEALTHCARE SERVICES,
                  INCLUDING SERVICES TO NEEDY ADULTS WITH SERIOUS MENTAL ILLNESS AND CHILDREN WITH SERIOUS EMOTIONAL
                  DISORDERS IN WAYNE COUNTY
U

ti



               2 Check this box ^ F-ifthe organization discontinued its operations or disposed of more than 25% of its net assets


               3 N umber of voting members of the governing body ( Part VI, line la )                                                                                                         .                                                                                                    3                            9
               4 Number of independent voting members of the governing body ( Part VI, line 1b )                                                                                                                                                           .                                       4                            9
               5 Total number of individuals employed in calendar year 2015 ( Part V, line 2a )                                                                                                                                                    .                                               5                            0
               6 Total number of volunteers ( estimate if necessary)                                                                                                                                                                                                                               6                            0
              7a Total unrelated business revenue from Part VIII, column ( C), line 12                                                                                                                        .                                                                                   7a                            0
              b Net unrelated business taxable income from Form 990 - T, line 34                                                                                          .                           .                    .                   .       .         .    .      .                     7b                                0
                                                                                                                                                                                                                                                                          Prior Year                          Current Year
               8       Contributions and grants (Part VIII, line Ih)                                                                                                                                                                                                                               0                                0
               9       Program service revenue (Part VIII, line 2g )                                      .           .           .               .           .                       .                           .                    .                                         133,760 ,686                       170 ,527,178
              10       Investment income ( Part VIII, column (A), lines 3,4 , and 7d )                                                                                            .                           .                    .                                                    11,120                              13,899
              11       Other revenue ( Part VIII, column (A), lines 5, 6d, 8c, 9c, 10c, and Ile)                                                                                                                                                                                                   0                                0
              12       Total revenue-add lines 8 through 11 (must equal Part VIII, column (A), line
                                                                                                                                                                                                                                                                                 133,771, 806                       170 ,541,077
                       12)
              13       Grants and similar amounts paid (Part IX, column ( A), lines 1-3                                                                                                                                                                                                            0                                0
              14       Benefits paid to or for members (Part IX, column (A), line 4 )                                                                             .                                                                                                              134,533,587                                        0
              15       Salaries , other compensation, employee benefits ( Part IX, column ( A), lines
                                                                                                                                                                                                                                                                                                   0                                0
                       5-10)
              16a          Professional fundraising fees ( Part IX, column ( A), line Ile)                                                                                                                                                                                                         0                                0

     at         b      Total fundraising expenses ( Part IX, column ( D), line 25) ^ 0
    LLJ
              17       Other expenses ( Part I X , column ( A ) , l i n e s h                             a-I Id, IIf-24e)                                                                .                           .                    .       .                               6,128 , 325                      169,098,816
              18       Total expenses Add lines 13-17 (must equal Part IX, column ( A), line 25 )                                                                                                                                                                                140,661 , 912                      169 , 098,816
              19       Revenue less expenses Subtract line 18 from line 12                                                                .                                                                                                                                       -6,890,106                             1 ,442,261
8 T
                                                                                                                                                                                                                                                               Beginning of Current Year                        End of Year

Qm            20       Total assets (Part X, line 16 )            .        .       .        .         .           .           .               .           .                   .                           .                    .                                                   7,793,106                          12,341,404
              21       Total liabilities ( Part X, line 26 )           .       .        .         .           .           .           .               .               .                           .                                                                                7,416,054                          10, 522,091
Z1            22       Net assets or fund balances Subtract line 21 from line 20
                           Si g nature Block
Under penalties of perjury , I declare that I have examined this return, i
my knowledge and belief, it is true, correct , and complete Declaration
preparer has any knowledge



                            Signature of officer
Sign
Here                        DAVID E SCHMEHL CFO
                            Type or pnnt name and title

                                Print/Type preparers name                              Preparer's signature
                                PATRICK D FUELLING CPA                                 PATRICK D FUELLING
Paid
                                Firm's name    ^ DOEREN MAYHEW
Preparer                        Firm's address ^ 305 WEST BIG BEAVER ROAD
Use Only
                                                    TROY, MI   48084

May the IRS discuss this return with the preparer shown above? (see in
For Paperwork Reduction Act Notice , see the separate instructions.
Form 990 (2015)                                                                                                                                                                                                                       Page 2
        Case 2:18-cv-11385-APP
          Statement                ECFAccomplishments
                    of Program Service  No. 44, PageID.985 Filed 09/14/18 Page 114 of 320
            Check if Schedule 0 contains a response or note to any line in this Part III                                                                                                                                                 E
1    Briefly describe the organization's mission
OUR MISSION IS TO SUPPORT, STRENGTHEN AND PROMOTE THE DELIVERY OF BEHAVIORAL HEALTHCARE SERVICES,
INCLUDING SERVICES TO NEEDY ADULTS WITH SERIOUS MENTAL ILLNESS AND CHILDREN WITH SERIOUS EMOTIONAL
DISORDERS IN WAYNE COUNTY




2    Did the organization undertake any significant program services during the year which were not listed on
     the prior Form 990 or 990-EZ7         .       .        .       .         .       .       .       .       .       .       .       .       .       .        .       .       .        .       .       .       .       EYes    [No
     If "Yes," describe these new services on Schedule 0
3    Did the organization cease conducting, or make significant changes in how it conducts, any program
     services?    .   .   .   .   .    .       .       .        .       .         .       .       .       .       .       .       .       .       .       .        .       .       .        .       .       .       .   EYes    [No
     If "Yes," describe these changes on Schedule 0
4    Describe the organization's program service accomplishments for each of its three largest program services, as measured by
     expenses Section 501(c)(3) and 501(c)(4) organizations are required to report the amount ofgrants and allocations to others,
     the total expenses, and revenue, ifany, for each program service reported


4a    (Code                       ) (Expenses $                             111,901,848               including grants of $                                                            ) (Revenue $                     117,221,962
      OUTPATIENT SERVICES FOR 266,496 MEMBER MONTHS



4b    (Code                       ) (Expenses $                             24,438,555                including grants of $                                                            ) (Revenue $                      25,600,429
      INPATIENT SERVICES-STATE HOSPITAL 27,138 INPATIENT DAYS AND COMMUNITY HOSPITAL 46,816 INPATIENT DAYS



4c    (Code                       ) (Expenses $                             26,447,406                including grants of $                                                            ) (Revenue $                      27,704,787
      RESIDENTIAL TREATMENT-3,173 DAYS



4d    Other program services (Describe in Schedule 0
      (Expenses $                                          including grants of$                                                                               ) (Revenue $

4e    Total program service expenses 00,                            162,787,809
                                                                                                                                                                                                                             Form 990(2015)
Form 990 (2015)                                                                                                                                    Page 3
    Case
OTIVY     2:18-cv-11385-APP
      Checklist                    ECF
                of Re q uired Schedules                      No. 44, PageID.986 Filed 09/14/18 Page 115 of 320
                                                                                                                                             Yes    No
 1       Is the organization described in section 501(c)(3) or4947(a)(1) (other than a private foundation)? If "Yes,"                        Yes
         complete Schedule A . .     .   .   .   .  .  .   .  .  .   .  .  .   .   .   .   .  .   .   .                              1
 2       Is the organization required to complete Schedule B, Schedule of Contributors (see instructions)?                           2              No
 3       Did the organization engage in direct or indirect political campaign activities on behalf of or in opposition to                           No
         candidates for public office? If "Yes," complete Schedule C, PartI                                                          3
 4       Section 501(c)(3) organizations.
         Did the organization engage in lobbying activities, or have a section 501(h) election in effect during the tax year?
         If 'Yes, 'complete Schedule C, Part II                                                                                      4              No

 5       Is the organization a section 501(c)(4), 501(c)(5), or 501(c)(6) organization that receives membership dues,
         assessments, or similar amounts as defined in Revenue Procedure 98-19?
                                                                                                                                     5              No
         If 'Yes, 'complete Schedule C, Part III
 6       Did the organization maintain any donor advised funds or any similar funds or accounts for which donors have the
         right to provide advice on the distribution or investment of amounts in such funds or accounts?
                                                                                                                                                    No
         If "Yes, " complete Schedule D, Part I Ij .   .   .  .  .   .   .  .   .  .   .  .   .   .  .   . .                         6
 7       Did the organization receive or hold a conservation easement, including easements to preserve open space,
                                                                                                                                                    No
         the environment, historic land areas, or historic structures? If 'Yes, 'complete ScheduleD, Part 77 ij                      7
 8       Did the organization maintain collections of works of art, historical treasures, or other similar assets?
                                                                                                                                     8              No
         If "Yes, " complete Schedule D, Part III ^^ .  .  .   .    .   .   .   .  .   .   .   .
 9       Did the organization report an amount in Part X, line 21 for escrow or custodial account liability, serve as a
         custodian for amounts not listed in Part X, or provide credit counseling, debt management, credit repair, or debt
                                                                                                                                     9              No
         negotiation services?If "Yes,"complete Schedule D, Part IV . .       .  .   .   .  .  .   .    .   .   .  .

10       Did the organization, directly or through a related organization, hold assets in temporarily restricted endowments,        10              No
         permanent endowments, orquasi- endowments? If "Yes," complete Schedule D, Part V Ij .                        .
11       If the organization's answer to any of the following questions is "Yes," then complete Schedule D, Parts VI, VII,
         VIII, IX, or X as applicable
     a   Did the organization report an amount for land, buildings, and equipment in Part X, line 10?
                                                                                                                                    l la            No
         If 'Yes, 'complete Schedule D, Part VI Ij .                                                                        .
     b   Did the organization report an amount for investments-other securities in Part X, line 12 that is 5% or more of
                                                                                                                                    llb             No
         its total assets reported in Part X, line 16? If "Yes," complete Schedule D, Part VII Ij .                  .
     c   Did the organization report an amount for investments-program related in Part X, line 13 that is 5% or more of
                                                                                                                                    l lc            No
         its total assets reported in Part X, line 16? If "Yes," complete Schedule D, Part VIII Ij .                 .
     d   Did the organization report an amount for other assets in Part X, line 15 that is 5% or more of its total assets
                                                                                                                                    lid             No
         reported in Part X, line 16? If 'Yes, 'complete Schedule D, Part IX Ij .                                         .
     e   Did the organization report an amount for other liabilities in Part X, line 25? If "Yes," complete Schedule D, PartX
                                                                                                                                    lle      Yes

     f   Did the organization's separate or consolidated financial statements for the tax year include a footnote that
         addresses the organization's liability for uncertain tax positions under FIN 48 (ASC 740)?
         If "Yes, " complete Schedule D, Part X Ij
12a      Did the organization obtain separate, independent audited financial statements for the tax year?
         If 'Yes, 'complete Schedule D, Parts XI and XII Ij .                                                                   .
     b   Was the organization included in consolidated, independent audited financial statements for the tax year?
         If "Yes,"and if the organization answered "No" to line 12a, then completing Schedule D, Parts XI and XII is optional Ij
13       Is the organization a school described in section 170(b)(1)(A)(ii)? If "Yes," complete Schedule E
                                                                                                                                    13              No
14a      Did the organization maintain an office, employees, or agents outside of the U nited States?                               14a             No
     b   Did the organization have aggregate revenues or expenses of more than $10,000 from grantmaking, fundraising,
         business, investment, and program service activities outside the United States, or aggregate foreign investment
         valued at $100,000 or more? If 'Yes, 'complete Schedule F, Parts I and IV .  .   .   .  .   .  .   .   .                   14b             No

15       Did the organization report on Part IX, column (A), line 3, more than $5,000 of grants or other assistance to or
                                                                                                                                    15              No
         for any foreign organization? If "Yes," complete Schedule F, Parts II and IV . .  .   .  .
16       Did the organization report on Part IX, column (A), line 3, more than $5,000 of aggregate grants or other
                                                                                                                                    16              No
         assistance to or for foreign individuals? If "Yes," complete Schedule F, Parts III and IV .   .
17       Did the organization report a total of more than $15,000 of expenses for professional fundraising services on Pal          17              No
         IX, column (A), lines 6 and IIe? If "Yes,"complete Schedule G, Part I (see instructions) .   .      .
18       Did the organization report more than $15,000 total offundraising event gross income and contributions on Part
         VIII, lines 1c and 8a? If "Yes," complete Schedule G, Part II . .  .  .   .  .  .   .  .   .  .   .                        18              No
19       Did the organization report more than $15,000 ofgross income from gaming activities on Part VIII, line 9a? If
                                                                                                                                    19              No
         "Yes," complete Schedule G, Part III . .  .  .   .  .  .  .   .  .   .  .   .   .   .  .   .   .   .
20a      Did the organization operate one or more hospital facilities? If "Yes, " complete Schedule H   .   .        .              20a             No
     b   If "Yes" to line 20a, did the organization attach a copy of its audited financial statements to this return?
                                                                                                                                    20b
                                                                                                                                           Form 990(2015)
Form 990 (2015)                                                                                                                               Page 4
            Case  2:18-cv-11385-APP
              Checklist                  ECF (continued)
                        of Required Schedules No. 44, PageID.987 Filed 09/14/18 Page 116 of 320
21       Did the organization report more than $5,000 ofgrants or other assistance to any domestic organization or              21             No
         domestic government on Part IX, column (A), line 1? If "Yes, "complete Schedule I, Parts I and II . . .   .
22       Did the organization report more than $5,000 ofgrants or other assistance to or for domestic individuals on Part       22
                                                                                                     .                                         No
         IX, column (A), line 2? If "Yes, "complete Schedule I, Parts I and III . . .  .   .   .  .
23       Did the organization answer "Yes" to Part VII, Section A, line 3, 4, or 5 about compensation of the organization's
                                                                                                                                23      Yes
         current and former officers, directors, trustees, key employees, and highest compensated employees? If "Yes,"
         complete Schedule J .    .   .   .   .   .   .  .   .  .   .  .  .   .    .  .  .   .  .  .  .    .  .   ij
24a      Did the organization have a tax-exempt bond issue with an outstanding principal amount of more than $100,000
         as of the last day of the year, that was issued after December 31, 2002? If "Yes,"answer lines 24b through 24d
                                                                                                                                               No
         and complete Schedule K If "No,"go to line 25a .     .  .  .  .   .  .  .  .   .  .   .   .   .                        24a
     b   Did the organization invest any proceeds oftax-exempt bonds beyond a temporary period exception?
                                                                                                                                24b

     c   Did the organization maintain an escrow account other than a refunding escrow at any time during the year
         to defease any tax-exempt bonds?                                                                                       24c
     d   Did the organization act as an   on behalf of issuer for bonds outstanding at any time during the year?                24d
25a Section 501(c )( 3), 501(c)(4), and 501 ( c)(29) organizations.
    Did the organization engage in an excess benefit transaction with a disqualified person during the year? If "Yes,"
                                                                                                                                25a            No
    complete Schedule L, Part I .
     b   Is the organization aware that it engaged in an excess benefit transaction with a disqualified person in a prior
         year, and that the transaction has not been reported on any of the organization's prior Forms 990 or 990-EZ?           25b            No
         If "Yes, " complete Schedule L, Part I .                                                                .
26       Did the organization report any amount on Part X, line 5, 6, or 22 for receivables from or payables to any current
         or former officers, directors, trustees, key employees, highest compensated employees, or disqualified persons?        26             No
         If "Yes, " complete Schedule L, Part II .                                                     .
27       Did the organization provide a grant or other assistance to an officer, director, trustee, key employee, substantial
         contributor or employee thereof, a grant selection committee member, or to a 35% controlled entity or family           27             No
         member of any ofthese persons? If "Yes," complete Schedule L, Part III .       .   .   .   .  .  .   .  .
28       Was the organization a party to a business transaction with one of the following parties (see Schedule L, Part IV
         instructions for applicable filing thresholds, conditions, and exceptions)
     a   A current or former officer, director, trustee, or key employee? If "Yes," complete Schedule L,
         Part IV .    .  .   .   .    .   .   .   .   .   .  .   .  .  .   .   .   .   .  .   .  .   .
                                                                                                                                28a            No
     b A family member of a current or former officer, director, trustee, or key employee? If "Yes," complete ScheduleL,
       Part IV .  .  .   .   .   .  .   .   .   .    .   .   .   .   .   .   .  .  .   .                                        28b            No
     c   A n entity of which a current or former officer, director, trustee, or key employee (or a family member thereof) was
                                                                                                              .  .              28c            No
         an officer, director, trustee, or direct or indirect owner? If "Yes," complete Schedule L, Part IV .
29       Did the organization receive more than $25,000 in non-cash contributions? If "Yes," completeSchedul eM                 29             No

30       Did the organization receive contributions of art, historical treasures, or other similar assets, or qualified
                                                                                                                                30             No
         conservation contributions? If "Yes, " complete Schedul e M .
31       Did the organization liquidate, terminate, or dissolve and cease operations? If "Yes," complete Schedule N, Part I
                                                                                                                                31             No

32       Did the organization sell, exchange, dispose of, or transfer more than 25% of its net assets?
                                                                                                                                32             No
         If "Yes, " complete Schedule N, Part II .
33       Did the organization own 100% of an entity disregarded as separate from the organization under Regulations
                                                                                                                                33             No
         sections 301 7701-2 and 301 7701-3? If "Yes," complete Schedule R, Part I .                           .
34       Was the organization related to any tax-exempt or taxable entity? If "Yes," complete Schedule R, Part 11, III, or IV
                                                                                                                     tj         34
                                                                                                                                3       Yes
         and Part V, line 1 . .   .  .   .   .  .  .   .  .   .   .   .  .   .   .    .  .   .  .   .   .

35a      Did the organization have a controlled entity within the meaning of section 512(b )(13)?                               35a            No

     b   If'Yes'to line 35a, did the organization receive any payment from or engage in any transaction with a controlled
                                                                                                                                35b
         entity within the meaning of section 512(b)(13)? If "Yes," complete Schedule R, Part V, lme2 .      .
36       Section 501(c )( 3) organizations . Did the organization make any transfers to an exempt non-charitable related
                                                                                                                                36             No
         organization? If "Yes," complete Schedule R, Part V, line2 .   .  .   .   .   .   .  .  .  .   .   .  .   .
37       Did the organization conduct more than 5% of its activities through an entity that is not a related organization
                                                                                                                                37             No
         and that is treated as a partnership for federal income tax purposes? If "Yes," complete Schedule R, Part VI °j
38       Did the organization complete Schedule 0 and provide explanations in Schedule 0 for Part VI, lines 11b and 19?
                                                                                                                                38      Yes
         Note . All Form 990 filers are required to complete Schedule 0 .  .   .   .  .  .    .  .   .   .   .
                                                                                                                                      Form 990(2015)
Form 990 (2015)                                                                                                                                                        Page 5
            Case 2:18-cv-11385-APP
              Statements               ECF
                         Regarding Other IRS No.  44,and
                                             Filings  PageID.988    Filed 09/14/18 Page 117 of 320
                                                         Tax Compliance
                Check if Schedule 0 contains a res p onse or note to an y line in this Part V
                                                                                                                                                                 Yes    No
 la Enter the number reported in Box 3 of Form 1096 Enter -0- if not applicable                                   la                            150
     b   Enter the number of Forms W-2G included in line la Enter -0- if not applicable                           lb                                 0

     c   Did the organization comply with backup withholding rules for reportable payments to vendors and reportable
         gaming (gambling) winnings to prize winners?   .                                                            .                                   1c      Yes
 2a Enter the number of employees reported on Form W-3, Transmittal of Wage and
    Tax Statements, filed for the calendar year ending with or within the year covered
    by this return .   .   .   .   .   .  .   .  .   .   .   .   .   .   .  .   .  .               ^ 2a                                              0
     b   If at least one is reported on line 2a, did the organization file all required federal employment tax returns?                                  2b
         Note .Ifthe sum of lines la and 2a is greater than 250, you may be required to e-file (see instructions)
 3a Did the organization have unrelated business gross income of $1,000 or more during the year?                            .       .                    3a             No
     b   If"Yes," has it filed a Form 990-T for this year?lf "No"toline3b, provide an explanation in Schedule 0                 .           .            3b
 4a At any time during the calendar year, did the organization have an interest in, or a signature or other authority
    over, a financial account in a foreign country (such as a bank account, securities account, or other financial
    account)?     .   .                                                                                                                                  4a             No

     b   If "Yes," enter the name of the foreign country ^
         See instructions for filing requirements for FinCEN Form 114, Report of Foreign Bank and Financial Accounts
         (FBA R)
 5a Was the organization a party to a prohibited tax shelter transaction at any time during the tax year?                                                5a             No
     b   Did any taxable party notify the organization that it was or is a party to a prohibited tax shelter transaction?                                5b             No

     c   If "Yes," to line 5a or 5b, did the organization file Form 8886-T?
                                                                                                                                                         Sc
 6a Does the organization have annual gross receipts that are normally greater than $100,000, and did the                                                6a             No
    organization solicit any contributions that were not tax deductible as charitable contributions? .    .
     b   If "Yes," did the organization include with every solicitation an express statement that such contributions or gifts
         were not tax deductible?    .                                                                            .                                      6b
 7       Organizations that may receive deductible contributions under section 170(c).
     a   Did the organization receive a payment in excess of $75 made partly as a contribution and partly for goods and                                  7a             No
         services provided to the payor?
     b   If "Yes," did the organization notify the donor of the value of the goods or services provided?                                                 7b
     c   Did the organization sell, exchange, or otherwise dispose of tangible personal property for which it was required to
         file Form 8282?    .                                                                                        .                                   7c             No
     d   If "Yes," indicate the number of Forms 8282 filed during the year        .       .           .   .   I   7d


     e   Did the organization receive any funds, directly or indirectly, to pay premiums on a personal benefit contract?
                                                                                                                                                         7e             No
     f   Did the organization, during the year, pay premiums, directly or indirectly, on a personal benefit contract?                   .        .       7f             No
     g   Ifthe organization received a contribution ofqualified intellectual property, did the organization file Form 8899 as
         required?                                                                                                                                       7g
     h   Ifthe organization received a contribution of cars, boats, airplanes, or other vehicles, did the organization file a
         Form 1098-C?      .                                                                                              .                              7h
 8       Sponsoring organizations maintaining donor advised funds.
         Did a donor advised fund maintained by the sponsoring organization have excess business holdings at any time
         during the year?  .                                                                                    .                                        8
 9a Did the sponsoring organization make any taxable distributions under section 4966?                             .    .                                9a
     b   Did the sponsoring organization make a distribution to a donor, donor advisor, or related person?                                               9b
10       Section 501(c )( 7) organizations. Enter
     a   Initiation fees and capital contributions included on Part V III, line 12            .                   10a
     b   Gross receipts, included on Form 990, Part VIII, line 12, for public use of club                         10b
         facilities
11       Section 501(c )( 12) organizations. Enter
     a   Gross income from members or shareholders        .   .   .   .   .   .       .           .               11a
     b   Gross income from other sources (Do not net amounts due or paid to other sources
         against amounts due or received from them ) .   .  .   .   .   .   .  .   .                              11b

12a Section 4947 ( a)(1) non - exempt charitable trusts .Is the organization filing Form 990 in lieu of Form 1041?                                       12a
     b   If "Yes," enter the amount of tax-exempt interest received or accrued during the
         year                                                                                                     12b

13       Section 501(c )( 29) qualified nonprofit health insurance issuers.


     a   Is the organization licensed to issue qualified health plans in more than one state?Note . See the instructions for
         additional information the organization must report on Schedule 0                                                                               13a
     b   Enter the amount of reserves the organization is required to maintain by the states
         in which the organization is licensed to issue qualified health plans                                    13b

     c   Enter the amount of reserves on hand                                                                     13c
14a      Did the organization receive any payments for indoor tanning services during the tax year?                                                      14a            No
     b   If "Yes," has it filed a Form 720 to report these payments?lf 'No,' provide an explanation in Schedule O                                        14b
                                                                                                                                                               Form 990(2015)
Form 990 (2015)                                                                                                                                       Page 6
LiQL=       Case 2:18-cv-11385-APP
              Governance , Management , ECF  No. 44, PageID.989 Filed 09/14/18 Page 118 of 320
                                        and Disclosure
                For each "Yes" response to lines 2 through 7b below, and for a "No" response to lines 8a, 8b, or 10b below,
                describe the circumstances, processes, or changes in Schedule 0. See instructions.
         Check i f Schedule 0 contains a response or note to any l i n e i n t h i s Part V I
 Section A. Governina Bodv and Manaaement
                                                                                                                                            Yes   I    No
 la Enter the number of voting members of the governing body at the end of the tax
                                                                                                  la                          9
    year
         If there are material differences in voting rights among members of the governing
         body, or if the governing body delegated broad authority to an executive committee
         or similar committee, explain in Schedule 0
     b   Enter the number of voting members included in line la, above, who are
         independent                                                                              lb                          9
 2       Did any officer, director, trustee, or key employee have a family relationship or a business relationship with any
         other officer, director, trustee, or key employee?                                                                        2                   No
 3       Did the organization delegate control over management duties customarily performed by or under the direct
                                                                                                                                  3         Yes
         supervision of officers, directors or trustees, or key employees to a management company or other person?
 4       Did the organization make any significant changes to its governing documents since the prior Form 990 was
         filed?                                                                                                                   4                    No
 5       Did the organization become aware during the year ofa significant diversion of the organization's assets?                5                    No
 6       Did the organization have members or stockholders?                                                                       6                    No
 7a Did the organization have members, stockholders, or other persons who had the power to elect or appoint one or
    more members of the governing body?    .                                                                    .                 7a        Yes
     b Are any governance decisions of the organization reserved to (or subject to approval by) members, stockholders,            7b                   No
       or persons other than the governing body?
 8       Did the organization contemporaneously document the meetings held or written actions undertaken during the
         year by the following
     a   The governing body?                                                                                                      8a        Yes
     b   Each committee with authority to act on behalf of the governing body?                                                    8b        Yes
 9       Is there any officer, director, trustee, or key employee listed in Part VII, Section A, who cannot be reached at the
         organization's mailing address? If "Yes,"provide the names and addresses in Schedule 0 .       .  .   .  .  .   .        9     1         1    No
 Section B. Policies            This Section B re q uests information aboutpolicies not re uired b y the Internal Revenue Code. )
                                                                                                                                            Yes        No
10a      Did the organization have local chapters, branches, or affiliates?                                                       10a                  No
     b   If "Yes," did the organization have written policies and procedures governing the activities ofsuch chapters,
         affiliates, and branches to ensure their operations are consistent with the organization's exempt purposes?              10b

11a      Has the organization provided a complete copy of this Form 990 to all members of its governing body before filing
         the form?                                                                                                                11a       Yes
     b   Describe in Schedule 0 the process, if any, used by the organization to review this Form 990
12a      Did the organization have a written conflict of interest policy? If "No,"go to line 13                                   12a       Yes
     b   Were officers, directors, or trustees, and key employees required to disclose annually interests that could give
         rise to conflicts?                                                                                                       12b       Yes
     c   Did the organization regularly and consistently monitor and enforce compliance with the policy? If "Yes,"describe
         in Schedule 0 how this was done .                                                                                        12c       Yes
13       Did the organization have a written whistleblower policy?                                                                13        Yes
14       Did the organization have a written document retention and destruction policy?                                           14        Yes
15       Did the process for determining compensation of the following persons include a review and approval by
         independent persons, comparability data, and contemporaneous substantiation of the deliberation and decision?
     a   The organization's CEO, Executive Director, or top management official                                                   15a                  No
     b   Other officers or key employees of the organization                                                                      15b                  No
         If "Yes" to line 15a or 15b, describe the process in Schedule 0 (see instructions)
16a      Did the organization invest in, contribute assets to, or participate in a joint venture or similar arrangement with a
         taxable entity during the year?                                                                                          16a                  No
     b   If "Yes," did the organization follow a written policy or procedure requiring the organization to evaluate its
         participation in joint venture arrangements under applicable federal tax law, and take steps to safeguard the
         organization's exempt status with respect to such arrangements?                                                          16b
 Section C. Disclosure
17       List the States with which a copy of this Form 990 is required to be

18       Section 6104 requires an organization to make its Form 1023 (or 1024 if applicable ), 990, and 990-T ( 501(c)
         (3)s only ) available for public inspection Indicate how you made these available Check all that apply
          F- Own website      F- Another 's website   F Upon request       F- Other ( explain in Schedule O )
19       Describe in Schedule 0 whether ( and if so, how ) the organization made its governing documents, conflict of
         interest policy , and financial statements available to the public during the tax year
20       State the name, address , and telephone number of the person who possesses the organization ' s books and records
                   E SCHMEHL CFO 1333 BREWERY PARK BLVD STE 300 DETROIT , MI 48207 ( 313) 656-0000
                                                                                                                                        Form 990(2015)
Form 990 (2015)                                                                                                                                                                       Page 7
             Case 2:18-cv-11385-APP
               Compensation                ECF No., Trustees
                            of Officers , Directors  44, PageID.990     Filed 09/14/18
                                                             , Key Employees,            Page 119 of 320
                                                                              Highest Compensated
                   Employees , and Independent Contractors
                   Check if Schedule 0 contains a response or note to any line in this Part VII                                                                                            I-
   Section A. Officers , Directors , Trustees , Key Employees, and Highest Compensated Employees
la Complete this table for all persons required to be listed Report compensation for the calendar year ending with or within the organization's
tax year
   • List all of the organization's current officers, directors, trustees (whether individuals or organizations), regardless of amount
of compensation Enter -0- in columns (D), (E), and (F) if no compensation was paid
  • List all of the organization 's current key employees, if any See instructions for definition of "key employee
  • List the organization's five current highest compensated employees (other than an officer, director, trustee or key employee)
who received reportable compensation (Box 5 of Form W-2 and/or Box 7 of Form 1099-MISC) of more than $100,000 from the
organization and any related organizations
   • List all of the organization's former officers, key employees, or highest compensated employees who received more than $100,000
of reportable compensation from the organization and any related organizations
  • List all of the organization 's former directors or trustees that received, in the capacity as a former director or trustee of the
organization, more than $10,000 of reportable compensation from the organization and any related organizations
List persons in the following order individual trustees or directors, institutional trustees, officers, key employees, highest
compensated employees, and former such persons
     Check this box if neither the organization nor any related organization compensated any current officer, director, or trustee


                            (A)                                               (B)                       (C)                                 (D)                 (E)                   (F)
                        Name and Title                                      Average           Position (do not check                    Reportable          Reportable            Estimated
                                                                            hours per       more than one box, unless                 compensation        compensation            amount of
                                                                           week (list        person is both an officer                   from the          from related              other
                                                                           any hours          and a director/trustee)                  organization       organizations        compensation
                                                                           for related                         2, = T                 (W- 2/1099-          (W- 2/1099-             from the
                                                                         organizations                                                    MISC)               MISC)             organization
                                                                              below         =            a    ;i       n          3                                              and related
                                                                          dotted line)          c                      2,                                                      organizations


                                                                                                Co       ^{        D

                                                                                                    T.

                                                                                                                            IT,
                                                                                                                            L

(1) NICOLE WELLS-STALLWORTH                                                         2 00
......................................................................   ................       X             X                                       0                   0                    0
CHAIRPERSON

(2) VERONICA MADRIGAL                                                               2 00
......................................................................   ................       X             X                                       0                   0                    0
TREASURER

(3) DR SUZANNE KELLER                                                               2 00
......................................................................   ................       X             X                                       0                   0                    0
SECRETARY

(4) CARRIE FLOYD                                                                    2 00
......................................................................   ................       X             X                                       0                   0                    0
VICE CHAIRPERSON

(5) SARAH CLARK                                                                     2 00
......................................................................   ................       X                                                     0                   0                    0
DIRECTOR

(6) ERIC DE LA ROSA                                                                 2 00
......................................................................   ................       X                                                     0                   0                    0
DIRECTOR

(7) BESSIE TYLER                                                                    2 00
......................................................................   ................       X                                                     0                   0                    0
DIRECTOR

(8) FR ED ZAORSKI                                                                   2 00
......................................................................   ................       X                                                     0                   0                    0
DIRECTOR

(9) DR TIFFANY LAVONNE SANFORD                                                      2 00
......................................................................   ................       X                                                     0                   0                    0
DIRECTOR

(10) TONY ROTHSCHILD                                                                2 00
......................................................................   ................       X                                                     0                   0                    0
DIRECTOR-RESIGNED 1/28/16

(11) DOREEN NIED                                                             40 00
...................................................................... """"""""'                              X                                       0           150,434                8,882
EXECUTIVE DIRECTOR

(12) DAVID SCHMEHL                                                           26 00
...................................................................... """"""""'                              X                                       0            81,565               10,633
CFO                                                                          14 00




                                                                                                                                                                              Form 990(2015)
Form 990 (2015)                                                                                                                                                                              Page 8
            Case  2:18-cv-11385-APP
              Section                            ECF No.
                      A . Officers, Directors , Trustees     44,
                                                         , Key   PageID.991
                                                               Employees          FiledCompensated
                                                                         , and Highest   09/14/18 Employees
                                                                                                   Page 120    of 320
                                                                                                            (continued)


                  (A)                             (B)                      (C)                                                              (D)                  (E)                      (F)
              Name and Title                    Average          Position (do not check                                                 Reportable           Reportable               Estimated
                                                hours per     more than one box, unless                                                compensation        compensation           amount of other
                                               week (list       person is both an officer                                                 from the          from related           compensation
                                               any hours         and a director/trustee)                                             organization (W-    organizations (W-             from the
                                               for related       _              -. 2, =   T                                           2/1099-MISC)        2/1099-MISC)            organization and
                                             organizations    '7 cc                 Z Z                                                                                                 related
                                                  below       `-1                            r           rt.           n .i•                                                        organizations
                                              dotted line)          c                                                  IE `-=   I,
                                                                    2                                    _             .t.
                                                                    a        =                                            3
                                                                    Co       ^1                          D

                                                                    I•                                                    co


                                                                                                                          L




lb       Sub-Total   .   .   .   .   .   .    .   .   .   .     .        .   .       .           .             .           ^
    c    Total from continuation sheets to Part VII , Section A                  .       .           .             .       ^
    d    Total ( add lines lb and 1c)                                                                                      ^                    0                   231,999                 19,515

2        Total number of individuals (including but not limited to those listed above) who received more than
         $100,000 of reportable compensation from the organization ^ 0


                                                                                                                                                                                              No
3        Did the organization list any former officer, director or trustee, key employee, or highest compensated employee
         on line 1a7 If "Yes," complete Schedule] for such individual .      .  .   .  .   .   .   .   .  .  .  .   .                                                         3               No
4        For any individual listed on line la, is the sum of reportable compensation and other compensation from the
         organization and related organizations greater than $150,0007 If "Yes," complete Schedule] for such
         individual

5        Did any person listed on line la receive or accrue compensation from any unrelated organization or individual for
         services rendered to the organization?If "Yes," complete Schedule] for such person .  .   .   .   .   .    .                                                         5               No


    Section B. Independent Contractors
1        Complete this table for your five highest compensated independent contractors that received more than $100,000 of
         compensation from the organization       Report compensation for the calendar year ending with or within the organization's tax year
                                                   (A)                                                                                                        (B)                         (C)
                                         Name and business address                                                                                  Description of services          Compensation




2       Total number of independent contractors (including but not limited to those listed above) who received more than
        $100,000 of compensation from the organization ^ 0
                                                                                                                                                                                  Form 990(2015)
Form 990 (2015)                                                                                                                                                                                                                                    Page 9
            Case 2:18-cv-11385-APP
               Statement of Revenue ECF No. 44, PageID.992 Filed 09/14/18 Page 121 of 320
                     Check if Schedule 0 contains a response or note to any line in this Part VIII                                                                                                                                                      T
                                                                                                                                                                                          (A)               (B)               (C)                 (D)
                                                                                                                                                                                     Total revenue       Related or       U nrelated           Revenue
                                                                                                                                                                                                          exempt          business          excluded from
                                                                                                                                                                                                          function         revenue            tax under
                                                                                                                                                                                                          revenue                              sections
                                                                                                                                                                                                                                              512-514
            la       Federated campaigns                      .                                                   la

                 b   Membership dues          .           .                       .               .               lb

        E    c       Fundraising events              .                                                            1c
 ya
             d       Related organizations                        .                                               ld
V'
    E        e       Government grants (contributions)                                                            le
 y ..
 O           f       Al other contributions, gifts, grants, and                                                   if
        y            similar amounts not included above

             g       Noncash contributions included in lines
.^. 0                la-1f $
 c -
 O               h   Total .Add lines la-If                           .                   .           .       .            .       .            .                                ^
V
                                                                                                                               Business Code
             2a      FEES AND CONTRACTS FROM                                                                                                                            624100             170,527,178      170,527,178
  ILI                GOVERNMEN
                 b

             C
  S
             d

  c          e
  M
             f       All other program service revenue
  0
             g       Total . Add lines 2a-2f                              .                                                                                 .                ^             170,527,178
             3       Investment income (including dividends, interest,
                                                                                                                                                                             ^                  13,899                                               13,899
                     and other similar amounts)
             4       Income from investment of tax-exempt bond proceeds                                                                                             •        ^

             5       Royalties       .                                                                                                                                       ^
                                                         (i) Real                                                                  (ii) Personal
             6a      Gross rents

                 b   Less rental
                     expenses
             c       Rental income
                     or (loss)
             d       Net rental inco me or (loss)                                                                                                                            ^
                                             (i) Securities                                                                            (ii) Other
             7a      Gross amount
                     from sales of
                     assets other
                     than inventory


                 b   Less cost or
                     other basis and
                     sales expenses
             c       Gain or(loss)

             d       Net gain or (los s)     .            .                       .               .       .            .       .        .               .                .
             8a      Gross income from fundraising
 4)
                     events (not including

                     of contributions reported on line 1c)
cc                   See Part IV, line 18
                                                                                                                  a
                 b   Less direct expenses                                     .                                   lb ,
             c       Net income or (loss) from fundraising events                                                                                   .           .            ^
             9a      Gross income from gaming activities
                     See Part IV, line 19 .      .
                                                        a
                 b   Less direct expenses                                     .                                   b
                 c   Net income or (loss) from gaming acti vities                                                                           .

            10a      Gross sales of inventory, less
                     returns and allowances    .
                                                                                                              a
                 b   Less    cost of goods sold                                       .                       b
             c       Net income or (loss) from sales of inventory                                                                               .                            ^
                       Miscellaneous Revenue                                                                                   Business Code
            11a

                 b

             C

             d       All other revenue           .                                    .
             e       Total .Add lines I la-11d                                                .                                                                              ^

            12       Total revenue . See Instructions                                                                                                                            ^         170,541,077      170,527,178                0             13,899
                                                                                                                                                                                                                                           Form 990(2015)
Form 990 (2015)                                                                                                                                                        Page 10
LiEg=          Case 2:18-cv-11385-APP
                 Statement                 ECF No. 44, PageID.993 Filed 09/14/18 Page 122 of 320
                           of Functional Expenses
Section 501(c)(3) and 501(c)(4) organizations must complete all columns All other organizations must complete column (A)
                 Check if Schedule 0 contains a response or note to any line in this Part IX
                     T
                                                                                                              (A)                (e)                (C)                (D)
 Do not include amounts reported on lines 6b,
                                                                                                                           Program service   Management and        Fundraising
7b, 8b, 9b, and 10b of Part VIII .                                                                       Total expenses
                                                                                                                              expenses       general expenses       expenses

  1          Grants and other assistance to domestic organizations and
             domestic governments See Part IV, line 21    .

  2          Grants and other assistance to domestic
             individuals See Part IV, line 22  .

  3          Grants and other assistance to foreign organizations, foreign
             governments, and foreign individuals See Part IV, lines 15
             and 16   .  .   .   .  .   .   .  .   .   .   .  .
  4          Benefits paid to or for members                         .
  5          Compensation of current officers, directors, trustees, and
             key employees   .           .
  6          Compensation not included above, to disqualified persons
             (as defined under section 4958(f)(1)) and persons
             described in section 4958(c)(3)(B)
  7          Other salaries and wages                .
  8          Pension plan accruals and contributions (include section 401(k)
             and 403(b) employer contributions) .
  9          Other employee benefits
10           Payroll taxes

11           Fees for services (non-employees)
     a       Management                      .                   .
      b      Legal       .                                               .
     c       Accounting                  .                                                   .
     d       Lobbying            .                                                       .
     e       Professional fundraising services See Part IV, line 17
     f       Investment management fees                      .                                   .
     g       Other (If line 11g amount exceeds 10% of line 25, column (A)
             amount, list line 11g expenses on Schedule 0)                                                     6,311,007                            6,311,007

12           Advertising and promotion                   .   .
13           Office expenses                     .                           .
14           Information technology
15           Royalties
16           Occupancy
17           Travel
18           Payments of travel or entertainment expenses for any federal,
             state, or local public officials
19           Conferences, conventions, and meetings                              .   .
20           Interest        .                                                       .
21           Payments to affiliates
22           Depreciation, depletion, and amortization
23           Insurance               .                                                               .
24           Other expenses Itemize expenses not covered above (List
             miscellaneous expenses in line 24e If line 24e amount exceeds
             10% of line 25, column (A) amount, list line 24e expenses on
             Schedule 0 )
         a   OUTPATIENT SERVICE EXPE                                                                         111,901,848       111,901,848
         b   RESIDENTIAL EXPENSE                                                                              26,447,406        26,447,406
         c   COMMUNITY HOSPITAL INPA                                                                          24,438,555        24,438,555
         d
         e   All other expenses
25           Total functional expenses . Add lines 1 through 24e                                             169,098,816       162,787,809          6,311,007                    0

26           Joint costs .Complete this line only if the organization
             reported in column (B) joint costs from a combined
             educational campaign and fundraising solicitation
             Check here ^ F- iffollowing SOP 98-2 (ASC 958-720)

                                                                                                                                                                Form 990(2015)
Form 990 (2015)                                                                                                                                                                                                                                                                            Page 11
        Case 2:18-cv-11385-APP
          Balance Sheet        ECF No. 44, PageID.994 Filed 09/14/18 Page 123 of 320
                Check if Schedule 0 contains a response or note to any line in this Part X                                                                                                                                                                                                      P
                                                                                                                                                                                                                                                             (A)                         (B)
                                                                                                                                                                                                                                                      Beginning of year              End of year
        1         Cash-non-interest-bearing                                                                                                                                                                                                                     2,932,110      1            2,543,687

        2         Savings and temporary cash investments                                                                                                                                                                                                        2,500,000      2            2,500,000

        3         Pledges and grants receivable, net                                                                                                                                                                                                                           3
        4         Accounts receivable, net                .           .           .           .           .               .               .               .               .               .               .               .                                     2,360,996     4             7,297,717

        5         Loans and other receivables from current and former officers, directors,
                  trustees, key employees, and highest compensated employees Complete Part
                  II of
                  Schedule L .                                                             .
                                                                                                                                                                                                                                                                               5
        6         Loans and other receivables from other disqualified persons (as defined under
                  section 4958(f)(1)), persons described in section 4958(c)(3)(B), and
                  contributing employers and sponsoring organizations of section 501(c)(9)
                  voluntary employees' beneficiary organizations (see instructions) Complete
                  Part II of Schedule L
                                                                                                                                                                                                                                                                               6
Q       7         Notes and loans receivable, net                                                                                                                                                                                                                              7
        8         Inventories for sale or use                                                                                                                                                                                                                                  8
        9         Prepaid expenses and deferred charges                                                   .                                                                                                                                                                    9
       10a        Land, buildings, and equipment cost or other basis
                  Complete Part VI of Schedule D                                                                                                                                                      10a
            b     Less   accumulated depreciation                                                                                                                                                     10b                                                                     10c
       11         Investments-publicly traded securities                                                      .                                                                                                                                                               11
       12         Investments-other securities See Part IV, line 11                                                                                                                                                                                                           12
       13         Investments-program-related                             See Part IV, line 11                                                                                                                                                                                13
       14         Intangible assets       .       .       .           .           .           .           .               .               .               .               .               .               .               .                                                   14
       15         Other assets See Part IV, line 11                                                                                                                                                                                                                           15
       16         Total assets .Add lines 1 through 15 (must equal line 34)                                                                                                                                                                                     7,793,106     16           12 ,341,404

       17         Accounts payable and accrued expenses                                                                                                                                                                                                         7,416,054     17            9,244,660

       18         Grants payable      .       .       .       .           .           .           .               .               .               .               .               .               .               .               .               .                           18
       19         Deferred revenue        .       .       .           .           .           .           .               .               .               .               .               .               .               .               .                                   19
       20         Tax-exempt bond liabilities                     .           .           .           .               .               .               .               .               .               .               .               .                                       20
       21         Escrow or custodial account liability Complete Part IV of Schedule D                                                                                                                                                                                        21
  V,
       22         Loans and other payables to current and former officers, directors, trustees,
                  key employees, highest compensated employees, and disqualified
                  persons Complete Part II of Schedule L                                                      .               .               .               .               .               .               .               .               .                               22
  fL
       23         Secured mortgages and notes payable to unrelated third parties                                                                                                                                                                                              23
       24         Unsecured notes and loans payable to unrelated third parties                                                                                                                                                                                                24
       25         Other liabilities (including federal income tax, payables to related third
                  parties, and other liabilities not included on lines 17-24)
                  Complete Part X of Schedule D
                                                                                                                                                                                                                                                                          0   25            1 ,277,431

       26         Total liabilities .Add lines 17 through 25                                                  .                                                                                                                                                 7,416,054     26           10,522,091

                  Organizations that follow SFAS 117 (ASC 958), check here ^                                                                                                                              Wand
                  complete lines 27 through 29, and lines 33 and 34.
       27         Unrestricted net assets                                                                                                                                                                                                                        377,052      27            1,819,313

 M     28         Temporarily restricted net assets                                                                                                                                                                                                                           28
C3
-      29         Permanently restricted net assets                                                                                                                                                                                                                           29

LL_               Organizations that do not follow SFAS 117 (ASC 958), check here ^                                                                                                                                                   F and
 0                complete lines 30 through 34.
J,     30         Capital stock or trust principal, or current funds                                                                                                                                                                                                          30
       31         Paid-in or capital surplus, or land, building or equipment fund                                                                                                                                                                                             31
a;
s
       32         Retained earnings, endowment, accumulated income, or other funds                                                                                                                                                                                            32
0      33         Total net assets or fund balances                                                                                                                                                                                                              377,052      33            1,819,313
Z
       34         Total liabilities and net assets/fund balances                                                                                                                                                                                                7,793,106     34           12,341,404

                                                                                                                                                                                                                                                                                    Form 990(2015)
Form 990 (2015)                                                                                                                            Page 12
            Case  2:18-cv-11385-APP
              Reconcilliation             ECF No. 44, PageID.995 Filed 09/14/18 Page 124 of 320
                              of Net Assets
               Check if Schedule 0 contains a response or note to any line in this Part XI                                                        F


 1       Total revenue (must equal Part VIII, column (A), line 12)        .                      .
                                                                                                                         1           170,541,077
 2       Total expenses (must equal Part IX, column (A), line 25)     .                              .
                                                                                                                         2           169,098,816
 3       Revenue less expenses Subtract line 2 from line 1
                                                                                                                         3              1,442,261
 4       Net assets or fund balances at beginning of year (must equal Part X, line 33, column (A))
                                                                                                                         4                 377,052
 5       Net unrealized gains (losses) on investments
                                                                                                                         5
 6       Donated services and use of facilities
                                                                                                                         6
 7       Investment expenses        .                                                                            .
                                                                                                                         7
 8       Prior period adjustments       .                                                                    .
                                                                                                                         8
 9       Other changes in net assets or fund balances (explain in Schedule 0)
                                                                                                                         9                        0
 10      Net assets or fund balances at end of year Combine lines 3 through 9 (must equal Part X, line 33,
         column (B))                                                                                                     10             1,819,313
                Financial Statements and Reporting
                Check if Schedule 0 contains a response or note to any line in this Part XII     .       .
                                                                                                                                     Yes     No

 1       Accounting method used to prepare the Form 990            F- Cash     [Accrual     F-Other
         If the organization changed its method of accounting from a prior year or checked "Other," explain in
         Schedule 0
 2a Were the organization's financial statements compiled or reviewed by an independent accountant?                           2a             No
         If'Yes,'check a box below to indicate whether the financial statements for the year were compiled or reviewed on
         a separate basis, consolidated basis, or both

           1 Separate basis                 [ Consolidated basis    [ Both consolidated and separate basis

     b   Were the organization's financial statements audited by an independent accountant?                                   2b     Yes
         If'Yes,'check a box below to indicate whether the financial statements for the year were audited on a separate
         basis, consolidated basis, or both

              Separate basis                [ Consolidated basis    [ Both consolidated and separate basis

     c   If "Yes," to line 2a or 2b, does the organization have a committee that assumes responsibility for oversight
         of the audit, review, or compilation of its financial statements and selection of an independent accountant?         2c     Yes
         If the organization changed either its oversight process or selection process during the tax year, explain in
         Schedule 0
 3a As a result of a federal award, was the organization required to undergo an audit or audits as set forth in the
    Single Audit Act and OMB CircularA-133?                                                                                   3a             No
     b   If "Yes," did the organization undergo the required audit or audits? If the organization did not undergo the
         required audit or audits, explain why in Schedule 0 and describe any steps taken to undergo such audits              3b
                                                                                                                                   Form 990(2015)
l efile GRAPHIC p rint - DO NOT PROCESS                 I As Filed Data - I                                           DLN: 93493121001267
    Case 2:18-cv-11385-APP ECF No. 44, PageID.996 Filed 09/14/18 Page 125
                                                                       OMBof
                                                                           No 320
                                                                               1545-0047
SCHEDULE A            Public Charity Status and Public Support
(Form 990 or                      Complete if the organization is a section 501(c )( 3) organization or a section
990EZ )                                             4947 ( a)(1) nonexempt charitable trust.                                   203.5
                                                     ^ Attach to Form 990 or Form 990-EZ.
                                                                                                                                Open to Public -
Department of the                ^ Information about Schedule A (Form 990 or 990-EZ) and its instructions is at
                                                                                                                                 Inspection
Treasury                         www. irs.gov / form 990 .
Internal Ravenna Service

Name of the organization                                                                                     Employer identification number
CARELINK NETWORK INC
                                                                                                             XX-XXXXXXX
               Reason for Public Charity Status (All organizations must complete this part.) See instructions.
The organization is not a private foundation because it is   (For lines 1 through 11, check only one box )
  1     F-    A church, convention of churches, or association of churches described in section 170(b)(1)(A)(i).
  2     F     A school described in section 170 (b)(1)(A)(ii).(Attach Schedule E (Form 990 or 990-EZ))
  3     F-    A hospital or a cooperative hospital service organization described in section 170 ( b)(1)(A)(iii).
  4     F     A medical research organization operated in conjunction with a hospital described in section 170 (b)(1)(A)(iii). Enter the
              hospital's name, city, and state
  5     p      A n organization operated for the benefit of a college or university owned or operated by a governmental unit described in section
               170(b )(1)(A)(iv). (Complete Part II )
  6     p     A federal, state, or local government or governmental unit described in section 170 ( b)(1)(A)(v).
  7           An organization that normally receives a substantial part of its support from a governmental unit or from the general public
              described in section 170 ( b)(1)(A)(vi ). (Complete Part II )
  8     p     A community trust described in section 170 ( b)(1)(A)(vi ) (Complete Part II )
  9     F-    An organization that normally receives (1) more than 331/3% of its support from contributions, membership fees, and gross
               receipts from activities related to its exempt functions-subject to certain exceptions, and (2) no more than 331/3% of its support
              from gross investment income and unrelated business taxable income (less section 511 tax) from businesses acquired by the
               organization after June 30, 1975 Seesection 509(a )(2). (Complete Part III )
10      p     An organization organized and operated exclusively to test for public safety See section 509(a)(4).
11      p     A n organization organized and operated exclusively for the benefit of, to perform the functions of, or to carry out the purposes of
              one or more publicly supported organizations described in section 509(a)(1) or section 509(a)(2) See section 509(a )(3). Check
              the box in lines 1la through lId that describes the type of supporting organization and complete lines Ile, 1If, and 11g
  a      p    Type I. A supporting organization operated, supervised, or controlled by its supported organization(s), typically by giving the
              supported organization(s) the power to regularly appoint or elect a majority of the directors or trustees of the supporting
              organization You must complete Part IV , Sections A and B.
  b      p    Type II. A supporting organization supervised or controlled in connection with its supported organization(s), by having control or
              management of the supporting organization vested in the same persons that control or manage the supported organization(s) You
              must complete Part IV , Sections A and C.
  c      p    Type III functionally integrated . A supporting organization operated in connection with, and functionally integrated with, its
              supported organization(s) (see instructions) You must complete Part IV, SectionsA , D, and E.
  d      p    Type III non-functionally integrated . A supporting organization operated in connection with its supported organization(s) that is
              not functionally integrated The organization generally must satisfy a distribution requirement and an attentiveness requirement
              (see instructions) You must complete Part IV, Sections A and D, and Part V.
  e      p    Check this box if the organization received a written determination from the IRS that it is a Type I, Type II, Type III functionally
              integrated, or Type III non-functionally integrated supporting organization
  f     Enter the number of supported organizations     . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
  g           Provide the following information about the supported organization(s)


              (i)                       (ii)EIN             (iii)                     (iv)                       (v)                   (vi)
 Name ofsupported organization                            Type of             Is the organization             Amount of          Amount of other
                                                        organization       listed in your governing       monetary support        support (see
                                                    (described on lines           document?               (see instructions)      instructions)
                                                      1- 9 above (see
                                                       instructions))


                                                                               Yes             No




Total

For Paperwork Reduction Act Notice , see the Instructions for Form 990 or 990EZ .            Cat No 11285F
                                                                                                              Schedule A (Form 990 or 990-EZ) 2015
Schedule A (Form 990 or 990-EZ) 2015                                                                                                               Page 2
             Case 2:18-cv-11385-APP
               Support                   ECF No. Described
                       Schedule for Organizations 44, PageID.997    Filed
                                                           in Sections    09/14/18 Page
                                                                       170(b)(1)(A)(iv) and 126
                                                                                            170(bof
                                                                                                  )( 320
                                                                                                     1)(A)(vi)
               (Complete only if you checked the box on line 5, 7, or 8 of Part I or if the organization failed to qualify under
               Part III. If the organization fails to qualify under the tests listed below, please complete Part III.)
     Section A. Public Support
          Calendar year
                                                   (a)2011           (b)2012           (c)2013           (d)2014            (e)2015           (f)Total
(or fiscal year beginning in) ^
1    Gifts, grants, contributions, and
         membership fees received      (Do               200,785                                                                                    200,785
         not include any unusual grants
 2       Tax revenues levied for the
         organization's benefit and either
         paid to or expended on its behalf
 3       The value of services or facilities
         furnished by a governmental unit
         to the organization without charge
 4       Total . Add lines 1 through 3                   200,785                                                                                    200,785
 5       The portion of total contributions
         by each person (other than a
         governmental unit or publicly
         supported organization) included
         on line 1 that exceeds 2% of the
         amount shown on line 11, column
         (f)
 6       Public support . Subtract line 5
                                                                                                                                                    200,785
         from line 4
     Section B. Total Support
         Calendar year
                                                  (a)2011           (b)2012            (c)2013           (d)2014           (e)2015            (f )Total
(or fiscal year beginning in) 10,
 7       Amounts from line 4                            200,785                                                                                     200,785
 8       Gross income from interest,
         dividends, payments received on                   9 343            19,349            12,098             11,120            13,899             65,809
         securities loans, rents, royalties
         and income from similar sources
 9       Net income from unrelated
         business activities, whether or
         not the business is regularly
         carried on
10       Other income Do not include
         gain or loss from the sale of
         capital assets (Explain in Part
         VI)
11       Total support . Add lines 7                                                                                                                266,594
         through 10
12       Gross receipts from related activities, etc (see instructions)                                                     12              711,959,197
13       First five years .If the Form 990 is for the organization's first, second, third, fourth, or fifth tax year as a section 501(c)(3) organization,
       check this box and stop here . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .^ p
     Section C . Computation of Public Support Percentage
14       Public support percentage for 2015 (line 6, column (f) divided by line 11, column (f))                             14                 75 310 %
15       Public support percentage for 2014 Schedule A, Part II, line 14                                                    15                 99 990 %
16a      331 / 3%support test - 2015 .Ifthe organization did not check the box on line 13, and line 14 is 33 1/3% or more, check this box
         and stop here . The organization qualifies as a publicly supported organization                                              ^ W/
     b   331/3% support test - 2014 .Ifthe organization did not check a box on line 13 or 16a, and line 15 is 33 1/3% or more, check this
          box and stop here . The organization qualifies as a publicly supported organization                                                   ^ p
17a       10 %-facts- and-circumstances test - 2015 .Ifthe organization did not check a box on line 13, 16a, or 16b, and line 14
         is 10% or more, and if the organization meets the facts-and-circumstances test, check this box and stop here . Explain
         i n Part V I how the organization meets the "facts-and-circumstances" test The organization qualifies as a publicly supported
         organization                                                                                                                         ^ F
     b   10%-facts- and-circumstances test - 2014 .Ifthe organization did not check a box on line 13, 16a, 16b, or 17a, and line
         15 is 10% or more, and if the organization meets the "facts-and-circumstances" test, check this box and stop here.
         Explain i n Part V I how the organization meets the "facts-and-circumstances" test The organization qualifies as a publicly
         supported organization                                                                                                               ^ p
18       Private foundation .If the organization did not check a box on line 13, 16a, 16b, 17a, or 17b, check this box and see
         instructions                                                                                                                         ^ F

                                                                                                                 Schedule A (Form 990 or 990-EZ) 2015
Schedule A (Form 990 or 990-EZ) 2015                                                                                                          Page 3
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                2:18-cv-11385-APP      ECF No. 44,
                        Schedule for Organizations   PageID.998
                                                   Described        Filed
                                                             in Section   09/14/18 Page 127 of 320
                                                                        509(a)(2)
              (Complete only if you checked the box on line 9 of Part I or if the organization failed to qualify under Part
              H. If the organization fails to qualify under the tests listed below, please complete Part II.)
  Section A. Public Support
         Calendar year
                                                (a)2011           (b)2012           (c)2013          (d)2014           (e)2015           (f)Total
(or fiscal year beginning in) ^
 1    Gifts, grants, contributions, and
      membership fees received (Do
      not include any "unusual grants
 2    Gross receipts from admissions,
      merchandise sold or services
      performed, or facilities furnished
      in any activity that is related to
      the organization's tax-exempt
      purpose
 3    Gross receipts from activities
      that are not an unrelated trade or
      business under section 513
 4    Tax revenues levied for the
      organization's benefit and either
      paid to or expended on its behalf
 5    The value of services or facilities
      furnished by a governmental unit
      to the organization without charge
 6    Total . Add lines 1 through 5
 7a Amounts included on lines 1, 2,
      and 3 received from disqualified
      persons
   b Amounts included on lines 2 and
      3 received from other than
      disqualified persons that exceed
      the greater of$5,000 or 1% of
      the amount on line 13 for the year
   c Add lines 7a and 7b
 8    Public support . (Subtract line 7c
      from line 6 )
  Section B. Total Support
           Calendar year
                                                (a)2011          (b)2012            (c)2013             (d)2014           (e)2015         (f)Total
 (or fiscal year beginning in) ^
  9    Amounts from line 6
10a    Gross income from interest,
       dividends, payments received on
       securities loans, rents, royalties
       and income from similar sources
  b     Unrelated business taxable
        income (less section 511 taxes)
       from businesses acquired after
       June 30, 1975
  c    Add lines 10a and 10b
 11     Net income from unrelated
        business activities not included
        in line 10b, whether or not the
        business is regularly carried on
 12    Other income Do not include
       gain or loss from the sale of
       capital assets (Explain in Part
       VI)
 13    Total support . (Add lines 9, 10c,
        11, and 12 )
 14    First fiveyears .Ifthe Form 990 is for the organization's first, second, third, fourth, or fifth tax year as a section 501(c)(3) organization,
       check this box and stop here                                                                                                      ^ p
  Section C . Computation of Public Support Percentage
15     Public support percentage for 2015 (line 8, column (f) divided by line 13, column (f))
16     Public support percentage from 2014 Schedule A, Part III, line 15
  Section D. Computation of Investment Income Percentage
17     Investment income percentage for 2015 (line 10c, column (f) divided by line 13, column (f))
18     Investment income percentage from 2014 Schedule A, Part III, line 17
19a    331 / 3% support tests - 2015 . Ifthe organization did not check the box on line 14, and line 15 is more than 33 1/3%, and line 17 is not
       more than 33 1/3%, check this box and stop here . The organization qualifies as a publicly supported organization                ^ 1
     b 331 / 3% support tests-2014 . Ifthe organization did not check a box on line 14 or line 19a, and line 16 is more than 33 1/3 % and line
       18 is not more than 33 1/3%, check this box and stop here . The organization qualifies as a publicly supported organization               ^ F
20     Private foundation . Ifthe organization did not check a box on line 14, 19a, or 19b, check this box and see instructions              ^ p

                                                                                                             Schedule A (Form 990 or 990-EZ) 2015
Schedule A (Form 990 or 990-EZ) 2015                                                                                                        Page 4
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             Supporting Organizations ECF No. 44, PageID.999 Filed 09/14/18 Page 128 of 320
             (Complete only if you checked a box on line 11 of Part I If you checked 1la of Part I, complete Sections A and B If you checked
             11b of Part I, complete Sections A and C Ifyou checked 1Ic of Part I, complete Sections A, D, and E If you checked lId of Part
             I, complete Sections A and D, and complete Part V
 Section A. All Supporting Organizations
                                                                                                                                             No
  1     Are all of the organization's supported organizations listed by name in the organization's governing documents?
        If "No,"describe in Part VI how the supported organizations are designated If designated by c/ass or purpose,
        describe the designation If historic and continuing relationship, explain
  2     Did the organization have any supported organization that does not have an IRS determination of status under
        section 509(a)(1) or (2)?
        If "Yes," explain in Part VI how the organization determined that the supported organization was described in section
        509(a)(1) or (2)
 3a Did the organization have a supported organization described in section 501(c)(4), (5), or (6)?
    If 'Yes, 'answer (b) and (c) below
      b Did the organization confirm that each supported organization qualified under section 501(c)(4), (5), or (6) and
        satisfied the public support tests under section 509(a)(2)?
        If 'Yes, 'describe in Part VI when and how the organization made the determination
      c Did the organization ensure that all support to such organizations was used exclusively for section 170(c)(2)(B)
        purposes?
        If "Yes,"explain in Part VI what controls the organization put in place to ensure such use
 4a Was any supported organization not organized in the United States ("foreign supported organization")?
    If "Yes" and if you checked 11a or 11b in Part I, answer (b) and (c) below                                                     4a

      b Did the organization have ultimate control and discretion in deciding whether to make grants to the foreign
        supported organization?
                                                                                                                                   4b
        If "Yes,"describe in Part VI how the organization had such control and discretion despite being controlled or supervised
        by or in connection with its supported organizations
      c Did the organization support any foreign supported organization that does not have an IRS determination under
        sections 501(c)(3) and 509(a)(1) or (2)?
        If "Yes,"explain in Part VI what controls the organization used to ensure that all support to the foreign supported
        organization was used exclusively for section 170(c)(2)(8) purposes
 5a Did the organization add, substitute, or remove any supported organizations during the tax year?
                                                                                                                                   LJ^
    If "Yes,"answer (b) and (c) below (if applicable) Also, provide detail in Part VI, including (i) the names and EIN
    numbers of the supported organizations added, substituted, or removed, (n) the reasons for each such action, (///) the
    authority under the organization's organizing document authorizing such action, and (iv) how the action was
    accomplished (such as by amendment to the organizing document)
      b Type I or Type II only . Was any added or substituted supported organization part ofa class already designated it
        the organization's organizing document?
      c Substitutions only . Was the substitution the result ofan event beyond the organization's control?

 6      Did the organization provide support (whether in the form ofgrants or the provision of services or facilities) to
        anyone other than (a) its supported organizations, (b) individuals that are part of the charitable class benefited b
        one or more of its supported organizations, or (c) other supporting organizations that also support or benefit one
        or more of the filing organization's supported organizations? If "Yes,"providedetai /in Part VI.
 7      Did the organization provide a grant, loan, compensation, or other similar payment to a substantial contributor
        (defined in IRC 4958(c)(3)(C)), a family member ofa substantial contributor, or a 35-percent controlled entity
        with regard to a substantial contributor? If "Yes," complete Part I of Schedu/e L (Form 990)

 8      Did the organization make a loan to a disqualified person (as defined in section 4958) not described in line 7?
        If "Yes,"comp/ete Part II of Schedu/e L (Form 990)
 9a Was the organization controlled directly or indirectly at any time during the tax year by one or more disqualified
    persons as defined in section 4946 (other than foundation managers and organizations described in section 509
    (a)(1) or (2 ))7 If "Yes,"provide detail in Part VI.

      b Did one or more disqualified persons (as defined in line 9(a)) hold a controlling interest in any entity in which the
        supporting organization had an interest? If "Yes,"provide detail in Part VI.

      c Did a disqualified person (as defined in line 9(a)) have an ownership interest in, or derive any personal benefit
        from, assets in which the supporting organization also had an interest? If "Yes,"providedetai / in Part VI.

10a Was the organization subject to the excess business holdings rules ofIRC 4943 because of IRC 4943(f)
    (regarding certain Type II supporting organizations, and all Type III non-functionally integrated supporting
    organizations)? If "Yes,"answerb below
      b Did the organization have any excess business holdings in the tax year? (UseSchedu/e C, Form 4720, to determine
        whether the organization had excess business holdings)

11      Has the organization accepted a gift or contribution from any of the following persons?
      a A person who directly or indirectly controls, either alone or together with persons described in (b) and (c) below,
        the governing body of a supported organization?

      b A family member of a person described in (a) above?
      c A 35% controlled entity of a person described in (a) or (b) above?If "Yes"to a, b, or c, provide detail in Part VI

                                                                                                               Schedule A (Form 990 or 990-EZ) 2015
Schedule A (Form 990 or 990-EZ) 2015                                                                                                       Page 5
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                        organizations (continued)
 Section B. Type I Supporting Organizations
                                                                                                                                            No
        Did the directors, trustees, or membership of one or more supported organizations have the power to regularly
        appoint or elect at least a majority of the organization's directors or trustees at all times during the tax year?
        If "No,"describe in Part VI how the supported organization(s) effectively operated, supervised, or controlled the
        organization's activities If the organization had more than one supported organization, describe how the powers to
        appoint and/or remove directors or trustees were allocated among the supported organizations and what conditions or
        restrictions, if any, applied to such powers during the tax year

  2     Did the organization operate for the benefit of any supported organization other than the supported organization(s
        that operated, supervised, or controlled the supporting organization?
        If "Yes,"explain in Part VI how providing such benefit carried out the purposes of the supported organization(s) that
        operated, supervised or controlled the supporting organization

 Section C. Type II Supporting Organizations
                                                                                                                                            No
        Were a majority of the organization's directors or trustees during the tax year also a majority of the directors or
        trustees of each of the organization's supported organization(s)?
        If "No,"describe in Part VI how control or management of the supporting organization was vested in the same persons
        that controlled or managed the supported organization(s)



                                                                                                                                            No
        Did the organization provide to each of its supported organizations, by the last day of the fifth month of the
        organization's tax year, (1) a written notice describing the type and amount of support provided during the prior
        tax year, (2) a copy of the Form 990 that was most recently filed as of the date of notification, and (3) copies of
        the organization's governing documents in effect on the date of notification, to the extent not previously provided?     1
  2     Were any of the organization's officers, directors, or trustees either (i) appointed or elected by the supported
        organization(s) or (ii) serving on the governing body of a supported organization?
        If "No,"explain in Part VI how the organization maintained a close and continuous working relationship with the          2
        supported organization(s)
 3      By reason of the relationship described in (2), did the organization's supported organizations have a significant
        voice in the organization's investment policies and in directing the use of the organization's income or assets at
        all times during the tax year?
        If "Yes,"describe in Part VI the role the organization's supported organizations played in this regard                   3


 Section E . Tvoe III Functionally - Intearated Suooortina Oraanizations
        Check the box next to the method that the organization used to satisfy the Integral Part Test during the year (see instructions)
          F-   The organization satisfied the Activities Test Complete line 2 below
           p    The organization is the parent of each of its supported organizations Complete line 3 below
          p     The organization supported a governmental entity Describe i n Part V I how you supported a government entity (see
                instructions)
        Activities Test   Answer ( a) and ( b) below.
      a Did substantially all of the organization's activities during the tax year directly further the exempt purposes of the
        supported organization(s) to which the organization was responsive?
        If "Yes,"then in Part VI identify those supported organizations and explain how these activities directly
        furthered their exempt purposes, how the organization was responsive to those supported organizations, and how the
        organization determined that these activities constituted substantially all of its activities
      b Did the activities described in (a) constitute activities that, but for the organization's involvement, one or more of
        the organization's supported organization(s) would have been engaged in?
        If 'Yes, 'explain in Part VI the reasons for the organization's position that its supported organization(s) would have
        engaged in these activities but for the organization's involvement
 3      Parent of Supported Organizations       Answer ( a) and ( b) below.
      a Did the organization have the power to regularly appoint or elect a majority of the officers, directors, or trustees o
        each of the supported organizations? Provide details in Part VI
      b Did the organization exercise a substantial degree ofdirection over the policies, programs and activities of each
        of its supported organizations? If "Yes," describe in Part VI the role played by the organization in this regard

                                                                                                              Schedule A (Form 990 or 990-EZ) 2015
Schedule A (Form 990 or 990-EZ) 2015                                                                                                            Page 6
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     Type                        ECF No. 44,
          III Non - Functionally Integrated    PageID.1001
                                            509(a                Filed
                                                  )( 3) Supporting     09/14/18
                                                                    Organizations                                        Page 130 of 320
  1       Check here if the organization satisfied the Integral Part Test as a qualifying trust on Nov 20, 1970 See instructions . All other
          Type III non-functionally integrated supporting organizations must complete Sections A through E                        E


                                                                                                                                (B) Current Year
            Section A - Adjusted Net Income                                                             (A) Prior Year
                                                                                                                                    (optional)

  1         Net short-term capital gain                                                      1
  2         Recoveries of prior-year distributions                                           2
 3          Other gross income (see instructions)                                            3
 4          Add lines 1 through 3                                                            4
 5          Depreciation and depletion                                                       5
            Portion of operating expenses paid or incurred for production or collection of
 6          gross income or for management, conservation, or maintenance of property
            held for production of income (see instructions)                                 6
 7          Other expenses (see instructions)                                                7
 8          Adjusted Net Income (subtract lines 5, 6 and 7 from line 4)                      8



                                                                                                                                (B) Current Year
             Section B - Minimum Asset Amount                                                           (A) Prior Year
                                                                                                                                    (optional)

  1          Aggregate fair market value of all non-exempt-use assets (see
             instructions for short tax year or assets held for part of year)                1
      a      Average monthly value of securities                                             la
      b      Average monthly cash balances                                                   lb
      c      Fair market value of other non-exempt-use assets                                1c
      d      Total (add lines la, lb, and lc)                                                ld
             Discount claimed for blockage or other factors
      e      (explain in detail in Part VI)
  2          Acquisition indebtedness applicable to non-exempt use assets                    2
 3           Subtract line 2 from line Id                                                    3
 4           Cash deemed held for exempt use Enter 1-1/2% of line 3 (for greater
             amount, see instructions)                                                       4
 5           Net value of non-exempt-use assets (subtract line 4 from line 3)                5
 6           Multiply line 5 by 035                                                          6
 7           Recoveries of prior-year distributions                                          7
 8           Minimum Asset Amount (add line 7 to line 6)                                     8



            Section C - Distributable Amount                                                                                     Current Year

  1         Adjusted net income for prior year (from Section A, line 8, Column A)            1
  2         Enter 85% of line 1                                                              2
 3          Minimum asset amount for prior year (from Section B, line 8, Column A)           3
 4          Enter greater of line 2 or line 3                                                4
 5          Income tax imposed in prior year                                                 5
 6          Distributable Amount . Subtract line 5 from line 4, unless subject to
            emergency temporary reduction (see instructions)                                 6
 7        Check here if the current year is the organization's first as a non-functionally-integrated Type III supporting organization (see
          instructions)

                                                                                                              Schedule A (Form 990 or 990-EZ) 2015
Schedule A (Form 990 or 990-EZ) 2015                                                                                                        Page 7
             Case 2:18-cv-11385-APP
               Type III Non-Functionally ECF  No. 44,
                                         Integrated   PageID.1002
                                                    509(a               Filed
                                                          )( 3) Supporting    09/14/18 (Page
                                                                           Organizations       131 of 320
                                                                                         continued)
Section D - Distributions                                                                                                    Current Year

 1       Amounts paid to supported organizations to accomplish exempt purposes

 2       Amounts paid to perform activity that directly furthers exempt purposes ofsupported organizations, in
         excess of income from activity

 3       Administrative expenses paid to accomplish exempt purposes of supported organizations

 4       Amounts paid to acquire exempt-use assets

 5        Qualified set-aside amounts (prior IRS approval required)

 6        Other distributions (describe in Part VI) See instructions

 7 Total annual distributions . Add lines 1 through 6

 8       Distributions to attentive supported organizations to which the organization is responsive (provide
         details in Part V I) See instructions

 9        Distributable amount for 2015 from Section C, line 6

10        Line 8 amount divided by Line 9 amount


                                                                                                      (ii)                        (iii)
        Section E - Distribution Allocations ( see                        W                   Underdistributions             Distributable
                      instructions )                             Excess Distributions
                                                                                                   Pre-2015                Amount for 2015
 1 Distributable amount for 2015 from Section C, line
   6
 2 U nderdistributions, if any, for years prior to 2015
   (reasonable cause required--see instructions)
 3 Excess distributions carryover, if any, to 2015
    a
    b
 c
    d     From 2013.
    e     From 2014.
    f Total of lines 3a through e
    g     Applied to underdistributions of prior years
    h     Applied to 2015 distributable amount
    i    Carryover from 2010 not applied (see
         instructions)
 j Remainder Subtract lines 3g, 3h, and 3i from 3f
4 Distributions for 2015 from Section D, line 7


    a Applied to underdistributions of prior years
    b Applied to 2015 distributable amount

    c Remainder Subtract lines 4a and 4b from 4
5         Remaining underdistributions for years prior to
         2015, ifany Subtract lines 3g and 4a from line 2
         (if amount greater than zero, see instructions)
6         Remaining underdistributions for 2015 Subtract
         lines 3h and 4b from line 1 (if amount greater than
         zero, see instructions)
7         Excess distributions carryover to 2016 . Add lines
         3j and 4c
8        Breakdown of line 7
    a
    b
    c     Excess from 2013.     .   .   .   .   .   .


    d     From 2014.
    e     From 2015.
                                                                                                          Schedule A (Form 990 or 990-EZ ) (2015)
Schedule A (Form 990 or 990-EZ) 2015                                                                                        Page 8
ff^    Case 2:18-cv-11385-APP
          Supplemental Information.ECF No. 44, PageID.1003 Filed 09/14/18 Page 132 of 320
            Provide the explanations required by Part II, line 10; Part II, line 17a or 17b; Part III, line 12; Part IV,
            Section A, lines 1, 2, 3b, 3c, 4b, 4c, 5a, 6, 9a, 9b, 9c, 11a, 11b, and 11c; Part IV, Section B, lines 1 and 2;
            Part IV, Section C, line 1; Part IV, Section D, lines 2 and 3; Part IV, Section E, lines 1c, 2a, 2b, 3a and 3b;
            Part V, line 1; Part V, Section B, line le; Part V Section D, lines 5, 6, and 8; and Part V, Section E, lines 2, 5,
            and 6. Also complete this part for any additional information. (See instructions).


                                                 Facts And Circumstances Test




         Return Reference                                                    Explanation
                                                                                               Schedule A (Form 990 or 990-EZ) 2015
lefile GRAPHIC print - DO NOT PROCESS                              As Filed Data -                                                    DLN: 93493121001267
                 Case 2:18-cv-11385-APP ECF No. 44, PageID.1004 Filed 09/14/18 Page 133 of 320
                                                                                    OMB No 1545-0047
SCHEDULE D                                           Supplemental Financial Statements
(Form 990)
                                                 ^ Complete if the organization answered " Yes," on Form 990,
                                                                                                                                              203.5
                                               Part IV , line 6, 7 , 8, 9, 10 , 11a, 11b, 11c, 11d, 11e, 11f , 12a, or 12b.
Department of the                                                       ^ Attach to Form 990.                                                 Ope n t o Pu b lic
Treasury                        Information about Schedule D (Form 990) and its instructions is at www . irs.gov / form990 .                     Ins pe cti o n
Internal Revenue Service
 Name of the organization                                                                                                    Employer identification number
 CARELINK NETWORK INC
                                                                                                                          XX-XXXXXXX
                     Organizations Maintaining Donor Advised Funds or Other Similar Funds or Accounts.
                     Complete if the organization answered "Yes" on Form 990, Part IV , line 6.


 1               Total number at end of year

 2               Aggregate value of contributions to (during
                 year)
 3               Aggregate value of grants from (during year)

4                Aggregate value at end of year

 5         Did the organization inform all donors and donor advisors in writing that the assets held in donor advised
           funds are the organization ' s property , subject to the organization ' s exclusive legal control?                                    [Yes         [ No
 6         Did the organization inform all grantees , donors, and donor advisors in writing that grant funds can be
           used only for charitable purposes and not for the benefit of the donor or donor advisor, or for any other purpose
           conferring impermissible private benefit?                                                                                             [Yes         [ No
                     Conservation Easements . Complete if the organization answered " Yes" on Form 990, Part IV , line 7.
 1         Purpose ( s) of conservation easements held by the organization ( check all that apply)
               Preservation of land for public use ( e g , recreation or
           education )                                                                        [    Preservation of an historically important land area
                  Protection of natural habitat                                               [    Preservation ofa certified historic structure
                  Preservation of open space
 2         Complete lines 2a through 2d if the organization held a qualified conservation contribution in the form ofa conservation
           easement on the last day of the tax year
                                                                                                                                     Held at the End of the Year
     a     Total number of conservation easements                                                                            2a
     b     Total acreage restricted by conservation easements                                                                2b
     c     N umber of conservation easements on a certified historic structure included in (a)                               2c
     d     N umber of conservation easements included in (c) acquired after 8/17/06, and not on a
           historic structure listed in the National Register                                                                2d

 3         N umber of conservation easements modified, transferred, released, extinguished, or terminated by the organization during the
           tax year PO,

4          N umber of states where property subject to conservation easement is located ^
 5         Does the organization have a written policy regarding the periodic monitoring, inspection, handling of
           violations, and enforcement of the conservation easements it holds?                                                             [ Yes      [ No
 6         Staffand volunteer hours devoted to monitoring, inspecting, handling ofviolations, and enforcing conservation easements during the
           year
           00,
 7         Amount of expenses incurred in monitoring, inspecting, handling of violations, and enforcing conservation easements during the year


 8         Does each conservation easement reported on line 2(d) above satisfy the requirements of section 170(h)(4)
           (B)(i) and section 170(h)(4)(B)(ii)7                                                                                            [Yes       [No
 9         In Part XIII, describe how the organization reports conservation easements in its revenue and expense statement, and
           balance sheet, and include, if applicable, the text of the footnote to the organization's financial statements that describes
           the organization's accounting for conservation easements
                     Organizations Maintaining Collections of Art , Historical Treasures, or Other Similar Assets.
                     ComDlete if the oraanization answered "Yes" on Form 990. Part IV. line 8.
 la        Ifthe organization elected, as permitted under SFAS 116 (ASC 958), not to report in its revenue statement and balance sheet
           works of art, historical treasures, or other similar assets held for public exhibition, education, or research in furtherance of public
           service, provide, in Part XIII, the text of the footnote to its financial statements that describes these items
     b     Ifthe organization elected, as permitted under SFAS 116 (ASC 958), to report in its revenue statement and balance sheet
           works of art, historical treasures, or other similar assets held for public exhibition, education, or research in furtherance of public
           service, provide the following amounts relating to these items

         (i) Revenue included on Form 990, Part V III, line 1
         (ii) Assets included in Form 990, Part X                                                                      ^ $
 2         If the organization received or held works of art, historical treasures, or other similar assets for financial gain, provide the
           following amounts required to be reported under SFAS 116 (ASC 958) relating to these items

     a     Revenue included on Form 990, Part VIII, line 1

     b     Assets included in Form 990, Part X
For Paperwork Reduction Act Notice, see the Instructions for Form 990.                                         Cat No 52283D           Schedule D (Form 990) 2015
           Case 2:18-cv-11385-APP ECF No. 44, PageID.1005 Filed 09/14/18 Page 134 of 320 Page
Schedule D (Form 990) 2015                                                                                                                                                                                                                                    2
          171       Organizations Maintaining Collections of Art , Historical Treasures , or Other Similar Assets
                    (continued)
3        Using the organization's acquisition, accession, and other records, check any of the following that are a significant use of its
         collection items (check all that apply)
    a    [      Public exhibition                                                                                                                  d               [       Loan or exchange programs

    b    _      Scholarly research                                                                                                                 e               P       Other

    c    [      Preservation for future generations
4        Provide a description of the organization's collections and explain how they further the organization's exempt purpose in
         Part XIII
5        During the year, did the organization solicit or receive donations of art, historical treasures or other similar
         assets to be sold to raise funds rather than to be maintained as part of the organization's collection?                                                                                                                  Yes           No
                    Escrow and Custodial Arrangements.
                    Complete if the organization answered "Yes" on Form 990, Part IV, line 9, or reported an amount on Form 990,
                    Part X, line 21.
la       Is the organization an agent, trustee, custodian or other intermediary for contributions or other assets not
         included on Form 990, Part X7                                                                                                                                                                                     [ Yes            [ No


    b      If "Yes," explain the arrangement in Part XIII and complete the following table                                                                                                                                    Amount

    c      Beginning balance                                                                                                                                                                            1c

    d      Additions during the year                                                                                                                                                                    ld

    e      Distributions during the year                                                                                                                                                                le

    f      Ending balance                                                                                                                                                                               if

2a       Did the organization include an amount on Form 990, Part X, line 21, for escrow or custodial account liability?                                                                                                   F-Yes            [ No


    b    If "Yes," explain the arrangement in Part XIII Check here if the explanation has been provided in Part XIII                                                                                                     . . . . . . . .             ❑
                    Endowment Funds. Complete if the organization answered "Yes" to Form 990, Part IV, line 10.
                                                                                           (a)Current year                                     (b)Prior year                           b (c)Two years back   (d )Three years back        (e)Four years back

la       Beginning of year balance                 .
    b    Contributions

    c    Net investment earnings, gains, and
         losses
    d    Grants or scholarships
    e    Other expenditures for facilities
         and programs


    f    Administrative expenses               .
    g    End of year balance


2        Provide the estimated percentage of the current year end balance (line 1g, column (a)) held as

    a    Board designated or quasi-endowment ^
    b    Permanent endowment ^
    c   Temporarily restricted endowment ^
        The percentages on lines 2a, 2b, and 2c should equal 100%
3a      Are there endowment funds not in the possession of the organization that are held and administered for the
        organization by                                                                                                                                                                                                                      Yes     No
         (i) unrelated organizations                   .       .       .       .       .       .       .       .       .       .               .           .       .       .       .      .   .                                   3a(i)
         (ii) related organizations        .               .       .       .       .       .       .       .       .       .           .               .       .       .       .                                                  3a(ii)
    b    If "Yes" on 3a(ii), are the related organizations listed as required on Schedule R?                                                                                              .                                 . I     3b
4        Describe in Part XIII the intended uses of the organization's endowment funds

Lc^                 Land , Buildings, and Equipment.
                    Complete if the organization answered 'Yes' to Form 990. Part IV. line 11a.See Form 990. Part X. line 10.
                        Description of property                                                                                                                Cost or other basis         (b)                         Accumulated           (d)Bookvalue
                                                                                                                                                       (a)        (investment)     Cost or other basis              (c)depreciation
                                                                                                                                                                                         (other)

la      Land    .                                                                                                                          .
    b Buildings
    c   Leasehold improvements         .                                                                                           .
    d Equipment         .                                                                                                          .
    e Other         .
Total . Add lines la through le (Column (d) must equal Form 990, Part X, column (B), line 10(c))                                                                                                  .                        . ^                                0
                                                                                                                                                                                                                       Schedule D (Form 990) 2015
         Case 2:18-cv-11385-APP ECF No. 44, PageID.1006 Filed 09/14/18 Page 135 of 320 Page
Schedule D (Form 990) 2015                                                                                                                        3
limayhol       Investments - Other Securities . Complete if the organization answered 'Yes' on Form 990, Part IV, line 11b.

                      (a) Description of security or category                                (b)Book value           (c)Method of valuation
                            (including name of security)                                                        Cost or end-of-year market value
(1)Financial derivatives
(2)Closely-held equity interests
(3)Other




Total . (Column (b) must equal Form 990, Part X, col (B) l ne 12)                   ^
                Investments - Program Related.
                Complete if the organization answered 'Yes' on Form 990, Part IV, line 11c-See Form 990, Part X, line 13.
                       (a) Description of investment                      (b) Book value            (c) Method of valuation
                                                                     I                        I Cost or end-of-year market value




Total . (Column (b) must equal Form 990, Part X, col (B) l ne 13)

MINN           Other Assets. Complete if the organization answered 'Yes' on Form 990, Part IV, line l Id See Form 990, Part X, line 15
                                              (a) Description                                                     (b) Book value




Total . (Column (b) must equal Form 990, Part X, col (B) line 15)                                               . ^
               Other Liabilities. Complete if the organization answered 'Yes' on Form 990, Part IV, line 11e or 11f.
               See Form 990 , Part X line 25.
                        (a) Description of liability                      (b) Book value


Federal income taxes

PAYABLE TO BHPI                                                                  1,277,431




Total . (Column (b) must equal Form 990, Part X, col (B) line 25)   ^ I          1,277,431

2. Liability for uncertain tax positions In Part XIII, provide the text of the footnote to the organization's financial statements that reports the
organization's liability for uncertain tax positions under FIN 48 (ASC 740) Check here if the text of the footnote has been provided in Part
XIII
                                                                                                                      Schedule D (Form 990) 2015
          Case 2:18-cv-11385-APP ECF No. 44, PageID.1007 Filed 09/14/18 Page 136 of 320 Page
Schedule D (Form 990) 2015                                                                                                                                                                                                                                                                                                  4
                Reconciliation of Revenue per Audited Financial Statements With Revenue per Return
                Com p lete if the org anization answered 'Yes' on Form 990 , Part IV line 12a.
1         Total revenue, gains, and other support per audited financial statements                                                                                                                                             .                                                                    1            170,541,077
2         Amounts included on line 1 but not on Form 990, Part V III, line 12
    a     Net unrealized gains (losses) on investments                                                                                                                                                                             2a
    b     Donated services and use of facilities                                                      .                                                                                                                            2b
    c     Recoveries of prior year grants                                                                                                                                                                                          2c
    d     Other (Describe in Part XIII )                                                                                                                                                                                           2d
    e     Add lines 2a through 2d             .           .               .           .               .           .               .           .               .           .                .           .           .       .           .        .           .           .           .       .       2e                      0
3         Subtract line 2e from line 1                .           .               .           .               .           .               .           .               .             .              .           .       .           .        .           .           .                               3            170,541,077
4         Amounts included on Form 990, Part V III, line 12, but not on line 1
    a     Investment expenses not included on Form 990, Part VIII, line 7b                                                                                                                                                         4a
    b     Other (Describe in Part XIII )                          .               .           .               .           .               .           .               .             .                                              4b
    c     Add lines 4a and 4b .           .           .               .           .               .           .               .           .               .           .                .           .           .       .           .        .           .           .                                c                      0
5         Total revenue Add lines 3 and 4c.(This must equal Form 990, Part I, line 12 )                                                                                                                                                             .           .           .           .       .   5            170,541,077
                Reconciliation of Expenses per Audited Financial Statements With Expenses per Return.
                Com p lete if the org anization answered 'Yes' on Form 990 , Part IV line 12a.
1         Total expenses and losses per audited financial statements                                                                                                                                                                                                                                1            169,098,816
2         Amounts included on line 1 but not on Form 990, Part IX, line 25
    a     Donated services and use of facilities                                                      .                                                                                                                            2a
    b     Prior year adjustments                                                                                                                                                                                                   2b
    c     Other losses    .   .       .           .           .               .           .               .           .               .           .               .           .                .           .                           2c
    d     Other (Describe in Part XIII )                          .               .           .               .           .               .           .               .            .                                               2d
    e     Add lines 2a through 2d .                       .           .               .           .               .           .               .           .               .             .              .           .       .           .        .           .           .           .               2e                      0
3         Subtract line 2e from line 1                .           .               .           .               .           .               .           .               .            .               .           .       .           .        .           .           .           .                   3            169,098,816
4         Amounts included on Form 990, Part IX, line 25, but not on line 1:
    a     Investment expenses not included on Form 990, Part VIII, line 7b                                                                                                                                                         4a
    b     Other (Describe in Part XIII )                          .               .           .               .           .               .           .               .            .                                               4b
    c     Add lines 4a and 4b     .       .           .           .               .           .               .           .               .           .               .            .               .           .       .           .        .           .           .           .                    c                      0
5         Total expenses Add lines 3 and 4c. (This must equal Form 990, Part I, line 18 )                                                                                                                                                                                                           5            169,098,816

                  Supplemental Information
    Provide the descriptions required for Part II, lines 3, 5, and 9, Part III, lines la and 4, Part IV, lines 11b and 21b,
    Part V, line 4, Part X, line 2, Part XI, lines 2d and 4b, and Part XII, lines 2d and 4b Also complete this part to provide any additional
    information

             Return Reference                                                                                                                                                     Explanation
PART X, LINE 2                                                    UNDER PROVISION OF SECTION 501(C)(3) OF THE INTERNAL REVENUE CODE AND THE
                                                                  APPLICABLE INCOME TAX REGULATIONS OF THE STATE OF MICHIGAN, THE NETWORK IS
                                                                  EXEMPT FROM INCOME TAXES, EXCEPT FOR NET INCOME FROM UNRELATED BUSINESS
                                                                  INCOME, AS A SUBORDINATE UNIT OF BEHAVIORAL HEALTH PROFESSIONAL, INC (BHPI)
                                                                  THE NETWORK IS EXEMPT FROM FEDERAL INCOME TAXES UNDER SECTION 509(A) OFTHE
                                                                  INTERNAL REVENUE CODE AS A PUBLIC CHARITY THERE WERE NO UNRELATED BUSINESS
                                                                  ACTIVITIES IN 2016, AND ACCORDINGLY, NO TAX EXPENSE WAS INCURRED DURING THE
                                                                  YEAR ENDED SEPTEMBER 30, 2016 ACCOUNTING PRINCIPLES GENERALLY ACCEPTED IN
                                                                  THE UNITED STATES OF AMERICA REQUIRE MANAGEMENT TO EVALUATE TAX POSITIONS
                                                                  TAKEN BY THE NETWORK AND RECOGNIZE A TAX LIABILITY IF THE NETWORK HAS TAKEN AN
                                                                  UNCERTAIN POSITION THAT MORE LIKELY THAN NOT WOULD NOT BE SUSTAINED UPON
                                                                  EXAMINATION BY THE INTERNAL REVENUE SERVICE OR OTHER APPLICABLE TAXING
                                                                  AUTHORITIES MANAGEMENT HAS ANALYZED THE TAX POSITIONS TAKEN BY THE NETWORK
                                                                  AND HAS CONCLUDED THAT AS OF SEPTEMBER 30, 2016,THERE ARE NO UNCERTAIN
                                                                  POSITIONS TAKEN OR EXPECTED TO BE TAKEN THAT WOULD REQUIRE RECOGNITION OFA
                                                                  LIABILITY OR DISCLOSURE IN THE FINANCIAL STATEMENTS THE ORGANIZATION'S
                                                                  INCOME TAX FILINGS ARE SUBJECT TO AUDIT BY VARIOUS TAXING AUTHORITIES THE
                                                                  ORGANIZATION'S OPEN AUDIT PERIODS ARE FOR THE FISCAL YEARS ENDED SEPTEMBER
                                                                  30, 2013 - 2016
                                                                                                                                                                                                                                                                                                    Schedule D (Form 990) 2015
       Case 2:18-cv-11385-APP ECF No. 44, PageID.1008 Filed 09/14/18 Page 137 of 320 Page
Schedule D (Form 990) 2015                                                                       5
              Supplemental Information (continued)
         Return Reference     I                      Explanation




                                                                         Schedule D (Form 990) 2015
l efile GRAPHIC p rint - DO NOT PROCESS                     I As Filed Data - I                                           DLN: 93493121001267
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Schedule J                   Compensation Information                   OMB No 1545-0047

(Form 990)
                                      For certain Officers, Directors, Trustees, Key Employees, and Highest
                                                             Compensated Employees
                                  ^ Complete if the organization answered "Yes" on Form 990, Part IV, line 23.
                                                               ^ Attach to Form 990.
                                                                                                                                 2 0 15
Department of the          ^ Information about Schedule ] (Form 990) and its instructions is at www.irs.gov/form990 .
Treasury


  Name of th e organization                                                                                    Employer identification number
 CARELINK NETWORK INC
                                                                                                               XX-XXXXXXX
                Questions Regarding Compensation
                                                                                                                                           Yes    No
 la      Check the appropiate box(es) if the organization provided any of the following to or for a person listed on Form
         990, Part VII, Section A, line la Complete Part III to provide any relevant information regarding these items

              First-class or charter travel                          [    Housing allowance or residence for personal use
              Travel for companions                                  [    Payments for business use of personal residence
              Tax idemnification and gross-up payments               [    Health or social club dues or initiation fees
         1    Discretionary spending account                         [    Personal services (e g , maid, chauffeur, chef)


     b   If any of the boxes in line la are checked, did the organization follow a written policy regarding payment or
         reimbursement or provision of all of the expenses described above? If"No," complete Part III to explain                      lb
 2       Did the organization require substantiation prior to reimbursing or allowing expenses incurred by all
         directors, trustees, officers, including the CEO/Executive Director, regarding the items checked in line la?                  2


 3       Indicate which, if any, of the following the filing organization used to establish the compensation of the
         organization's CEO/Executive Director Check all that apply Do not check any boxes for methods
         used by a related organization to establish compensation of the CEO/Executive Director, but explain in Part III

         F_   Compensation committee                                 F_   Written employment contract
              Independent compensation consultant                    [    Compensation survey or study
         F_   Form 990 of other organizations                        F_   Approval by the board or compensation committee


4        During the year, did any person listed on Form 990, Part VII, Section A, line la with respect to the filing organization
         or a related organization

     a   Receive a severance payment or change-of-control payment?                                                                    4a          No
     b   Participate in, or receive payment from, a supplemental nonqualified retirement plan?                                        4b          No
     c   Participate in, or receive payment from, an equity-based compensation arrangement?                                           4c          No
         If "Yes" to any of lines 4a-c, list the persons and provide the applicable amounts for each item in Part III


         Only 501 ( c)(3), 501 ( c)(4), and 501 ( c)(29) organizations must complete lines 5-9.
 5       For persons listed on Form 990, Part VII, Section A, line la, did the organization pay or accrue any
         compensation contingent on the revenues of

     a   The organization?                                                                                                            5a          No
     b   Any related organization?                                                                                                    Sb          No
         If "Yes," on line 5a or 5b, describe in Part III

 6       For persons listed on Form 990, Part VII, Section A, line la, did the organization pay or accrue any
         compensation contingent on the net earnings of

     a   The organization?                                                                                                            6a          No
     b   Any related organization?                                                                                                    6b          No
         If "Yes," on line 6a or 6b, describe in Part III
 7       For persons listed on Form 990, Part VII, Section A, line la, did the organization provide any non-fixed
         payments not described in lines 5 and 6? If "Yes," describe in Part III                                                       7          No
 8       Were any amounts reported on Form 990, Part VII, paid or accured pursuant to a contract that was
         subject to the initial contract exception described in Regulations section 53 4958-4(a)(3)? If "Yes," describe
         in Part III                                                                                                                   8          No
 9       If "Yes" on line 8, did the organization also follow the rebuttable presumption procedure described in Regulations
         section 53 4958-6(c)?                                                                                                         9
For Paperwork Reduction Act Notice , see the Instructions for Form 990.                             Cat N o 50053T          Schedule ] (Form 990) 2015
Schedule J (Form 990) 2015          Case 2:18-cv-11385-APP ECF No. 44, PageID.1010 Filed 09/14/18 Page 139 of 320                                                                                                  Page 2
             Officers, Directors , Trustees , Key Employees, and Highest Compensated Employees . Use duplicate copies if additional space is needed.
For each individual whose compensation must be reported on Schedule J, report compensation from the organization on row (i) and from related organizations, described in the
instructions, on row (ii) Do not list any individuals that are not listed on Form 990, Part VII
Note . The sum of columns (B)(i)-(iii) for each listed individual must equal the total amount of Form 990, Part VII, Section A, line la, applicable column (D) and (E) amounts for that individual


      (A) Name and Title                    (B) Breakdown of W-2 and/or 1099-M ISC compensation                       (C) Retirement and         (D) Nontaxable           (E) Total ofcolumns       (F) Compensation in
                                                                           (ii)                      (iii)               other deferred              benefits                   (B)(i)-(D)           column(B) reported
                                                  Base
                                                                   Bonus & incentive          Other reportable          compensation                                                                 as deferred on prior
                                          (i) compensation
                                                                     compensation              compensation                                                                                               Form 990
1 DOREEN NIED                    (i)              0                         0                         0                         0                         0                          0                         0
EXECUTIVE DIRECTOR                      _ _ _ _ _ _ _ _ _ _ _ _   - - - - - - - - - - - -   - - - - - - - - - - - -   - - - - - - - - - - - -   - - - - - - - - - - - -     - - - - - - - - - - -    - - - - - - - - - - - -
                                               150,434                      0                         0                       7,581                     1,301                     159,316                      0
                                 (ii)
                                                                                                                                                                                            Schedule ] (Form 990) 2015
Schedule J (Form 990) 2015         Case 2:18-cv-11385-APP ECF No. 44, PageID.1011 Filed 09/14/18 Page 140 of 320                                                                               Page 3
             Supplemental Information
Provide the information, explanation, or descriptions required for Part I, lines la, 1b, 3, 4a, 4b, 4c, 5a, 5b, 6a, 6b, 7, and 8, and for Part II Also complete this part for any additional information
           Return Reference             I                                                                          Explanation

                                                                                                                                                                          Schedule ] (Form 990) 2015
l efile GRAPHIC p rint - DO NOT PROCESS           I As Filed Data - I                                           DLN: 93493121001267
    Case 2:18-cv-11385-APP ECF No. 44, PageID.1012 Filed 09/14/18 Page 141
                                                                       OMB of
                                                                           No 320
                                                                              1545-0047
SCHEDULE 0         Supplemental Information to Form 990 or 990 -EZ
(Form 990 or                                                                                                               O
                                  Complete to provide information for responses to specific questions on
990-EZ )                               Form 990 or 990-EZ or to provide any additional information.
                                                    ^ Attach to Form 990 or 990-EZ.                                    O pen to Public
Department of the            ^ I nformation about Schedule 0 (Form 990 or 990-EZ ) and its instructions is at            Inspection
Treasury                                                 www.irs . gov/f orm990.
Internal Revenue
Service

Name of the organization                                                                            Employer identification number
CARELINK NETWORK INC
                                                                                                    XX-XXXXXXX


990 Schedule 0, Supplemental Information
             Return Reference                                                        Explanation

 FORM 990, PART VI, SECTION A, LINE 3       MANAGEMENT DUTIES AREASSUMED BY BEHAVIORAL HEALTH PROFESSIONALS, INC

 FORM 990, PART V I, SECTION A, LINE 7A     THE BOARD OF DIRECTORS HAVE THE POWER TO APPOINT MEMBERS TO THE BOARD
      Case 2:18-cv-11385-APP
990 Schedule                      ECF No.
             0, Supplemental Information               44, PageID.1013 Filed 09/14/18 Page 142 of 320
      Return Reference                                                   Explanation

 FORM 990 , PART VI, SECTION    THE FORM 990 IS EXTENSIVELY REVIEWED BY THE FINANCE DIRECTOR BEFORE FILING IT IS ALSO
 B, LINE 11                     PROVIDED TO THE BOARD OF DIRECTORS BEFORE FILING

 FORM 990 , PART V I, SECTION   DISCLOSURE INFORMATION IS REVIEWED BY CORPORATE COUNSEL AND A DETERMINATION IS MADE TO
 B, LINE 12C                    MANAGE THE CONFLICT
      Case 2:18-cv-11385-APP
990 Schedule                      ECF No.
             0, Supplemental Information            44, PageID.1014 Filed 09/14/18 Page 143 of 320
      Return Reference                                               Explanation

 FORM 990, PART VI, SECTION   THE GOVERNING DOCUMENTS, CONFLICT OF INTEREST POLICY, AND THE FINANCIAL STATEMENTS ARE
 C, LINE 19                   MADE AVAILABLE TO THE PUBLIC UPON REQUEST

 PART XII, LINE 2C            THE ORGANIZATION HAS A COMMITTEE THAT ASSUMES RESPONSIBILITY FOR THE OVERSIGHT OF THE
                              AUDI
                              T AND THE PROCESS FOR THE AUDIT HAS NOT CHANGED FROM THE PRIOR Y EAR
l efile GRAPHIC p rint - DO NOT PROCESS                         I As Filed Data - I                                                                                                           DLN: 93493121001267
                                        Case 2:18-cv-11385-APP ECF No. 44, PageID.1015 Filed 09/14/18 Page 144 of 320                                                                               OMB No 1545-0047
SCHEDULE R                                             Related Organizations and Unrelated Partnerships
(Form 990)                                                  ^ Complete if the organization answered " Yes" on Form 990, Part IV, line 33, 34, 35b, 36, or 37.
                                                                                                                                                                                                      203.5
Department of the Treasury                 ^ Attach to Form 990.            ^ Information about Schedule R (Form 990) and its instructions is at www . irs.gov / form990 .                            O p e n to Public
Internal Revenue Service                                                                                                                                                                                Inspection
Name of the organization                                                                                                                                      Employer identification number
CARELINK NETWORK INC
                                                                                                                                                             XX-XXXXXXX

               Identification of Disregarded Entities Complete if the organization answered "Yes" on Form 990, Part IV, line 33.
                                      (a)                                                      (b)                    (c)                  (d )              ( e)                            (f)
          Name, address, and EIN (if applicable) of disregarded entity                   Primary activity   Legal domicile (state     Total income    End-of-year assets             Direct controlling
                                                                                                             or foreign country)                                                           entity




ZjCaM Identification of Related Tax-Exempt Organizations Complete if the organization answered "Yes" on Form 990, Part IV, line 34 because it had one
      nr mnra ralatarl tax-axamnt nrnani7atinnc rliirinn tha fax vaar
                                   (a)                                                        (b)                       (c)                   (d)                      (e)                           (f)                (g)
               Name, address, and EIN of related organization                           Primary activity      Legal domicile (state   Exempt Code section    Public chanty status            Direct controlling   Section 512(b)
                                                                                                               or foreign country)                          (if section 501(c)(3))                 entity         (13) controlled
                                                                                                                                                                                                                      entity?
                                                                                                                                                                                                                   Yes      No
(1)BEHAVIORAL HEALTH PROFESSIONALS INC                                            MANAGEMENT                           MI             501(C)(3)             LINE 11C, III-FI                                                No
1333 BREWERY PARK BLVD STE 300
                                                                                                                                                                                       N/A
DETROIT, MI 48207
XX-XXXXXXX




For Paperwork Reduction Act Notice, see the Instructions for Form 990.                                             Cat N o 50135Y                                                            Schedule R (Form 990) 2015
Schedule R (Form 990) 2015                                                                                                                                                                                             Page 2

           Identification
                                   Case 2:18-cv-11385-APP ECF No. 44, PageID.1016 Filed 09/14/18 Page 145 of 320
                                of Related Organizations Taxable as a Partnership Complete if the organization answered "Yes" on Form 990,                                                        Part IV, line 34
           because it had one or more related organizations treated as a partnership during the tax year.

                                        (a)                                        (b)             (C)           (d)                (e)                 (f)         (g )       (h)             (i)         V)              (k)
                            Name, address, and EIN of                        Primary activity     Legal         Direct         Predominant           Share of    Share of Disproprtionate Code V-UBI   General or      Percentage
                               related organization                                             domicile     controlling     income(related,      total income end-of-year  allocations? amount in box managing        ownership
                                                                                                (state or      entity           unrelated,                        assets                      20 of     partner?
                                                                                                 foreign                      excluded from                                               Schedule K-1
                                                                                                country)                        tax under                                                 (Form 1065)
                                                                                                                              sections 512-
                                                                                                                                   514)
                                                                                                                                                                            Yes      No                  Yes    No




           Identification of Related Organizations Taxable as a Corporation or Trust Complete if the organization answered "Yes" on Form 990, Part IV, line
           34 because it had one or more related organizations treated as a corporation or trust during the tax year.

                     (a)                                      (b)                 (c)                              (d)                 (e)               (f)               (g )               ( h)            (i)
         Name, address, and EIN of                      Primary activity         Legal                      Direct controlling   Type of entity     Share of total   Share of end-        Percentage     Section 512
            related organization                                               domicile                           entity           (C corp, S          income           of-year           ownership        (b)(13)
                                                                           (state or foreign                                          corp,                              assets                           controlled
                                                                               country)                                             or trust)                                                               entity?
                                                                                                                                                                                                          Yes           No




                                                                                                                                                                                               Schedule R (Form 990) 2015
Schedule R (Form 990) 2015                                                                                                                                                                      Page 3

                Transactions
                                      Case 2:18-cv-11385-APP ECF No. 44, PageID.1017 Filed 09/14/18 Page 146 of 320
                                   With Related Organizations Complete if the organization answered "Yes" on Form 990, Part IV, line 34, 35b, or                        36.
         Note . Complete line 1 if any entity is listed in Parts II, III, or IV of this schedule                                                                                                       No

 1 During the tax year, did the orgranization engage in any of the following transactions with one or more related organizations listed in Parts II-IV?
     a   Receipt of (i) interest, (ii)annuities, (iii)royalties, or(iv)rent from a controlled entity .                                                                                                 No
     b   Gift, grant, or capital contribution to related organization(s) .                                                                                                                             No

     c   Gift, grant, or capital contribution from related organization(s) .                                                                                                                           No

     d   Loans or loan guarantees to or for related organization(s)                                                                                                                                    No

     e   Loans or loan guarantees by related organization(s)                                                                                                                                           No


     f   Dividends from related organization(s)                                                                                                                                                        No

     g   Sale of assets to related organization(s) .                                     .                                                                                                             No
     h   Purchase of assets from related organization(s) .                               .                                                                                                             No

     i   Exchange of assets with related organization(s) .                           .                                                                                                                 No

     j   Lease of facilities, equipment, or other assets to related organization(s)                                                                                                                    No


     k   Lease of facilities, equipment, or other assets from related organization(s) .        .   .     .   .                                                                                         No
     I   Performance of services or membership or fundraising solicitations for related organization(s)                                                                                                No


     m Performance of services or membership or fundraising solicitations by related organization(s)                                                                                     1m Yes

     n Sharing of facilities, equipment, mailing lists, or other assets with related organization(s)                                                                                     in            No

     o   Sharing of paid employees with related organization(s) .                                                                                                                        to   Yes


     p   Reimbursement paid to related organization(s) for expenses                                                                                                                      1p            No
     q   Reimbursement paid by related organization(s) for expenses                                                                                                                      1q            No


     r   Other transfer of cash or property to related organization(s) .                                                                                                                 lr            No
     s   Other transfer of cash or property from related organization(s)                                                                                                                 1s            No


 2       Ifthe answer to any of the above is "Yes," see the instructions for information on who must complete this line, including covered relationships and transaction thresholds
                                                 (a)                                                                     (b)                (c)                                 (d)
                                     Name of related organization                                                    Transaction      Amount involved          Method of determining amount involved
                                                                                                                      type (a-s)
(1)BEHAVIORAL HEALTH PROFESSIONALS INC                                                                           0                         251,514        100% OF SALARY AND BENEFITS

(2)BEHAVIORAL HEALTH PROFESSIONALS INC                                                                           M                        6,311,007       ACTUAL COST




                                                                                                                                                                         Schedule R (Form 990) 2015
Schedule R (Form 990) 2015           Case 2:18-cv-11385-APP ECF No. 44, PageID.1018 Filed 09/14/18 Page 147 of 320                                                                                              Page 4

             Unrelated Organizations Taxable as a Partnership Complete if the organization answered "Yes" on Form 990, Part IV, line 37.
Provide the following information for each entity taxed as a partnership through which the organization conducted more than five percent of its activities (measured by total assets or gross
revenue) that was not a related organization See instructions regarding exclusion for certain investment partnerships
                                (a)                                   (b)             (c)            (d)               (e)            (f)          (g )            (h)               (i)          V)                (k)
                  Name, address, and EIN of entity              Primary activity     Legal      Predominant     Are all partners   Share of     Share of     Disproprtionate    Code V-UBI    General or        Percentage
                                                                                   domicile        income           section          total    end-of-year      allocations?      amount in    managing          ownership
                                                                                   (state or      (related,        501(c)(3)        income       assets                            box 20      partner?
                                                                                    foreign      unrelated,     organizations?                                                  of Schedule
                                                                                   country)    excluded from                                                                        K-1
                                                                                                 tax under                                                                      (Form 1065)
                                                                                               sections 512-
                                                                                                    514)
                                                                                                               Yes   No                                     Yes            No                 Yes          No




                                                                                                                                                                                      Schedule R (Form 990) 2015
    Schedule R (Form 990) 2015                                                                                                               Page 5
                                    Case 2:18-cv-11385-APP ECF No. 44, PageID.1019 Filed 09/14/18 Page 148 of 320
                  Supplemental Information
                  Provide additional information for responses to ouestions on Schedule R (see instructions

I            Return Reference                                                                                 Explanation
                                                                                                                            Schedule R (Form 990) 2015
Case 2:18-cv-11385-APP ECF No. 44, PageID.1020 Filed 09/14/18 Page 149 of 320




           EXHIBIT
             D
   Report of Investigative Findings from
  Office of Recipient Rights, dated 2/8/17
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             E
   Report of Investigative Findings from
   Office of Recipient Rights, Amended,
                  6/12/17
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             F
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  Office of Recipient Rights, dated 9/8/17
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           EXHIBIT
             G
           Summary Report of Recipient
            Rights Complaint Amended
                  Report – 4th revision
Case 2:18-cv-11385-APP ECF No. 44, PageID.1079 Filed 09/14/18 Page 208 of 320
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           EXHIBIT
             H
       Clinical Certificate Completed by
      Defendant Bavineni on 10-30-2016
Case 2:18-cv-11385-APP ECF No. 44, PageID.1085 Filed 09/14/18 Page 214 of 320
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           EXHIBIT
              I
            Six-Month Review Report by
            Defendant Bavineni, 4/17/17
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           EXHIBIT
              J
 Psychiatric Evaluation of Darryl Pelichet
     by Aruna Bavineni on 05/03/17
Case 2:18-cv-11385-APP ECF No. 44, PageID.1091 Filed 09/14/18 Page 220 of 320
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           EXHIBIT
             K
     Monroe Community Mental Health
    Authority Progress Notes for Joshua
                  Ragland
Case 2:18-cv-11385-APP ECF No. 44, PageID.1101 Filed 09/14/18 Page 230 of 320
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           EXHIBIT
             L
    Letter from Bonn Washington to the
              NGRI Committee
Case 2:18-cv-11385-APP ECF No. 44, PageID.1107 Filed 09/14/18 Page 236 of 320
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           EXHIBIT
             M
                  SCAO Form PCM 233
            Case 2:18-cv-11385-APP ECF No. 44, PageID.1109 Filed 09/14/18 Page 238 of 320
  Approved, SCAO                                                                                                                JIS CODE: NRA

        STATE OF MICHIGAN                                                                                FILE NO.
                                            NOTICE OF RIGHT TO APPEAL RETURN
               PROBATE COURT
                                                  AND APPEAL OF RETURN
                       COUNTY
                                                 FROM AUTHORIZED LEAVE
       CIRCUIT COURT - FAMILY DIVISION

In the matter of

The above individual has been on authorized leave from a hospital or center for more than 10 days. The individual was then
returned to the hospital or center involuntarily, as follows.
Date of last order      Date of return   Time of return           Age of individual   Name of hospital/center




                                                  NOTICE OF RIGHT TO APPEAL

You have a right to appeal your return to the hospital or center and to have a hearing to determine the outcome of appeal. If you

wish to appeal, notify the                                                                     Court within 7 days after receipt of this notice.

Complete the petition below and mail a copy to the court. In the case of a child who is less than 13 years of age, the appeal

must be made by the parent or guardian.

                                                          PROOF OF SERVICE

I certify that this notice was personally served on the above individual on                                               at                       ,
                                                                                      Date                                     Time
and a copy was mailed to                                                              Court on                                                     .
                                                                                                 Date



                                                                          Signature


NOTE TO COURT: MCR 5.743 and MCR 5.743b require form PCM 227 to be sent to the individual's attorney.


                                         PETITION APPEALING RETURN TO HOSPITAL

I appeal my return to the hospital/center and demand a hearing.

   I request court-appointed legal counsel.

I declare under the penalties of perjury that this petition for appeal has been examined by me and that its contents are true to the
best of my information, knowledge, and belief.

                                                                                                                                      individual
                                                                                                                                      parent
                                                                                                                                      guardian
Date                                                  Signature


                                               Do not write below this line - For court use only




                                                                          MCL 330.1408(3), MCL 330.1537(3), MCR 5.743, MCR 5.743a, MCR 5.743b
PCM 233 (9/08)       NOTICE OF RIGHT TO APPEAL RETURN AND APPEAL OF RETURN FROM AUTHORIZED LEAVE
Case 2:18-cv-11385-APP ECF No. 44, PageID.1110 Filed 09/14/18 Page 239 of 320




           EXHIBIT
             N
 Office of Recipient Rights Investigation
   Re: Marway Johnson, May 15, 2018
        Case 2:18-cv-11385-APP ECF No. 44, PageID.1111 Filed 09/14/18 Page 240 of 320




                                 Office of Recipient Rights
                               Report of Investigative Findings


                                                    Service Request #: 1-117678436
Report Date: May 15, 2018
                                                    Allegation Number: 1-117678440
Recipient's Name:                                   Unit: R-4
Complainant's Name: ANONYMOUS                       Relationship: WRPH STAFF
   Substantiated      Not Substantiated             Category 7223 ABUSE CLASS III

ALLEGATION

On February 26, 2018 ORR received an email alleging that on 02/22/2018 during PSR group, Social
Worker, Marway Johnson, made disparaging comments to the group (and to
specifically) regarding the patient treatment process and how it related to court and the reporting of
patient progress specifically; stating, “I will always say something bad about you when I go to court
because its my job to keep you here.” Ms. Johnson also expressed her disregard for Mr.              and
other patients and the ability for any of them to succeed in the community; stating “you will never do
any good in the community when you get out of here.” The allegation has been reviewed by this
office.


CITATIONS

      MHC 330.1722 Protection of recipient from abuse or neglect. Sec. 722. (1) A recipient of mental
      health services shall not be subjected to abuse or neglect.

      DCH Administrative Rule 330.7001
      (c) "Abuse class III" means the use of language or other means of communication by an
      employee, volunteer, or agent of a provider to degrade, threaten, or sexually harass a
      recipient.

      APF 132 Definitions:
      Degrade means:
        (a) To treat humiliatingly: to cause somebody humiliating loss of status or reputation
        or cause somebody a humiliatingly loss of self-esteem, make worthless; to cause a
        person to feel that they or other people are worthless and do not have the respect or
        good opinion of others. Synonyms: degrade, debase, demean, humble, humiliate.
        These verbs mean to deprive of self-esteem or self-worth; to shame or disgrace.
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          (b) Degrading behavior shall be further defined as any language or epithets that insult
          the person’s heritage, mental status, race, sexual orientation, gender, intelligence,
          etc…


ISSUES

   1. On 02/22/2018 did social worker, Marway Johnson state during PSR group that she will
      always say something bad about patients because it was her job to keep them here
      (hospitalized)?

   2. On 02/22/2018 did Ms. Johnson state during PSR group that the patients will never do
      anything good in the community once they get out?

   3. If yes to either question above, did Ms. Johnson use language as a means to degrade
      patients?


INVESTIGATIVE FINDINGS

On February 23, 2018 ORR received an email from Nurse Manager, S. George regarding a
complaint he received from a staff person. ORR spoke with staff and they stated that while they
are comfortable with cooperating fully with the investigation they would feel more comfortable if
they could remain anonymous. Per the email:

          “On 2/22/18 during 3:00 P.M. PSR group, social worker Marway Johnson stated to the
          patients in group that her job is to keep the patients admitted to the facility. Patient
                           confronted Ms. Johnson and stated “This isn’t the first time you’ve said
          this. You told us in the other dining room in another group that your job is to not say
          anything good about us and when you go to court it is only to get our order to stay
          renewed.” Ms. Johnson stated “You are right. I did say that, and I will never have a
          good thing to say about you or anyone here to anyone and I will always say something
          bad about you when I go to court because my job is to keep you here. It doesn’t matter
          how good you are doing I will always say something bad because you will never do
          any good in the community when you get out of here.”                       became
          agitated by what Ms. Johnson said but was able to control his agitation. This writer
          talked to the patient after group and reported to her supervisors what transpired in
          PSR group.”

On February 27, 2018 ORR spoke with the complainant regarding the allegation made.
According to staff, “                was there. He tried really hard not to get upset. She started
the conversation off toward the group based on what another person had said. When she
agreed with the statement that was said about not saying anything good about patients in court,
        commented to her that she had made the comment before in her other group and he
turned and pointed to the third dining room. We were currently in the first dining room. She
agreed with him and went on to continue to say it again. It was really upsetting him and the
other patients too. I noticed that        began to start talking to himself like he does. He didn’t
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get loud. He didn’t raise his voice or argue with her or anything. She called his name and he
stopped the talking. Shortly after that she made another statement about the patients in the
community never doing anything good and I nearly fell out of my chair. I couldn’t believe it.
Everything she was saying to them was so wrong to say. It’s wrong that they actually do it
(misrepresent the patients in court) but why say that to a patient. You (M. Johnson/social
workers) should be encouraging them.              asked if I could open the restroom for him and I
said of course and when we left the room I told him that he didn’t have to listen to her
negativity.”

On February 27, 2018 ORR hand delivered a Notice of Appointment for Interview for Social
Worker, Marway Johnson. ORR gave Ms. Johnson the letter indicating that a tentative
appointment was scheduled for the following day. ORR asked Ms. Johnson if she would like to
have Union representation or if she would like to speak today. Ms. Johnson declined
representation and stated that she could speak now as long as it was brief as she had a PSR
group to conduct at 3pm. ORR asked which groups Ms. Johnson was responsible for and she
stated, Substance Abuse Group: Putting it Into Practice and Good Mental Health. ORR then
informed Ms. Johnson of the allegation and asked if she could comment on what took place
during the group. According to Ms. Johnson; “I never said that. Another patient told me that their
Social Worker had told him that it was their job to say whatever in court to keep them here. The
patients all began to talk around the room stating what social workers, doctors, and psychiatrists
have said and done in court. I have never been to court, so I can’t say that that is what I did, but
I did say to them that we go to court, so we can renew your treatment order even if you are
stable. That is our job to say what is needed for them to stay.” ORR asked Ms. Johnson about
the alleged statement relating to how patients would fail in the community (the exact statement
from the complaint was read to her). Ms. Johnson stated; “I never said that. It was a group
conversation, but I did agree that we go to court to get them recertified.” ORR asked Ms.
Johnson if she really believed it was her “job” to keep patients here hospitalized and she
responded; “Yes. That is my job. I was told, that is my job. Is it not my job?” To which ORR
responded; “No, it is not. Your job is to provide therapeutic services to assist with their overall
treatment and care in order to move them towards stability so that they can return to the
community.”

On March 1, 2018 ORR attempted to speak with                        regarding the allegation. Mr.
        stated, “I am not down with the recipient rights thing. That’s snitching, that’s not what I
do. I don’t know how you found out about what she said, but I don’t want to talk about it.”

On March 16, 2018 ORR spoke with Mr.                again and asked if he could speak briefly about
what was said during the PSR group where he became upset. Mr.                  was hesitant to
participate but eventually stated, “I don’t write recipient rights complaints and I don’t snitch. I
don’t want to get her or nobody else in trouble.” ORR explained that he wasn’t the one that
complained and that he was just needed to talk about what if anything was said. Mr.
continued stating.; “Okay look this is what she said, she said it was her job to say whatever she
needed to say to keep us here for another year. She said she would never say anything good
about us because that’s not her job.” When asked about the statement made regarding patients
in the community Mr.          stated, “No, it wasn’t what you said. I don’t remember exactly how
she put it but she said something about how we wouldn’t do good if we left anyway.”
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On May 14, 2018 ORR reviewed the position description for the MDHHS-Walter P. Reuther
Psychiatric Hospital Clinical Social Worker. The general summary of function/purpose of the
position states; “The incumbent provides a variety of professional clinical social work services
involving case management, therapeutic interventions and discharge planning for patients at the
Walter P. Reuther Psychiatric Hospital.

CONCLUSION

The decision in this case is based upon a preponderance of evidence, which means a standard
of proof which is met when, based upon all available evidence, it is more likely that a right was
violated than not, based upon the greater weight of the evidence, not as to quantity, but as to
quality. The facts of this case are as follows:

   1. On 02/22/2018 did social worker, Marway Johnson state during PSR group that she
      will always say something bad about patients because it was her job to keep them
      here (hospitalized)?

         According to both the complainant and the patient named in this complaint, Ms. Johnson
         did state to the PSR group that it was her job to say something bad about patients in
         order to keep them here in the hospital. Even more important, although Ms. Johnson
         denied using those exact words she did acknowledge that she expressed to the group
         that she (as the social worker) goes to court in order to renew their treatment order, even
         if they are stable. She also confirmed with the patients that the purpose of court is so that
         they can be recertified. Ms. Johnson further stated to ORR during the interview that it was
         her understanding that it is her job to say whatever needs to be said, regardless of how a
         patient is progressing, in order for that patient to remain hospitalized and on a continuing
         order.

   2. On 02/22/2018 did Ms. Johnson state during PSR group that the patients will never
      do anything good in the community once they get out?

         Although Ms. Johnson denied making this statement, based on statements from the
         patient and the staff witness it is more likely than not that Ms. Johnson stated something
         of this nature to the patients in her PSR group.

   3. If yes to either question above, did Ms. Johnson use language as a means to
      degrade patients?

         Yes. The language that Ms. Johnson used to speak to patients was not only patronizing
         and condescending, it was degrading and showed a lack of respect and consideration for
         any of the patients’ feelings. Ms. Johnson’s words had the potential to cause harm and
         negatively affect the patients’ sense of self-esteem and self-worth as evidenced by Mr.
                 becoming upset. Such words and attitudes displayed by staff can also have a
         negative effect on patient treatment prognosis which is counterproductive to the goal and
         purpose of treatment and a therapeutic environment. In a role that requires unconditional
         positive regard towards the people she is required to provide therapeutic services for, Ms.
         Johnson not only failed to extend that to the group but her response to her actions
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         showed indifference, as she felt that she was speaking the truth to the patients and would
         merely be “doing her job” when her time in court came.

         Based on these facts, the preponderance of evidence supports the violation of Abuse
         Class III.


RECOMMENDATIONS

ORR recommends WRPH Administration ensures that Ms. Johnson receive appropriate
disciplinary action for substantiated Abuse III allegation in accordance with the MDHHS
Disciplinary Guidelines. ORR further recommends that remedial action specifically includes
Dignity and Respect training.

ORR also recommends that the Bureau of Hospitals and Forensic Services addresses what
appears to be a message that is disseminated to staff by their superiors regarding their
responsibilities toward patients in respect to “saying whatever needs to be said to keep patients
here (on an order for involuntary hospitalization)” regardless of a patient’s progress with
treatment and readiness for discharge. Based upon past substantiated rights violations, this
messaging is not isolated to the Social Work Department at WRPH and needs to be addressed
across all clinical departments at all facilities.


PERSONS INTERVIEWED

Anonymous, WRPH Staff
            , Patient
Marway Johnson, Social Worker



____________________________________________________________________________
Enid Reed, Rights Advisor                     Date
Walter Reuther Psychiatric Hospital
30901 Palmer Rd.
Westland, MI 48186
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           EXHIBIT
             O
   Appointed Attorney Fee Schedule for
      Wayne County Probate Court
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                                      WAYNE COUNTY PROBATE COURT
                                      Court Appointed Attorney Fee Schedule
   Assignment            Petition
                                                                             Description                                                    Fee
      Type                Type

                                     One time payment to represent respondent at all required mental health hearings for each
ATTORNEY           Mental Health                                                                                                    $130 per Assignment
                                     petition assigned. Attorney must attend deferral conference at the hospital to be eligible for
                                     payment.

                                     No Personal Visit Required by Court
                                     One time payment to represent proposed ward at all required hearings for each petition $60 per Assignment
                                     assigned.
                   Developmentally
ATTORNEY
                   Disabled          Personal Visit Required by Court
                                     One time payment to: 1) represent proposed ward at all required hearings for each petition $75 per Assignment
                                     assigned, and 2) personally visit proposed ward (if required by the Court) prior to initial
                                     hearing.


                   Guardianship      One time payment to represent ward at all required hearings when the court determines a
ATTORNEY                                                                                                                           $175 per Assignment
                   Review            hearing is required as a result of a guardianship review.


                                     One time payment to represent ward at all required hearings when the court determines an
ATTORNEY           LIP                                                                                                             $175 per Assignment
                                     attorney is required.


ATTORNEY           All Other         One time payment to represent party at all required hearings for each petition assigned.      $175 per Assignment

ADULT
                                     One time payment for each guardianship review completed. No payment will be issued if it is
GUARDIANSHIP       N/A                                                                                                             $60 per Assignment
                                     determined that the ward is deceased.
REVIEW

GUARDIAN AD                          One time payment for each Guardian ad Litem assignment. Payment includes compensation
                   All                                                                                                             $175 per Assignment
LITEM                                for the preparation/filing of GAL report and attendance at all required hearings.


NOTE: Wayne County Probate Court will authorize payments included in this schedule only when the Court
      determines the party represented has liquid assets less than $5,000.                                                             Rev. Oct/2014
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           EXHIBIT
             P
  Walter P. Reuther Psychiatric Hospital
   Standard Operating Procedure #254
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                                    DEPARTMENT OF HEALTH AND HUMAN SERVICES
                                     WALTER P. REUTHER PSYCHIATRIC HOSPITAL
                                        STANDARD OPERATING PROCEDURE
       SOP NUMBER: 254                ISSUE DATE: 04/04/98                                 REVIEW DATE:         05/30/17
 SUBJECT: NGRI (Not Guilty by Reason of Insanity)                                         REVISION DATE:        05/30/17
 PRIMARY AUTHOR: Director of Social Work                                                 EFFECTIVE DATE:     07/08/17
EXECUTIVE STAFF APPROVAL:                                         HOSPITAL DIRECTOR APPROVAL: APPROVAL DATE: 06/07/17




  POLICY/STANDARD/RULE/REGULATION/LAW:
  In accordance with the Michigan Mental Health Code, MDHHS Policy, and Administrative Rules, WRPH shall provide
  persons found Not Guilty by Reason of Insanity, treatment services based on their individual needs according to the
  requirements of the Center for Forensic Psychiatry (CFP)/NGRI Committee.

  APPLICATIONS: Clinical Staff, Medical Records, Patient Affairs, and Safety Department
  REFERENCES:
    •   Michigan Mental Health Code, Chapter 4: 330.1482, 330.1483, 330.1484, 330.1485, 330.1479, and 330.1480
    •   Michigan Mental Health Code, Chapter 10;330.2050(5)
    •   MDHHS Administrative Rule, Chapter 4
    •   MDHHS APF 164, :Freedom of Movement”
    •   Center for Forensic Psychiatry NGRI Committee Procedures 4/2008
    •   WRPH SOP 222, Admission to the Hospital
    •   WRPH SOP 247, Unauthorized Leave of Absence (ULA)
    •   WRPH SOP 248, Leave of Absence (LOA)
    •   WRPH SOP 251, Periodic Reviews
    •   WRPH SOP 252, Petition & Certification for Initial and Continued Involuntary Hospitalizations
    •   WRPH SOP 258, Patient Transfers Between State Facilities
    •   WRPH SOP 285, Patient Community Outings

  DEFINITIONS/ABBREVIATIONS:
  AUTHORIZED LEAVE STATUS (ALS): A person found to have committed a crime by a court or jury, but who was acquitted
  by reason of insanity, except that a person shall not be discharged or placed on leave without first being evaluated and
  recommended for discharge or leave by the department’s program for forensic psychiatry and authorized leave of
  absence from the hospital may be extended for a period of five (5) years.
  COMMUNITY MENTAL HEALTH SERVICES PROGRAM/MANAGER OF COMPREHENSIVE PROVIDER NETWORK (CMHSP/MCPN):
  Agency representative who serves as a liaison.
  FORENSIC LIAISON: WRPH staff person designated by the Director of Social Work who is responsible for ensuring
  compliance with NGRI procedures established by the Center for Psychiatry.
  FORENSIC CASE NUMBER: A six (6) digit number assigned to patients by the Center for Forensic Psychiatry with a
  Forensic history.
  LEAVE OF ABSENCE (LOA): Indicates an approved leave from the hospital grounds, either alone or accompanied by
  family or friends. A scheduled out-trip accompanied by hospital personnel shall not be interpreted as an LOA.
  NGRI COMMITTEE: A multidisciplinary committee consisting of senior forensic, clinical members. Members of the
  committee are appointed by the Director of the Center for Forensic Psychiatry.
  NOT GUILTY BY REASON OF INSANITY (NGRI): A patient who has been adjudicated NGRI in a District or Circuit Court.
  These patients have been to trial and a judge or a jury has determined that they were not legally responsible for their
  actions due to their mental or emotional state at the time of the crime.
  PATIENTS ON NGRI STATUS: A patient who was adjudicated NGRI and is not yet released from treatment oversight by
  the Center for Forensic Psychiatry NGRI Committee.
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PERIODIC REVIEW/SIX-MONTH REVIEW: Determination by a psychiatrist whether the patient continues to be a person in
need of mental health treatment made six (6) months from the date of a continuing order.
SUPERVISED GROUND ACCESS: Patients may only go off the unit up to four (4) times per day with staff supervision.
UNSUPERVISED GROUND ACCESS: Patients may go off the unit up to three (3) times per day independently of staff
supervision during posted hours.

STANDARDS:
   A. Individuals adjudicated NGRI shall be admitted to the hospital upon a Probate Court Order by a Probate Court
      or upon transfer from the Center of Forensic Psychiatry.
   B. The original correspondence and reports from the Center for Forensic Psychiatry shall be maintained in the
      patient’s medical record and copies shall be filed in the Patient Affairs Office.
   C. An alert shall be entered on the Client Alerts screen in the EMR indicating the patient’s NGRI status.
   D. Patients on NGRI status are to be evaluated for risk of escape or aggressive behavior within five (5) working
      days of admission utilizing the Risk Assessment Form (WRPH-233B).
   E. The Risk Assessment is to be repeated whenever the patient is eligible for a change of movement, if the last
      Risk Assessment was not within 30 days of the request.
   F. Patients on NGRI status who have a Risk Assessment that indicates a score of 10 or less on the Aggressive
      Profile and 30 or less on the Escape Profile may be granted Supervised Ground Access. Patients scoring more
      on either of the scales shall be considered maximum risk and shall be on one-to-one supervision, when taken
      off the unit.
   G. All requests for Unsupervised Ground Access, participation in community outing, Leave of Absence, or release
      on Authorized Leave Status shall be submitted to the NGRI Committee for approval within ten (10) business
      days of the Treatment Team’s determination.
   H. Patients who have returned from Authorized Leave Status must submit a narrative to accompany the request
      for Unsupervised Ground Access.
   I. Review by the NGRI Committee shall occur no later than fifteen (15) calendar days after receipt of the request
      by the committee.
   J. A patient adjudicated NGRI for the offense of murder or criminal sexual conduct must be approved by the NGRI
      Committee and also the Director of Community Health/Department Designee before being granted
      Unsupervised Ground Access, Community Outings, Leave of Absence, or Release on ALS Status.
   K. Participation in any off hospital grounds activity, including community outings, criminal court hearings or court
      hearings for legal matters not associated with his/her NGRI offense, requires NGRI Committee approval.
      Patients must have Unsupervised Ground Access before participation in community outings, unless otherwise,
      approved by the NGRI Committee.
   L. If a patient’s Unsupervised Ground Access is revoked, a new request must be made to the NGRI Committee
      for reinstatement of Unsupervised Ground Access.
   M. The request for LOA should be submitted when the following criteria have been met:
      1. The patient’s mental illness, which led to the adjudication as NGRI, is in adequate remission/control.
      2. The patient is not considered presently dangerous to self or others.
      3. The patient is not considered an escape risk; and
      4. The patient’s LOA is considered to have therapeutic value.
   N. The request for ALS should be submitted when the following criteria have been met:
      1. The patient is on a Continuing Order for Treatment.
      2. The patient’s mental illness, especially the mental illness that led to the patient’s adjudication as NGRI, is
           in adequate remission or control.
      3. The patient should have adequate insight regarding the nature of his or her mental condition, treatment
           needs, and how his/her mental illness contributed to his/her offense.
      4. The patient is not considered an escape risk.
      5. Within the bounds of reasonable clinical certainty, the patient is not likely to repeat the type of behavior
           which led to the adjudication as NGRI or to commit other dangerous acts.
      6. The patient has written a narrative to the NGRI Committee to reflect insight regarding the nature of his or
           her mental condition, treatment needs, and how his/her mental illness contributed to his/her offense.
   O. Before releasing the patient to the community on ALS, the hospital shall assure the patient is on a current
      treatment order and that the order does not expire within the next 30 days of the ALS release date.
   P. Patients on NGRI status shall not be discharged from hospitalization without prior approval from the NGRI
      Committee.
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   Q. A patient shall not be discharged from Authorized Leave of Absence (ALS) without first being evaluated and
      recommended for discharge from WRPH by the NGRI Committee. The following criteria must be met:
      1. The patient no longer meets the statutory criteria for civil commitment. A psychiatrist shall do a thorough
           evaluation to document this.
      2. The patient has demonstrated that the mental illness leading to the adjudication, as NGRI, is controlled or
           in adequate remission for a significant period of time.
   R. Whenever a patient on NGRI status is placed on Unauthorized Leave of Absence (ULA), the Michigan State
      Police, The Center for Forensic Psychiatry, and the Hospital Director shall be, immediately, notified. If the
      patient has not returned after 72 hours, the patient shall be, administratively, transferred to the Center for
      Forensic Psychiatry via an official DCH Order to Transfer (Patient Transfers Between State Facilities – SOP
      258).
   S. The NGRI Committee must be notified of all transfers, including administrative transfers, between state facilities,
      via e-mail.
   T. A patient on NGRI status may petition the court for discharge, if the patient is in disagreement with the outcome
      of a Periodic Review/Six-Month Review, or if, otherwise, wishing to be discharged. (SOP 251, “Periodic
      Review”).
   U. Prior to expiration of a Court Order or whenever the patient completes a Petition for Discharge, WRPH-281,
      “NGRI Court Hearing Form” is completed and submitted to NGRI Committee for review.
   V. Recommendations to the Court for release from hospitalization or alternative treatment shall be forwarded to
      the NGRI Committee for review and approval before filing and/or court appearance. The written
      recommendations of the NGRI Committee shall be entered into the patient’s medical record and disclosed
      during testimony, if requested.
   W. The NGRI Committee shall be notified of the outcome of court hearings of all patients on NGRI status and,
      immediately, notified of all NGRI/ALS patients that are dismissed by court or of any court orders that may affect
      the patient’s NGRI status.
   X. ALS patients returning to the hospital will be treated as a new admission and all admission procedures will be
      followed.
   Y. Staff supervision shall be provided to all NGRI patients receiving treatment in community hospitals or medical
      facilities, unless otherwise, indicated by the NGRI Committee. (See Procedure C).

PROCEDURES:
A. ADMISSION PROCEDURES FOR NOT GUILTY BY REASON OF INSANITY (NGRI):
              WHO                                                    DOES WHAT
 Patient Affairs Designee      1.   Completes the admission process for NGRI patients in accordance with Order of
                                    Treatment. (See Admission to the Hospital – SOP 222, Section D).

                               2.   Enters a Client Alert in the Patient’s EMR indicating the patient’s NGRI status.
                               3.   Maintains a file of all documents relating to the NGRI status of the patient.
 Treatment Team                4.   Completes the Risk Assessment within five (5) working days after admission.
                                    Tabulates and reviews scores regarding the granting of Supervised Ground
                                    Access (See Standard D).
 Unit Clerk                    5.   Scans completed copies of the Risk Assessment (WRPH-233B) into the “NGRI
                                    Committee Documents” folder and forwards the original to Medical Records.
B. INPATIENT TREATMENT PROCEDURES:
          WHO                                                       DOES WHAT
 Treatment Team              1.     Repeats the Risk Assessment whenever the patient is eligible for a change of
                                    movement level (Unsupervised Ground Access, Community Outings with Staff,
                                    LOAs, and/or ALS Planning), if the last Risk Assessment was not within 30 days
                                    of the request.
 Unit Clerk                  2.     Scans completed copies of the Risk Assessment (WRPH-233B) into the “NGRI
                                    Committee Documents” folder and forwards the original to Medical Records.
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           WHO                                                    DOES WHAT
 Psychiatrist /              3.    Prepares the NGRI Request Letter (WRPH-279) for any change of movement
 Social Worker                     level (Unsupervised Ground Access, Community Outings with staff, LOAs, and/or
                                   ALS Planning [psychiatrist provides the mental status exam]. This must be
                                   completed within ten (10) business days of the treatment team’s determination.
                                   NOTE: Regarding “NGRI Emergency LOA Request” refer to Exhibit E-180 for
                                   required documentation.
 Social Work Secretary /     4.    Formats NGRI Request Letter and forwards to Forensic Liaison/Social Work
 Designee                          Department Designee for review.
 Forensic Liaison / Social   5.    Reviews and approves NGRI Request Letter and patient’s narrative, if applicable.
 Work Designee
 Psychiatrist, Social        6.    Signs the NGRI Request Letter.
 Worker, and Forensic
 Liaison/Social Work
 Designee
 Social Work Secretary /     7.    Faxes NGRI Request Letter and patient’s narrative (when indicated) to NGRI
 Designee                          Committee and forwards original documents to the Unit Clerk.
 Unit Clerk                  8.    Scans original NGRI Request Letter and patient’s narrative (when indicated) into
                                   the patient’s EMR in the “NGRI Committee Documents” folder and forwards the
                                   original to Medical Records.
 Forensic Liaison / Social   9.    a. Receives a response from the NGRI Committee, via email, regarding the NGRI
 Work Designee                        Request Letter.
                                   b. Forwards the NGRI Committee’s email response to the appropriate
                                      Psychiatrist, Social Worker, Director of Social Work, and Social Work
                                      Department/Secretary/Designee.
 Social Worker               10.   Communicates the response from the NGRI Committee to the Treatment Team
                                   and makes appropriate arrangements, if the NGRI Committee approves the
                                   request.
 Social Work                 11.   Forwards the NGRI Committee’s response to the Unit Clerk to be scanned.
 Secretary/Designee
 Unit Clerk                  12.   Scans the NGRI Committee’s response into the patient’s EMR in the “NGRI
                                   Committee Documents” folder and forwards the original to Medical Records.
C. SUPERVISION OF NGRI PATIENTS AT COMMUNITY HOSPITALS/MEDICAL FACILITIES:
           WHO                                                      DOES WHAT
 Central Nursing Office       1.   Assigns WRPH nursing staff to escort and supervise all NGRI patients receiving
 Designee                          treatment in community hospitals or medical facilities unless, otherwise, indicated
                                   by the NGRI Committee.
 Social Worker                2.   a. Emails the Forensic Liaison/Department Designee, Director of Social Work,
                                      and CMHSP/MCPN Liaison, immediately, indicating:
                                      1) That an NGRI patient was hospitalized
                                      2) Reason for hospitalization
                                      3) Facility name
                                      4) Date of admission to facility
                                      5) Date of return to WRPH
                                   b. Notifies the legal guardian and/or family member/identified support person of
                                      patient’s hospitalization.
 Forensic Liaison/Social      3.   Emails the NGRI Committee notifying them of an NGRI patient’s recent
 Work Designee                     community hospitalization including reason for hospitalization, facility name, date
                                   of admission and date of return to WRPH.
                              4.   Receives recommendations or requirements from the NGRI Committee regarding
                                   supervision of NGRI patient while receiving treatment in a community hospital or
                                   medical facility.
                              5.   Forwards response from the NGRI Committee indicating required supervision of
                                   NGRI patient while receiving treatment in a community hospital or medical facility
                                   to the Central Nursing Office, Treatment Team, Director of Social Work, and
                                   Director of Psychiatry.
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D. AUTHORIZED LEAVE STATUS (ALS) PLANNING:
        WHO                                                     DOES WHAT
 Treatment Team            1.    Determines patient has met criteria for release on ALS (See Standard N).
 Psychiatrist/Social       2.    Prepares NGRI Request Letter (WRPH-279) for ALS planning [psychiatrist
 Worker                          provides the mental status exam]. This must be completed within ten (10)
                                 business days of the Treatment Team’s determination.
 Social Work Secretary/    3.    Formats NGRI Request Letter and forwards to Forensic Liaison/Social Work
 Designee                        Department Designee for review.
 Forensic Liaison/Social   4.    Reviews and approves NGRI Request Letter and patient’s narrative.
 Work Dept. Designee
 Psychiatrist, Social      5.    Signs NGRI Request Letter.
 Worker, and Forensic
 Liaison/Social Work
 Designee
 Social Work               6.    Faxes NGRI Request Letter and patient’s narrative to NGRI Committee and
 Secretary/Designee              forwards original documents to the Unit Clerk.
 Unit Clerk                7.    Scans original NGRI Request Letter and patient’s narrative into the patient’s EMR
                                 in the “NGRI Committee Documents” folder and forwards the original to Medical
                                 Records.
 Forensic Liaison/Social   8.    a. Receives a response from the NGRI Committee, via email, regarding NGRI
 Work Designee                        Request Letter.
                                 b. Forwards the NGRI Committee’s email response to the appropriate
                                      Psychiatrist, Social Worker, Director of Social Work, and Social Work
                                      Department Secretary/Designee.
 Social Work               9.    Forwards the NGRI Committee’s response to the Unit Clerk to be filed scanned.
 Secretary/Designee
 Unit Clerk                10.   Scans the NGRI Committee’s response into the patient’s EMR in the “NGRI
                                 Committee Documents” folder and forwards the original to Medical Records.
 Social Worker             11.   Communicates the response from the NGRI Committee to the Treatment Team
                                 and makes appropriate arrangements, if the NGRI Committee approves the
                                 request.
                           12.   Completes Comprehensive Pre-Release and Discharge Plan (WRPH-251) within
                                 five (5) business days of the NGRI Committee’s approval for ALS planning and
                                 provides a copy to the CMHSP/MCPN Liaison.
 Forensic Liaison/Social   13.   Contacts Director of Community Health/Designee to schedule an interview of only
 Work Designee                   those NGRI patients acquitted of murder or criminal sexual conduct. Determines
                                 whether or not the NGRI patient may be released on ALS status. Evaluates the
                                 patient for approval to proceed with ALS planning.
 Social Worker             14.   Requests Placement Description from CMHSP/MCPN Liaison only for those
                                 NGRI patients acquitted of murder or criminal sexual conduct and forwards to the
                                 Forensic Liaison/Social Work Designee.
 Forensic Liaison/Social   15.   Reviews and forwards Placement Description for those NGRI patients acquitted
 Work Designee                   of murder or criminal sexual conduct to NGRI Committee for approval.
 Social Worker             16.   Develops the ALS Contract upon placement approval from the NGRI Committee
                                 and Director of Community Health/Designee. Arranges a date and time for
                                 meeting to sign the ALS Contract. Secures all necessary signatures from the
                                 involved parties.
 Social Work Dept.         17.   Faxes the signed ALS Contract to the NGRI Committee.
 Secretary/Designee
                           18.   Receives the faxed signature page from the NGRI Committee, as approval.
 Social Worker             19.   Provides copies of the ALS Contract for distribution. Sends the original ALS
                                 Contract to Medical Records.
                           20.   Coordinates and facilitates the ALS Release Meeting and provides a copy of the
                                 ALS Contract to all parties involved.
 Social Work               21.   Sends email notification to the NGRI Committee of the patient’s official ALS
 Secretary/Designee              release date.
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           WHO                                                      DOES WHAT
 Medical Records            22.    Scans the ALS Contract into the patient’s EMR in the “NGRI Committee
                                   Documents” folder and forwards the original to Medical Records.
E. PERIODIC REVIEW/SIX MONTH REVIEW REPORT:
            WHO                                                      DOES WHAT
 Patient Affairs Designee    1.    Notifies the psychiatrist, via monthly “Expiration of Court Orders” list, that the Six
                                   Month Review Report, (PCM 226) is due.
                             2.    Forwards a Six Month Review Report to the psychiatrist before the due date for
                                   completion.
 Psychiatrist                3.    Completes the Six Month Review Report and forwards the completed form to
                                   Patient Affairs by the due date.
 Patient Affairs Designee    4.    Files the Six Month Review Report with the court within five (5) days of receipt.
                             5.    Provides patient a copy of the Six Month Review Report and a Petition for
                                   Discharge from Continuing Treatment (PCM 220), if the patient objects to the
                                   report within five (5) days of receipt of the Six Month Review Report.
                             6.    Files the form Petition for Discharge from Continuing Treatment with the court
                                   within 7 days of receipt (excluding Sunday and holidays), only if the patient
                                   disagrees with the Six Month Review Report.
                             7.     a. Receives notification of the hearing date from the Probate Court of record and
                                        serves the patient the Notice of Hearing (PCM 212) and Order of Appointing
                                        Attorney (PC 628);
                                    b. Mails copies to the guardian; and
                                    c. Forwards to the testifying doctor.
                             8.    Serves the patient the Notice of Hearing and Order of Appointing Attorney.
                             9.    Enters hearing date into the “Court Orders” screen in the “Docket” section and
                                   documents date and time patient was served in the “Notes” field.
 Psychiatrist                10.   Completes NGRI Court Hearing Form (WRPH-281) within two (2) business days
                                   of the Petition for Discharge being filed and returns it to the Patient Affairs Office.
 Patient Affairs Designee    11.   Faxes the NGRI Court Hearing Form to the NGRI Committee and sends the
                                   original to Medical Records and a copy to the testifying psychologist.
                             12.   Receives the NGRI Committee Court Letter with their recommendations and
                                   provides a copy to Medical Records and the testifying psychologist.
 Medical Records             13.   Scans completed forms into the patient’s EMR in the “NGRI Committee
                                   Documents” folder and forwards the original to Medical Records.
 Testifying Psychologist     14.   a. Provides clinical observations and recommendations of the NGRI Committee
                                      indicated in the NGRI Court Letter to the Probate Court as an “expert witness”.
                                   b. Immediately notifies Patient Affairs of the results of the court hearing.
                                   c. Notifies the Treatment Team of any court orders that affect the patient’s NGRI
                                      status.
 Patient Affairs Designee    15.   Notifies the Director of Psychiatry and the Forensic Liaison/Social Work Designee
                                   of the results of the court hearing, if the patient has been discharged from
                                   treatment, or if the court order will affect the patient’s NGRI status.
 Forensic Liaison/Social     16.   Notifies the NGRI Committee and assures that follow-up aftercare is provided.
 Work Designee
F. EXPIRATION OF TREATMENT ORDERS:
         WHO                                                        DOES WHAT
 Patient Affairs Designee   1.     Notifies the psychiatrist that the court order is expiring, via monthly “Expiration of
                                   Court Orders” list.
 Psychiatrist               2.     Provides NGRI Court Hearing Form (WRPH-281) to the treating psychiatrist thirty
                                   (30) days prior to the expiration date of the Treatment Order.
                            3.     Completes NGRI Court Hearing Form and returns it to Patient Affairs.
 Patient Affairs Designee   4.     Distributes Petition for Continuing Treatment (PCM 218) to the Social Worker and
                                   Clinical Certificate (PCM 208) to the treating Psychiatrist.
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           WHO                                                    DOES WHAT
                            5.    Faxes WRPH-281, “NGRI Court Hearing Form” to the NGRI Committee and
                                  sends the original to Medical Records and a copy to the testifying psychologist.
                            6.    Receives the NGRI Committee Court Letter with their recommendations and
                                  provides a copy to Medical Records and the testifying psychologist.
 Social Worker              7.    Completes Petition for Continuing Treatment and submits to Patient Affairs Office
                                  at least 24 hours before date due for submission in court.
 Psychiatrist               8.    Completes the Clinical Certificate and submits to Patient Affairs Office no earlier
                                  than 24 hours before date due for submission in court.
 Patient Affairs Designee   9.    Files the completed Petition for Continuing Treatment (PCM 218) and the Clinical
                                  Certificate (PCM 208) in the Probate Court of record.
                            10.   Receives notification of the hearing date from the Probate Court of Jurisdiction
                                  and serves the Hearing Notice, a copy of the Petition and Certificate to the
                                  patient.
                            11.   Enters hearing date into the “Court Orders” screen in the “Docket” section and
                                  documents date and time patient was served in the “Notes” field.
 Testifying Psychologist    12.   a. Provides clinical observations and recommendations of the NGRI Committee
                                      identified in the NGRI Court Letter to the Probate Court as an “expert witness”.
                                  b. Immediately, notifies Patient Affairs of the results of the court hearing.
                                  c. Notifies the Treatment Team of any court orders that affect the patient’s NGRI
                                      status.
 Patient Affairs Designee   13.   Notifies the Director of Psychiatry and the Forensic Liaison /Social Work
                                  Designee of the results of the court hearing, if the patient has been discharged
                                  from treatment, or if the court order will affect the patient’s NGRI status.
 Forensic Liaison/Social    14.   Notifies the NGRI Committee and assures that follow-up aftercare is provided.
 Work Designee
G. UNAUTHORIZED LEAVE (ULA) PROCEDURES FOR NGRI PATIENTS (INPATIENT):
         WHO                                       DOES WHAT
 Social Worker              1.    Notifies the Forensic Liaison/Social Work Designee and CMHSP/MCPN Liaison,
                                  immediately, that the patient is ULA.
 Safety Department          2.    Notifies, immediately, the State Police that an NGRI patient was placed on ULA
                                  status.
 Patient Affairs Designee   3.    Notifies the Probate Court of Jurisdiction that the patient is ULA. Emails Safety
                                  Dept. and the Forensic Liaison/Social Work Designee that notification has been
                                  completed.
 Forensic Liaison/Social    4.    Contacts the Center for Forensic Psychiatry after patient has been ULA for 72
 Work Designee                    hours to request authorization for administrative transfer. (Per Patient Transfers
                                  Between State Facilities (SOP-258).
                            5.    Receives authorization from the Center for Forensic Psychiatry to proceed with
                                  administrative transfer.
                            6.    Notifies the Treatment Team and Patient Affairs to proceed with administrative
                                  transfer.
H. AUTHORIZED LEAVE STATUS/PATIENT FOLLOW-UP:
        WHO                                                       DOES WHAT
 Forensic Liaison/Social    1.    Maintains and reviews the documentation of patients on ALS and a file of Periodic
 Work Designee                    Review/Six Month Review Reports (PCM 226), 90 Day Reports, Continuing Order
                                  for Treatment (PCM 219), and correspondence.
                            2.    Monitors the facilitation of Periodic Review/Six Month Review Reports, 90-Day
                                  Reports and Continuing Order for Treatment.
                            3.    Coordinates the completion of the Periodic Review/Six Month Review Report and
                                  the Continuing Order for Treatment by WRPH staff, when the CMHSP agency is
                                  unable to do so, while on ALS.
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           WHO                                                     DOES WHAT
                             4.    Maintains responsibility for monitoring and keeping a record of the 90-Day
                                   Reports, Periodic Reviews/Six Month Reviews, and Court Orders, as long as the
                                   patient is on ALS.


I. NGRI /ALS RE-HOSPITALIZATION PROCEDURES:
(REFER TO SOP 222 - ADMISSION TO THE HOSPITAL FOR ADDITIONAL INFORMATION)
          WHO                                         DOES WHAT
 Forensic Liaison/Social      1.   Receives email notification from the NGRI Committee that NGRI/ALS patient
 Work Designee                     requires an evaluation due to violating their ALS Contract and/or has exhibited
                                   behaviors/symptoms that indicate a need for re-hospitalization.
                                   a. Schedules and coordinates an evaluation of NGRI/ALS patient at WRPH by
                                       assigned treatment team.
                                   b. Sends email to NGRI Committee stating the results of the evaluation and the
                                       recommendations, i.e., re-hospitalization, change in level of care, etc.
                                   OR
                                   Receives email notification from the NGRI Committee that NGRI/ALS patient
                                   requires re-hospitalization, without an evaluation, due to violating their ALS
                                   Contract and/or has exhibited behaviors/symptoms that indicate a need for re-
                                   hospitalization.
                                   a. Requests from the CMHSP/MCPN Liaison the Re-hospitalization Form and
                                       Clinical Packet: Progress Notes for last 90 days, Medication Sheet, which
                                       includes medications for medical conditions, Police Reports, IPOS, any
                                       significant medical info, Urine Drug Screen (UDS), Incident Reports, current
                                       court order, Group Home Notes, and ALS Contract.
                                   b. Coordinates the patient’s re-admission with the CMHSP/MCPN Liaison.
                              2.   Sends email notification of patient’s re-hospitalization to assigned unit and
                                   appropriate departments.
                              3.   Forwards Re-hospitalization Form and Clinical Packet to Patient Affairs
                                   Designee.
 Patient Affairs Designee     4.   Distributes Admission Packet via email.
J. UNAUTHORIZED LEAVE (ULA) PROCEDURES FOR NGRI/ ALS PATIENTS:
            WHO                                                     DOES WHAT
 Forensic Liaison/Social      1.   Receives notification from the CMHSP/MCPN Liaison or CMHSP that the patient
 Work Designee                     is ULA from placement.
                              2.   Obtains information from the CMHSP/MCPN Liaison or CMHSP, placement
                                   provider, and/or family regarding the patient’s last known whereabouts, verify
                                   current address, obtain a description of the patient, current risk of harm to self or
                                   others.
                              3.   Receives notifications from the NGRI Committee that the patient should be
                                   placed on ULA status by the hospital.
                              4.   Notifies the Social Work Department Director, Director of Psychiatry, Hospital
                                   Director/Designee, Bureau Director/Designee, Chief of Clinical Affairs, Safety
                                   Director, Patient Affairs, and Data Processing.
                              5.   Provides Safety with information required to complete Section A of WRPH-306,
                                   including whether the patient is a danger to self or others.
 Forensic   Liaison/Social    6.   Completes “Leaves” screen in EMR to place patient on Unauthorized Leave
 Work Designee                     status.
 Safety Department            7.   Receives notification from the Forensic Liaison/Social Work Dept. Designee that
                                   a NGRI/ALS patient is ULA. Notifies, immediately, the State Police of an
                                   NGRI/ALS patient ULA and requests that patient is placed in LEIN system.
 Patient Affairs Designee     8.   Notifies the appropriate Probate Court of Jurisdiction that the patient is ULA.
                                   Emails Safety Dept. and the Forensic Liaison/Social Work Dept. Designee that
                                   notification has been made.
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             WHO                                                    DOES WHAT
 Forensic Liaison/Social    9.    Contacts CFP after patient has been ULA for 72 hours to request approval for
 Work Designee                    administrative transfer to CFP.
 Patient Affairs Designee   10.   Contacts designated CMHSP authority for approval of transfer.
                                  The approvals must be:
                                  a. On the CMHSP letterhead.
                                  b. Must indicate that the CMHSP approves the transfer of the patient from Point
                                     A (sending hospital) to Point B (receiving hospital).
                                  c. Must contain the signature of a CMHSP designee that is approving the
                                     transfer.
                            11.   Forwards the Re-hospitalization Form and clinical packet to CFP at the time the
                                  patient is administratively transferred to CFP.
                            12.   Forwards the CMHSP approval and the Order of Transfer to the Bureau of
                                  Hospital, Center & Forensic Mental Health Services for authorization.
                            13.   Contacts CFP, upon receipt of the Order of Transfer, and schedules a date for
                                  the administrative transfer.
                            14.   Scans Order of Transfer (DCH-1890) into the patient’s EMR in the “Discharge
                                  Summary” folder, sends original to Medical Records.
 Forensic Liaison/Social    15.   Completes and sends out Discharge/Release Notice (WRPH-245).
 Work Designee
 Psychiatrist               16.   Enters discharge order in the EMR in the “Patient Profile/Physicians Orders”
                                  screen using Order Type “LOA/Transfer/Discharge”.
K. ADMINISTRATIVE TRANSFERS FOR NGRI/ALS PATIENTS:
 WHO                        DOES WHAT
 Forensic Liaison/Social     1.   Completes and forwards Transfer Copy Request (WRPH-330) to Data
 Work Designee                    Processing Supervisor.
 Data Processing             2.   Copies the identified documents from Transfer Copy Request and when
 Supervisor / Designee            completed, forwards to Patient Affairs Designee.
 Forensic Liaison/Social     3.   Contacts designated CMHSP authority for approval of transfer.
 Work Designee                    The approvals must be:
                                   a. On the CMHSP letterhead.
                                   b. Must indicate that the CMHSP approves the transfer of the patient from Point
                                      A (sending hospital) to Point B (receiving hospital).
                                   c. Must contain the signature of a CMHSP designee that is approving the
                                      transfer.
                             4.   Contacts the receiving hospital requesting transfer, once CMHSP approval is
                                  obtained.
                             5.   Sends receiving hospital the transfer information packet for their review.
                             6.   Forwards the CMHSP approval and the Order of Transfer to the Bureau of
                                  Hospital, Center & Forensic Mental Health Services for authorization.
                             7.   Contacts the receiving hospital upon receipt of the Order of Transfer, and
                                  schedules a date for the administrative transfer.
                             8.   Forwards Order of Transfer (DCH-1890) to Medical Records to be scanned into
                                  the patient’s EMR in the “Discharge Summary” folder.
 Psychiatrist                9.   Enters discharge order in the EMR in the “Patient Profile/Physicians Orders”
                                  screen using Order Type “LOA/Transfer/Discharge”.
 Forensic Liaison/Social     10. Completes and sends out Discharge/Release Notice (WRPH-245).
 Work Designee
 Medical Records             11. Prepares medical record for transfer upon notification by Transfer Coordinator
                                 except transfer to the Forensic Center.
 Patient Affairs Designee    12. Notifies the Court of Jurisdiction of the patient’s administrative transfer. When
                                 the patient’s court order does not cover the receiving hospital, WRPH shall
                                 request the Court of Jurisdiction to amend the court order to include the
                                 receiving hospital prior to the patient’s transfer.
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 WHO                         DOES WHAT
 Forensic Liaison/Social      13. Sends email to NGRI Committee stating the date of administrative transfer and
 Work Designee                    reason for transfer and copy the receiving hospital.
                              14. Scans a new ALS Contract signature page signed and dated by the patient,
                                  receiving hospital, and CMHSP.
                              15. Forwards signature page to the NGRI Committee to be filed in the patient’s CFP
                                  chart.
                              16. Forwards the signature page to Medical Records.
 Medical Records              17. Scans the signature page into the “NGRI Committee Documents” folder and
                                  forwards the original to Medical Records.

L. NGRI CONTRACT COMPLETION & DISCHARGE PROCEDURES:
 WHO                        DOES WHAT
 Forensic Liaison/Social    1.   Reviews the patient’s file approximately 30-45 days prior to the patient
 Work Designee                   completing his/her ALS contract.
                            2.   Sends an email to the CMHSP/MCPN Liaison 4 weeks prior to ALS Contract
                                 completion date to:
                                a. Verifies the patient’s address, phone number, and contact information for the
                                    CMHSP provider and case manager.
                                b. Asks if the Responsible Reporting Agency/CMHSP/Contractual Agency has
                                    assessed the patient to determine if an Alternative Treatment Order (ATO) is
                                    appropriate.
                            3.   Sends an email to the NGRI Committee, prior to ALS Contract completion date,
                                 stating the patient’s expected ALS Contract completion date/discharge date
                                 from WRPH, current address, phone number, CMHSP information, and a
                                 statement regarding if the Responsible Reporting Agency/CMHSP/Contractual
                                 Agency will petition for an Alternative Treatment Order (ATO) or Assisted
                                 Outpatient Treatment Order (ATO).
                            4.   Receives a confirmation of receipt of email from NGRI Committee regarding
                                 confirmation of review and recommendations.
 Patient Affairs Designee   5.   Notifies the Court of Jurisdiction of the patient’s discharge from WRPH and
                                 completion of their ALS Contract.
 Forensic Liaison/Social    6.   Notifies the Director of Psychiatry and assigned psychiatrist of ALS Contract
 Work Designee                   completion/discharge date.
 Psychiatrist               7.   Enters discharge order in the EMR in the “Patient Profile/Physicians Orders”
                                 screen using Order Type “LOA/Transfer/Discharge”.
 Forensic Liaison /Social   8.   Completes and sends out Discharge/Release Notice (WRPH-245).
 Work Designee
 Social Work                9.  Receives ALS Completion Letter and provides a copy to Patient Affairs and the
 Secretary/Designee             Forensic Liaison/Social Work Dept. Designee. Forwards original to Medical
                                Records.
 Medical Records            10. Receives the ALS Completion Letter and scans into the patient’s EMR in the
                                “NGRI Committee Documents” folder and forwards the original to Medical
                                Records.

EXHIBITS:
  I.     NGRI Emergency LOA Request (E-180)

FORMS:
   I. Risk Assessment for Patients on NGRI Status (WRPH-233B)
  II. NGRI Request Letter (WRPH-279)
 III. NGRI Court Hearing Form (WRPH-281)
IV. ALS Contract-Wayne County (WRPH-280A)
  V. ALS Contract-Out County (WRPH-280B)
VI. Comprehensive Pre-Release and Discharge Plan (WRPH-251)
VII. Petition and Order to Change Venue (PC 608)
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 VIII. Notice of Hearing on Petition for Hospitalization/Assisted Outpatient Treatment/
       Judicial Admission (PCM 212)
  IX. Order of Appointing Attorney (PC 628)
   X. Notice of Hearing /Proof of Service (WCPC 601)
  XI. Petition/Application for Hospitalization (PCM 201)
  XII. Petition for Second or Continuing Treatment (PCM 218)
 XIII. Continuing Order for Treatment (PCM 219)
 XIV. Clinical Certificate (PCM 208)
 XV. Demand for Hearing (PCM 236)
 XVI. Six-Month Review Report (PCM-226)
XVII. Petition for Discharge From Continuing Treatment or Judicial Admission (PCM-220)
XVIII. Order of Transfer (DCH-1890)
 XIX. Transfer Copy Request (WRPH-330)
 XX. Discharge/Release Notice (WRPH-245)
 XXI. Unauthorized Leave of Absence Report (WRPH-306)
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           EXHIBIT
             Q
      Petition filed by Defendant Hegira
     Programs, Inc. on October 24, 2017
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           EXHIBIT
             R
                    Darryl Pelichet and
       Bonn Washington ALS Contracts
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             S
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                                                                     Page 19
     1          status."

     2                       Is that something that's automatically

     3          on the form or --

     4    A.    It's automatically on the form.

     5    Q.    I can show you if it helps.

     6    A.    No, I don't need it.

     7    Q.    But it goes to my point that if you don't file

     8          this petition, NGRI status is no longer

     9          continued, is that right?

    10                       You have to file this petition in order

    11          to continue that status, right?

    12    A.    Yes.

    13                       MR. GALLAGHER:      That's all I've got

    14          here, Judge.      Just one moment, Judge.

    15    BY MR. GALLAGHER:

    16    Q.    Is alternative treatment, is that something that

    17          might be available to Darryl?

    18    A.    Alternative to Hegira?

    19    Q.    To hospitalization, other forms of treatment for

    20          Darryl?

    21    A.    I wouldn't know other than what he receives from

    22          us.

    23    Q.    When you -- let me ask it another way.

    24                       When you complete this form, do you

    25          always check off "continuing hospitalization"?
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                                                                     Page 20
     1    A.    That's the only one I've ever completed.

     2                       MR. GALLAGHER:      No further questions,

     3          Judge.

     4                       MR. SUROWIEC:      No questions.

     5                       *         *         *

     6                       THE COURT:     Mr. Surowiec, call your

     7          next witness.

     8                       MR. SUROWIEC:      Dr. Vijayakumaran,

     9          please.

    10                           P.G. VIJAYAKUMARAN, M.D.,

    11          having first been duly sworn, was examined and

    12          testified on his oath as follows:

    13                              DIRECT EXAMINATION

    14    BY MR. SUROWIEC:

    15    Q.    Good afternoon.

    16    A.    Good afternoon.

    17    Q.    Please state your name?

    18    A.    My name is Dr. Vijayakumaran, M.D. with the

    19          initials P and G.

    20    Q.    What was the last part?

    21    A.    Initials P and G.

    22    Q.    Doctor, you are a psychiatrist, correct?

    23    A.    That's correct.

    24    Q.    What is the difference between a psychiatrist and

    25          a psychologist?
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                                                                     Page 21
     1    A.    Psychiatrist goes through medical school, then

     2          residency program and that qualifies to make him

     3          a psychiatrist.

     4                       In addition, they can take the Board of

     5          American Psychiatry and Neurology as an added

     6          consideration.

     7    Q.    Now, I'm going to ask you to speak up and raise

     8          your voice -- yell at me.

     9    A.    All right.

    10    Q.    So you're a medical doctor, you're an M.D?

    11    A.    Yes.

    12    Q.    Where did you get your M.D?

    13    A.    In India.

    14    Q.    And then you came here to the states and are you

    15          board certified?

    16    A.    Yes.

    17    Q.    You're board certified in psychiatry?

    18    A.    Psychiatry.

    19    Q.    You can prescribe medication?

    20    A.    Yes.

    21    Q.    And you have a patient population that you see on

    22          a regular basis?

    23    A.    Yes.

    24                       MR. SUROWIEC:      Your Honor, I did

    25          discuss with counsel and we have agreed to move
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                                                                     Page 22
     1          things along that we would stipulate to the

     2          expert requirements of each of our experts, so I

     3          would move to have Dr. Vijayakumaran certified as

     4          an expert by the Court.

     5                       THE COURT:     So ordered.

     6                       MR. GALLAGHER:      So stipulated, thank

     7          you, Judge.

     8    BY MR. SUROWIEC:

     9    Q.    Dr. Vijayakumaran, did you have the opportunity

    10          to evaluate and see Mr. Pelichet?

    11    A.    Yes.

    12    Q.    When?

    13    A.    In October 23 last year.

    14    Q.    And do you -- did you see him for purposes of

    15          today's hearing?       Did you evaluate him for

    16          purposes of today's hearing?

    17    A.    No.

    18    Q.    When did you -- you saw him in October of last

    19          year and what was your purpose in October of last

    20          year?

    21    A.    To create documents substantiating his

    22          continuation of the ALS status.

    23    Q.    That's my point.       What I'm asking you is, when

    24          you met with him was your purpose in meeting with

    25          him to meet a determination as to whether or not
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           EXHIBIT
             T
      Petition filed by Walter P. Reuther
             Psychiatric Hospital
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           EXHIBIT
             U
       Cross-Examination of Defendant
      Lisa Medoff at May 3, 2017 Hearing
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1                      MS. HAMMOUD: Okay. Thank you, Dr. Medoff.
2                      I don't have anything further.
3                      THE COURT: Any cross?
4                      MR. MENKEN: Yes.
5                               CROSS-EXAMINATION
6    BY MR. MENKEN:
7    Q     You indicated that you've been working with (inaudible)
8          for the last couple of weeks?
9    A     He's been in my group over the last several weeks, yes.
10   Q     Okay. And you indicated, though, you weren't aware of
11         what brought him in here in the first place?
12   A     Well, my understanding is that it was a leave from his
13         ALS status from the home that he was in.
14   Q     Okay. But what I'm saying is, you were aware that in
15         2005 -- do you know why he was -- what charge he had that
16         he was found not guilty by reason of insanity?
17   A     I did not read the settled record.
18   Q     Okay. If I told you, basically, that the Order says that
19         he -- it was for assaulting and resisting a police
20         officer, would that refresh your memory? That that was
21         in his records?
22   A     It would refresh my memory somewhat.
23   Q     Okay. And when you looked at his records, did you
24         ever -- was there ever a point in time that he has ever
25         injured himself or others during this entire period from


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1          2005 to now that he -- that we're now looking at?
2    A     Well, from my perspective, I consider taking a drug which
3          can be contradictory to your health something that is
4          dangerous. So I consider that harm to self.
5    Q     To self. Okay.
6                      But far as harm to others, he's never actually
7          physically either done harm to other people or, other
8          than using the marijuana, harmed himself in another way?
9    A     Not to my knowledge.
10   Q     Okay. Now -- so, he's been in this program and he's been
11         released and then he comes back. So the basis of the
12         reason that he violated his contract was that he uses
13         marijuana; correct? That was one of them?
14   A     One of them. I thought that he walked away from the
15         home.
16   Q     Yes. And the other one he walked once from the home;
17         correct? Is that a "Yes" or "No"?
18   A     Yes.
19   Q     Okay. So, you indicated, though, that during the entire
20         time, other than -- there were some occasions where he
21         didn't take his medication, but he was pretty much taking
22         his medication the entire time. Is that a fair statement
23         other than --
24   A     On this admission, yes.
25   Q     Okay. And that -- and his main choice as far as the


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1          medication he was given, is that Wellbutrin?
2    A     No. I only refer to Wellbutrin as a drug that was given
3          to him for depression that he refused. He has other meds
4          you can talk to his psychiatrist about.
5    Q     So you couldn't make -- you couldn't -- you know he's
6          been taking his medications, but you can't discuss the
7          drugs he's on?
8    A     I am not a medical doctor or a psychiatrist.
9    Q     Okay. Fair enough.
10                     Now -- so, in terms of his stay at the
11         hospital, you're saying that he couldn't be released
12         today?
13   A     I do not think so.
14   Q     Okay. Are you aware -- have you talked to his team?
15         That they were -- that they had a different opinion and
16         were in the process of figuring out how he can be
17         released?
18   A     I said that his team is in the process of talking about
19         his release, but that is a different statement than he
20         should be released to the street.
21   Q     So when you say "being released" as opposed to "released
22         to the street," you're saying that he -- he may be ready
23         to be released but under a program, not just sort of
24         dismissed? Is that --
25   A     I -- I believe that his team was in the process of


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1          talking to him about stepping down to the next step,
2          again, through the ALS contract.
3    Q     And that's to go into the community?
4    A     Yes.
5    Q     Okay. And you indicated that since the fall in the
6          hospital here you've been involved with him with this one
7          group that you're in charge of?
8    A     Yes.
9    Q     Okay. Are you involved with anything else as far as
10         either his day-to-day activities or (inaudible) --
11   A     I am the supervisor of his individual therapist. I am
12         aware of what he had been discussing in individual
13         therapy to a certain extent.
14   Q     Okay. And, now, were you aware that the last time there
15         was a petition they checked different boxes? Like, the
16         last time they had he couldn't take care of his basic
17         needs, and they didn't have anything about that he could
18         intentionally or unintentionally injure himself. Did you
19         take a look at that list?
20   A     Yes.
21   Q     Okay. Is there a reason that you think that he's not
22         able to take care of his basic needs?
23   A     Well, let me clarify. That -- a lot of times when that
24         box is checked it refers to a couple of things, and one
25         is the ability to understand the need for treatment and


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1          also what happens when somebody decompensates; that they
2          can't meet their basic needs. So in the sense that
3          marijuana is still his drug of choice, the basic needs of
4          stopping the substance abuse, as far as I'm concerned,
5          are still not met. And the understanding of the severity
6          of the paranoia and so forth when he is decompensating is
7          not met. So I still would put him under Area C(?).
8    Q     Okay. So, in terms of the categories that require, like,
9          an involuntary commitment, you're saying that the use of
10         marijuana places him, as far as all these categories,
11         because he was using marijuana?
12   A     Yes. In addition to the judgment when he left home or so
13         forth. He knows what the rules of his contract are.
14                     MR. MENKEN: I have no further questions.
15                     THE COURT: All right. Thank you.
16                     Any other witnesses, Mr. Hammoud?
17                     MS. HAMMOUD: No, your Honor.
18                     THE COURT: All right. Very well.
19                     Do you rest at this time?
20                     MS. HAMMOUD: Yes, I would, your Honor.
21                     THE COURT: All right.
22                     Mr. Menken, do you have any witnesses you wish
23         to offer at this time?
24                     MR. MENKEN: Yes, your Honor. The first
25         witness I'm going to call is his doctor.


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